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  1    UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
  2    --------------------------------X
       UNITED STATES OF AMERICA                      18 CR 633(EK)
  3
       versus
  4
       ALEKSANDR ZHUKOV,                             U. S. Courthouse
  5                                                  Brooklyn, New York
                     DEFENDANT.                      May 14, 2021
  6    --------------------------------X             9:00 AM

  7               TRANSCRIPT OF CRIMINAL CAUSE FOR JURY TRIAL
                       BEFORE THE HONORABLE ERIC KOMITEE
  8                       UNITED STATES DISTRICT JUDGE

  9                                   APPEARANCES

10     Representing the Government:
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       225 Cadman Plaza East, Room N377
24     Brooklyn, New York 11201
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25     produced by Computer-Aided Transcription.
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  1                MR. MINDLIN:     Your Honor, the Government calls Joel

  2    Decapua.

  3                (Witness sworn.)

  4                THE CLERK:     You can be seated.      You can remove the

  5    mask.

  6                Could you please state and spell your name for the

  7    record and speak into the microphone?

  8                THE WITNESS:     My name is Joel Decapua, J-O-E-L --

  9    D-E-C-A-P-U-A.

 10                MR. MINDLIN:     Your Honor, may I inquire?

 11                THE COURT:     You may.

 12                               DIRECT EXAMINATION

 13    BY MR. MINDLIN:

 14    Q     Good afternoon, Agent Decapua.

 15    A     Good afternoon.

 16    Q     Can you the tell the jury where you work, please?

 17    A     I work with the Federal Bureau of Investigation.

 18    Q     And what's your title at the FBI?

 19    A     My job title is Supervisory Special Agent.

 20    Q     And how long have you been an agent at the FBI?

 21    A     Since 2009.

 22    Q     And can you tell the jury, please, what united you've

 23    worked in, in the course of your time as an FBI agent?

 24    A     So, after I graduated from Quantico, I was first assigned

 25    to a White Collar Crime Squad in Newark, New Jersey, where I

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  1    worked public corruption and securities fraud.

  2                I was there for approximately five years when I

  3    transferred to the New York Field Office, where I worked -- I

  4    was assigned to a cybercrime squad that investigated network

  5    intrusions that were typically done by criminal actors.

  6                I was there for another five or six years, and I

  7    received a promotion to FBI headquarters to a unit called the

  8    Major Cybercrimes Unit.       In the Major Cybercrimes Unit, I was

  9    a Supervisory Special Agent.

 10                And after about 18 months there, I received a

 11    literal transfer to a unit that I'm currently at called the

 12    Global Operations and Targeting Unit.

 13                MR. MINDLIN:     Agent Decapua, one of the things we've

 14    learn is that the mic is a little hard to speak into, so if

 15    you just lean into it or lean it into you or push it a little

 16    closer to you in its socket there.          Thank you.

 17    BY MR. MINDLIN:

 18    Q     What is the -- do you have a particular focus at the

 19    Global Investigations and Targeting Unit at the FBI?

 20    A     So my particular focus is really just helping

 21    investigators that are working cybercrimes, helping them open

 22    up new cases, helping them solve complicated problems, dealing

 23    with technological issues or challenges that they may face,

 24    helping them analyze evidence -- really just -- we see

 25    ourselves as a special projects unit that really just assists

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  1    when we're needed.

  2    Q     Is it safe to say you've been involved in previous

  3    computer-related investigations at the FBI?

  4    A     Yes.

  5    Q     How many would you say?

  6    A     Dozens.

  7    Q     Can you tell the jury, please, what your educational

  8    background is?

  9    A     So I have a bachelors degree in economics from De Paul

 10    University, which I received in 2004, and I have a masters

 11    degree in accounting from Indiana University, which I received

 12    in 2008 or 2009.

 13    Q     Do you hold any particular certifications with respect to

 14    computer-related investigations and examinations?

 15    A     Yes, I do.

 16    Q     Can you tell the jury about those?

 17    A     So I hold quite a few certifications through a company

 18    called SANS, S-A-N-S.       I'm not a hundred percent sure what

 19    that stands for, but they are a training organization that

 20    also accredits people that have undergone their training with

 21    specific certifications.        I don't know all the certifications

 22    off the top of my head.

 23    Q     Would it refresh your memory to look at your resume?

 24    A     Certainly.

 25                 MR. MINDLIN:    Mr. Carter, if you could please show

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  1    the witness only 3500 JD-1?

  2                (Published to the witness.)

  3    BY MR. MINDLIN:

  4    Q     If you could, tell the jury about any notable

  5    certifications briefly.

  6    A     Okay.    So, my very first relevant certification was in

  7    2008.    It was called the Certified Fraud Examiner

  8    certification, and it's currently inactive.            Also, before I

  9    got into cybersecurity, I received my CPA, Certified Public

 10    Accountant; but it is also inactive.          I haven't practiced

 11    accounting in a very long time.

 12                Getting in some of the more relevant certifications,

 13    my first one was the GSEC, the GIAC Security Essentials

 14    Certification, which is just a general cybersecurity.              It's a

 15    one-week course; and then there's I think a four- or five-hour

 16    test afterwards.      From there, I received a GIAC Certified

 17    Forensic Examiner certification, GCFE, which focuses on

 18    looking at Windows devices, Windows computers, hard drives

 19    that we receive as evidence, and looking for forensic

 20    artifacts to understand what happened on that specific

 21    machine.

 22                Then I received a GIAC Certified Intrusion Analyst,

 23    GCIA, certification.       This one was looking at network packets

 24    when you travel over the internet, looking at TCP, UDP,

 25    getting into the very technical bits and bytes of how

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  1    information travels from one computer to the next.

  2    Q     Do you have training in network forensics?

  3    A     Yes.   So part of the network forensics was covered in

  4    both of the prior certifications that I just talked about,

  5    GSEC, G-S-E-C, and also GCFE and also GCIA.

  6    Q     Can you tell the jury what network forensics are, please?

  7    A     So network forensics is essentially when two computers

  8    are talking.     Information goes in between them in a specific

  9    way and we can look at that information and make sense of what

 10    those two computers are saying to one another.            And that's

 11    applicable for network intrusion investigations, because a lot

 12    of times when someone intrudes into a network, we can capture

 13    some of the packets that traverse the network and we can

 14    figure out what exactly they were trying to do on that network

 15    and so it becomes something that's really important to focus

 16    on when you're in my line of work.

 17    Q     Have you ever received any particular awards or

 18    recognition in your field?

 19    A     I have.

 20    Q     What are those?

 21    A     Could you scroll up on the --

 22                 MR. MINDLIN:    Mr. Carter, if you could scroll up.

 23                 THE WITNESS:    So in 2016, I received the

 24    Investigator of the Year award from the Federal Law

 25    Enforcement Foundation.       That was for a network intrusion

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  1    investigation of a bunch of banks and financial institutions

  2    based in New York.

  3                 In 2017, I received the Exceptional Service award

  4    from the Federal Bureau of Investigation for investigating

  5    network intrusions on some law firms here in New York.

  6                 In 2019, I received a Financial Crimes Enforcement

  7    Network Director award for a money laundering investigation.

  8    BY MR. MINDLIN:

  9    Q     In the course of your work, have you had any oversight

 10    over investigations into botnets?

 11    A     Yes, I have.

 12    Q     What was that role?

 13    A     So, while I was at the Major Cybercrimes Unit, I was a

 14    member of something called the Botnet Threat Focus Cell, which

 15    really we just assisted case teams who are investigating

 16    botnets or who were trying to open up investigations on

 17    specific botnets.

 18    Q     In the course of your training, have you studied

 19    techniques that are used to cause computer signals that are

 20    automatically generated to blend in with human-generated

 21    signals?

 22    A     Yes.

 23    Q     Can you tell us about that?

 24    A     So, with network instructions, one of them main things

 25    that actors try to do is they try to blend in with normal

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  1    traffic; and whether it's network scanning of a potential

  2    victim or whether it's the ex-filtration of data, you're

  3    always trying to blend in.        You don't want people to figure

  4    out that you're not supposed to be on the network.

  5                And so I've learned through my training and

  6    experiences the different ways that people try to blend in and

  7    make their network traffic look natural so someone who's

  8    monitoring a network doesn't know that someone is in there

  9    when they shouldn't be.

 10    Q     Have you previously been admitted a an expert in court?

 11    A     I have.

 12                MR. MINDLIN:     Your Honor, at this time I move to

 13    qualify Special Agent Joel Decapua as an expert in the areas

 14    of networking, the internet, and cybercrime.

 15                MR. MARGULIS-OHNUMA:       Your Honor, I have some voir

 16    dire, if I may.

 17                THE COURT:     Yes.

 18                             VOIR DIRE EXAMINATION

 19    BY MR. MARGULIS-OHNUMA:

 20    Q     Mr. Decapua, you said you have a bachelor's degree; is

 21    that right?

 22    A     That's correct.

 23    Q     Is that your highest degree of education from an

 24    accredited university or college?

 25    A     No, it's not.

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  1    Q     What's your highest degree of education?

  2    A     A Masters of Science in Accounting.

  3    Q     Do you have any other post-graduate degrees?

  4    A     I don't.

  5    Q     Have you published any papers -- sorry.           How did you

  6    characterize the expert, the field of expertise?

  7    A     Networking, the internet, and cybercrime.

  8    Q     Have you published any papers relating to networking, the

  9    internet, or cybercrime?

 10    A     No.

 11    Q     Any articles at all?

 12    A     No.

 13    Q     Have you taught any courses on networking, the internet,

 14    and cybercrime?

 15    A     No.

 16    Q     Outside of your law enforcement experience, have you ever

 17    worked for a company doing business in the field of

 18    networking, internet, or cybercrime?

 19    A     I have not.

 20    Q     And you said you testified previously how many times?

 21    A     Just one time.

 22    Q     And where was that?

 23    A     It was in the Southern District of New York.

 24                MR. MARGULIS-OHNUMA:       Your Honor, could we have a

 25    sidebar?

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  1                 THE COURT:     Yes.

  2                 (Sidebar.)

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                                    SIDEBAR

  1                 (Sidebar.)

  2                 MR. MARGULIS-OHNUMA:        So, Your Honor, this was one

  3    of the witnesses where we objected to based on the scope of

  4    the expert report, that being inadequate.

  5                 We maintain that objection and we now -- I don't

  6    think he's qualified as an expert to testify in the form of an

  7    opinion that would be helpful to the jury.              He's an FBI guy

  8    who's done a bunch of these investigations.               He doesn't have

  9    specialized knowledge or training except law enforcement.

 10                 THE COURT:     What is the particular testimony that

 11    you think he's --

 12                 MR. MARGULIS-OHNUMA:        Any opinion testimony.         He can

 13    give fact opinion, but if he's going to give opinion

 14    testimony, he's not qualified as an expert to give opinion

 15    testimony.

 16                 THE COURT:     What is he going to be opining?

 17                 MR. MINDLIN:      He's going to be explaining terms and

 18    concepts relating to networking and the internet.                There's an

 19    enormous number of specialized technical terms not stemming

 20    from the advertising world.

 21                 THE COURT:     Okay.    So that's not -- hold on one

 22    second.     You-all stay here.

 23                 (Pause.)

 24                 THE COURT:     All right.      So, talking about

 25    terminology that's commonly used in the networking and

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  1    internet industry is not opinion testimony.

  2                 MR. MARGULIS-OHNUMA:        Right.    I'm not objecting to

  3    that.    I'm objecting to him being qualified as an expert.

  4                 THE COURT:     I'm not going to qualify him as expert.

  5    I think we resolved that.          All I'm going to say is you may

  6    proceed.     And you can even say -- rather than asking me to

  7    qualify somebody as an expert, you can even say, "I'm ready to

  8    proceed to the substantive portion of the testimony here."

  9                 There's law not so much in the Second Circuit, but I

 10    think there's law in other circuits and maybe some in the

 11    Second Circuit to the effect that it sends the wrong message

 12    to the jury for the Court to stamp its seal of approval on

 13    someone's expertise and I don't intend to do it.

 14                 But do we have a substantive dispute about --

 15                 MR. MARGULIS-OHNUMA:        I haven't heard of any opinion

 16    testimony that I'm anticipating.            If I hear it, I will object

 17    to it.

 18                 MR. MINDLIN:      Your Honor, just two points.          One is

 19    that it's routine for witnesses --

 20                 THE COURT:     I understand.       We clearly --

 21                 MR. MINDLIN:      And I don't want the jury to get the

 22    impression from the distinction between your treatment of this

 23    witness and prior witnesses that somehow at sidebar we decided

 24    that this witness doesn't know what he's talking about.

 25                 THE COURT:     I think for the last expert and maybe

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                                    SIDEBAR

  1    the two previous experts I said you may proceed.                My hint was

  2    so subtle that even you didn't --

  3                 MR. MINDLIN:      Like so much in life.

  4                 THE COURT:     Okay.    So, you're going to decide.          I

  5    mean --

  6                 MR. MARGULIS-OHNUMA:        If there's opinion testimony,

  7    I mean, yeah, he has knowledge of --

  8                 THE COURT:     If it's in the range beyond the scope of

  9    his experience, you'll let us know by way of objection.

 10                 MR. MARGULIS-OHNUMA:        To highlight what I'm

 11    worried -- and maybe they can tell me if it's going to

 12    happen -- is I'm afraid they're going to say -- they're going

 13    to read in -- I just learned today that they're going to use

 14    him to read in statements by my client and the people he's

 15    talking to and I'm afraid they're going to say, "Well, what do

 16    you think that meant?         What's your opinion on what that

 17    meant?"     And that they can't do.         With an expert they might,

 18    but with this person I don't think they can do that.

 19                 THE COURT:     You're going to ask some networking

 20    terms.     You're going to say, "What do you understand this word

 21    to mean?"

 22                 MR. MINDLIN:      Well, he's not in either person's

 23    brain.     So he's not going to be asked what that person meant

 24    in a chat.

 25                 THE COURT:     Right.

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  1                 MR. MINDLIN:      But when there's a term that's

  2    technical, for example -- this has come in.               So this example

  3    has been handled --

  4                 THE COURT:     Yes.    I find it hard to believe there's

  5    a lot of networking terminology that hasn't already been

  6    explained to the jury.

  7                 MR. MINDLIN:      If it's not, then it won't needed.

  8                 THE COURT:     Okay.    We'll take it question by

  9    question.

 10                 MR. MARGULIS-OHNUMA:        Thank you.

 11                 (Sidebar ends.)

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  1                 (In open court.)

  2                 THE COURT:     Mr. Mindlin, you may continue.

  3                 MR. MINDLIN:      Thank you, Your Honor.

  4                 At this time I'd move the following documents into

  5    evidence, government Exhibits 651, 651-T, and 651-TE.

  6                 MR. MARGULIS-OHNUMA:        Are these in evidence?

  7                 MR. MINDLIN:      These have been laid a foundation by

  8    prior witnesses.

  9                 THE COURT:     651, 651-T as in "Thomas," and TE,

 10    correct?

 11                 Any objection?

 12                 (Court Reporter seeks clarification.)

 13                 THE COURT:     Yeah.    The question is, can they be

 14    displayed to the defense?

 15                 MS. COHEN:     We need to see the TE.

 16                 (Pause.)

 17                 MR. MARGULIS-OHNUMA:        Yes.    Objection.     Relevance.

 18                 THE COURT:     Can I see it?

 19                 Relevance to this witness's testimony or relevance

 20    to the trial in general?

 21                 MR. MARGULIS-OHNUMA:        Both, Your Honor.

 22                 THE COURT:     All right.      Let's step back outside for

 23    a second.

 24                 (Sidebar.)

 25

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  1                 (Sidebar.)

  2                 THE COURT:     Sorry.     What's the relevance?

  3                 MR. MINDLIN:      The relevance is that it identifies

  4    the user of the defendant's Jabber account

  5    Aleks@jabber.tipsters.com.

  6                 The relevance is that it identifies the user of the

  7    have defendant's Jabber account as the defendant, because he's

  8    self-identifying in the chat.

  9                 THE COURT:     Okay.

 10                 MR. MARGULIS-OHNUMA:        I'm sorry.     He says he's

 11    saying his name here?         Okay.    That's fine.

 12                 THE COURT:     Okay.

 13                 MR. MARGULIS-OHNUMA:        As long as we're not going to

 14    have ten of these doing that.

 15                 MR. MINDLIN:      Well, for any -- for any --

 16                 THE COURT:     We're done here.       I think we're done

 17    here.

 18                 (Sidebar ends.)

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  1                 (In open court.)

  2                 MR. MARGULIS-OHNUMA:        I withdraw the objection.

  3                 THE COURT:     Mr. Mindlin, you may proceed.

  4                 MR. MINDLIN:      I move into evidence 651, 651-T, and

  5    651-TE, as well as 1650 and 1650-T.

  6                 THE COURT:     Okay.    With no objection, they are

  7    admitted.

  8                 MR. MARGULIS-OHNUMA:        Could you display this,

  9    please?

 10                 THE COURT:     Oh, I'm sorry.       I thought you were

 11    saying you did not object.

 12                 MR. MARGULIS-OHNUMA:        No objection to 651-T or TE.

 13                 THE COURT:     I'm sorry?

 14                 MR. MARGULIS-OHNUMA:        I heard a motion.       There's no

 15    objection with respect to 651-T or 651-TE.              The other exhibit

 16    I haven't seen yet.

 17                 MR. MINDLIN:      Mr. Carter, if you could just show the

 18    defense 1650-T, please.

 19                 THE COURT:     5-0-T?

 20                 MR. MINDLIN:      1-6-5-0-T.

 21                 MR. MARGULIS-OHNUMA:        No objection, Your Honor.

 22                 THE COURT:     It's admitted.       All right.     So 1650,

 23    1650-T --

 24                 MR. MINDLIN:      Correct.

 25                 THE COURT:     -- 1651, 1651-T, and 1651-TE are all

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  1    admitted, correct?

  2                 MR. MINDLIN:      For the record, that first was 651,

  3    not 1651.

  4                 THE COURT:     Ah.    Thank you.     You may proceed.

  5                 (Government Exhibits 651, 651-T, 651-TE, 1651,

  6    1651-T, and 1651-TE were received in evidence.)

  7                 MR. MINDLIN:      I'd also move into evidence 673,

  8    673-T, and, 673-TE.

  9                 And, Mr. Carter, if you could just show the defense

 10    673-TE.

 11                 MR. MARGULIS-OHNUMA:        No objection.

 12                 THE COURT:     It's admitted.

 13                 (Government Exhibits 673, 673-T, and 673-TE were

 14    received in evidence.)

 15                 MR. MINDLIN:      I'd move into evidence 1666.

 16                 And, Mr. Carter, if you could just show 1666-TE,

 17    please.

 18                 So in addition to this document, I'd move into

 19    evidence 1666 and 1666-T.

 20                 MR. MARGULIS-OHNUMA:        No objection.

 21                 THE COURT:     Admitted.

 22                 (Government Exhibits 1666, 1666-T, and 1666-TE were

 23    received in evidence.)

 24                 MR. MINDLIN:      So, Your Honor, we just moved in for

 25    the record 1666, 1666-T, and 1666-TE.

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  1                 THE COURT:     Yes.    Thank you.

  2                 MR. MINDLIN:      Move into evidence -- Mr. Carter, if

  3    you could please show 1668-TE and if you could go down to the

  4    last page.

  5                 The Government moves into evidence 1668, 1668-T, and

  6    1668-TE.

  7                 MR. MARGULIS-OHNUMA:        Objection.     Relevance.

  8                 THE COURT:     Overruled.

  9                 (Government Exhibits 1668, 1668-T, and 1668-TE were

 10    received in evidence.)

 11                 MR. MINDLIN:      The Government moves in -- Mr. Carter,

 12    if you could show 667-T, please, and if you could zoom in,

 13    thank you.

 14                 The Government moves in 667-T and 667.

 15                 MR. MARGULIS-OHNUMA:        Just that one page?        I see

 16    three page altogether.         Is that correct, counsel?

 17                 MR. MINDLIN:      Looks like two to me.

 18                 Mr. Carter, how many pages?          The third page is

 19    blank.

 20                 MR. MARGULIS-OHNUMA:        No objection, Judge.

 21                 THE COURT:     Admitted.

 22                 (Government Exhibits 667 and 667-T were received in

 23    evidence.)

 24                 MR. MINDLIN:      Okay.

 25    BY MR. MINDLIN:

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  1    Q      Agent Decapua, are you familiar with something called

  2    Jabber?

  3    A      I am.

  4    Q      Can you explain to the jury please what Jabber is?

  5    A      Jabber is an instant messaging protocol.             It is very

  6    popular in Russia and eastern Europe, and it's just one way

  7    for someone to communicate with another person online.

  8    Q      Does it have any kind -- is there a Jabber, Inc., that

  9    runs all of jab?

 10    A      No, it's a distributed system.           So people can set up

 11    their own Jabber servers and connect to them and communicate

 12    without having any type of centralized authority that has all

 13    of the Jabber records.

 14    Q      Where are Jabber -- withdrawn.

 15                  Are Jabber chats stored anywhere after the person

 16    has the chat?

 17                  MR. MARGULIS-OHNUMA:       Objection.     Foundation for

 18    knowledge.

 19    BY MR. MINDLIN:

 20    Q      Do you know whether Jabber chats are stored anywhere?

 21    A      Yes.

 22                  MR. MARGULIS-OHNUMA:       Objection.

 23                  THE COURT:    Overruled.

 24    BY MR. MINDLIN:

 25    Q      You can answer.

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  1    A      So, Jabber chats are going to be stored on the sender and

  2    the receiver's computer and sometimes they are also stored in

  3    an intermediary server which would be the Jabber server that

  4    is set up to facilitate that communication but in normal

  5    circumstances it is not saved in that intermediary.

  6                 MR. MINDLIN:      Mr. Carter, can you please show the

  7    witness and the jury Exhibit 661-TE and if you can zoom in for

  8    me.

  9    BY MR. MINDLIN:

 10    Q      Looking at this chart on -- at this table, rather, I'm

 11    going to ask you to read both sides.             So if you could -- let

 12    me ask you first.        Who are the participants in this chat?

 13    A      So, on the left participant is Aleks@jabber.tipsters.com,

 14    "Alex Z," and on the right is Olga@jabber.tipsters.com.

 15    Q      These look like email addresses.           Are they, in fact,

 16    email addresses?

 17    A      No, they look like email addresses -- no.

 18    Q      What are they?

 19    A      They are -- there's something called a Jabber ID.                They

 20    look like email addresses, but they're not.

 21    Q      And on the left side there's also a name in quotes.                Do

 22    you know what that is?

 23    A      That's a nickname.

 24    Q      And who assigns the nickname?

 25    A      So, generally the person that sets up the Jabber chat

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  1    assigns a nickname for themselves.

  2    Q      Can you please read first what Olga@jabber.tipsters.com

  3    says?

  4    A      Sasha, if you wish, I'm ready to make a transfer to your

  5    cart via Interkassa but you need to specify the following:

  6    Russia phone number, surname, first name, middle name, Russia

  7    passport series, and number.

  8    Q      And if you could please read the response from the person

  9    with Jabber ID Aleks@jabber.tipsters.com.

 10    A      So the respond begins with a number, 79213485243 and then

 11    the words "Zhukov" "Aleksandr" "Mikhailovich" and it continues

 12    with another number, 4004617781.

 13                 MR. MINDLIN:      Mr. Carter, if you could please show

 14    the witness and the jury Government Exhibit 914 which was

 15    introduced when Vladimir Dimitrov was testifying about the

 16    search of the defendant's apartment in Bulgaria.                Can you zoom

 17    in on that passport for me, please?

 18                 And, in fact, Mr. Dimitrov -- sorry -- Mr. Carter,

 19    if you could open the exhibit that's combined 914 and 651-E,

 20    which we just saw, please, I believe it's called 651 and 914.

 21    BY MR. MINDLIN:

 22    Q      Agent Decapua, can you please read the jury the passport

 23    number that runs down the right-hand side of that passport?

 24    A      Sure.    It's 40046617181.

 25    Q      How does it compare to the passport number that the user

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  1    of the Jabber ID Aleks@jabber.tipsters.com gives out in the

  2    chat?

  3    A      So one of the numbers is I believe I said it was a "1"

  4    and it looks like it might actually be a "7" but they're the

  5    same.

  6                 MR. MINDLIN:      Mr. Carter if you could please show

  7    the witness and the jury Government Exhibit 1650.

  8    BY MR. MINDLIN:

  9    Q      Do you recognize the passport in the picture?

 10    A      Yes, the passport you just showed me.

 11                 MR. MINDLIN:      And if you could show 165-T, which

 12    contains a translation of that passport, please, you can --

 13    you don't have to -- yeah, that's fine.

 14    Q      Agent Decapua, just for the record if you describe the

 15    picture?

 16    A      It's a -- so the picture, it has someone who's holding up

 17    a passport.

 18    Q      And what is the name on the passport?

 19    A      The name is "Aleksandr Mikhailovich Zhukov."

 20                 (Continued on the next page.)

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  1                 (Contining.)

  2                 MR. MINDLIN:      Mr. Carter, if you could show the

  3    witness and the jury 673-TE, please.

  4                 (Exhibit published.)

  5    BY MR. MINDLIN:

  6    Q      Can you tell the jury, Agent Decapua, who the two people

  7    are who are engaging in this chat?

  8    A      On the left is killout@jabber.org, Alek Z,

  9    Russian8@jabber.org.

 10    Q      And the person on the right is not saying anything in

 11    this excerpt?

 12    A      That's correct.

 13    Q      Will you read out what killout@jabber.org said in the

 14    chat?

 15    A      Send me the test batch either to Ibetters2@gmail.com or

 16    here.

 17                 MR. MINDLIN:      Mr. Carter, if you could show

 18    simultaneously with this, 802-A, please, previously admitted

 19    account record from Google.

 20    BY MR. MINDLIN:

 21    Q      Agent Decapua, can you please read to the jury the name

 22    of the account holder for Ibetters2@gmail.com?

 23    A      The name is Aleksandr Z.

 24    Q      Is there a recovery e-mail in this account info?

 25    A      Yes, there is, right in the middle.

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  1    Q      And what is -- first, what is a recovery e-mail?

  2    A      When you set up an e-mail address in -- companies like

  3    Google, for instance, want to make sure that you're not locked

  4    out if you forget your password so they'll give you the

  5    opportunity to set up a recovery e-mail in case you're ever

  6    locked out so you can recover your account.

  7                 MR. MINDLIN:      Mr. Carter, thank you.         If you can

  8    keep both of those up and show the jury Exhibit 808-AT.

  9                 (Exhibit published.)

 10    BY MR. MINDLIN:

 11    Q      If you could please read the e-mail addresses on the log

 12    in aliases on this previously admitted Apple account record?

 13    A      The logins are I-betters@at.com and I-betters@iCloud.com.

 14    Q      And what's the name on the account record?

 15    A      The name is Aleksandr Zhukov.

 16                 MR. MINDLIN:      Finally, Mr. Carter, if you could show

 17    the witness and the jury Exhibit 166-TE.              For the record.       I

 18    should have said three sixes.           166-TE.

 19                 (Exhibit published.)

 20                 MR. MINDLIN:      Apparently, I'm saying it wrong again

 21    and again.      It's 1666-TE.      Thank you, Mr. Carter.

 22    BY MR. MINDLIN:

 23    Q      So who are the participants in this chat?

 24    A      Killout@jabber.org.        Nickname Alek Z.      And on the right

 25    weneedyourtraffic@xmpp.jp.

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  1    Q      If you could read the last four rows that

  2    killout@jabber.org said in this chat?

  3    A      My Skype, Ibetters, I-betters and then some right

  4    parenthesis, last one is correct.

  5    Q      And at this time I would move into evidence Government

  6    Exhibit 809-A, the Skype record.

  7                 MR. MARGULIS-OHNUMA:        No objection.

  8                 THE COURT:     Admitted.

  9                 MR. MARGULIS-OHNUMA:        Just that one page, right?

 10                 THE COURT:     What was the question?

 11                 MR. MARGULIS-OHNUMA:        It looks like there's two

 12    pages, and there's no objection to either page.

 13                 THE COURT:     Admitted.

 14                 (Government Exhibit 809-A received.)

 15                 MR. MINDLIN:      Mr. Carter, show the jury and the

 16    witness the account record for that Skype account i-betters

 17    which we just saw in the chat provided as the identifier for

 18    killout@jabber.org.

 19    Q      What's the Skype?

 20    A      I-betters.

 21    Q      And what name is supplied?

 22    A      Aleksandr Aleksandr.

 23    Q      And is there an alternate -- if you could scroll down a

 24    little bit to the second page, what e-mail address is listed

 25    for this person, Aleksandr Aleksandr with i-betters?

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  1    A      It's i-betters@yandex.ru.

  2                  MR. MINDLIN:     And, Mr. Carter, keep this up but show

  3    808-A, the Apple account record.

  4                  (Exhibit published.)

  5    BY MR. MINDLIN:

  6    Q      Do you see i-betters@yandex.ru anywhere on this Apple

  7    account record?

  8    A      Yes.   It's on the far left under Apple ID.

  9                  MR. MINDLIN:     808-AT, it has the first and last name

 10    in English in non-Russian characters.

 11    Q      So what's the name that has I-better@yandex.ru on it?

 12                  MR. MINDLIN:     Mr. Carter zoom in a little bit.

 13    A      The first name is Aleksandr and the last name is Zhukov.

 14    Q      Finally if I can direct your attention to Government

 15    Exhibit 1668-TE.

 16                  MR. MINDLIN:     Mr. Carter, for the witness and the

 17    jury.

 18                  (Exhibit published.)

 19                  MR. MINDLIN:     Can you zoom in on the top row.

 20    BY MR. MINDLIN:

 21    Q      Agent Decapua, who are the two people in this case?

 22    A      On the left is I-betters Aleksandr and on the right is

 23    Gray Fox is not dead, nickname listen to me.

 24    Q      I would like to ask you a couple of questions about this

 25    person Gray Fox is not dead listen to me.              Can you read the

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  1    top row, please?

  2    A      Yes, but I must pay a commission for withdrawals.

  3    Q      I was unclear, I'm sorry.         The top row is spoken by

  4    ibetters Aleksandr.

  5    A      How can I pay you?       Have web money.

  6                  MR. MINDLIN:     Mr. Carter, scroll down a little bit,

  7    a little further.

  8    BY MR. MINDLIN:

  9    Q      If you can could go to 110309 and read from there Agent

 10    Decapua?

 11    A      Okay, let's do it this way then; describe the details of

 12    transfer algorithm.        I have cash.

 13    Q      I'll read the other half:         I will give you card details

 14    all go to the ETB ATM and deposit cash to the accounts.

 15    A      Okay.

 16    Q      In five minutes.       My wife took the card to the store.

 17    ETB-24.

 18    A      Dmitry Novikov card.

 19    Q      Yes.

 20    A      Academic, year of birth '91.          Hurry up.     The guy is

 21    waiting at the bank.

 22    Q      Yes, yes, yes.      Sergeyevich, Novakov Dmitry Sergeyevich,

 23    1991 November 18th?

 24    A      Yeah, done.

 25    Q      Agent Decapua, have you reviewed documents that related

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  1    to the different roles that people at Enterprise?

  2    A      I have.

  3                 MR. MINDLIN:      Mr. Carter, show the witness and the

  4    jury an exhibit already in evidence as 66-17.

  5                 (Exhibit published.)

  6                 MR. MINDLIN:      For clarity, if you could zoom in on

  7    the top half of the box starting with phone numbers, e-mail

  8    addresses and going down a few rows.             Thank you.

  9    BY MR. MINDLIN:

 10    Q      Have you reviewed this document?

 11    A      I have.

 12    Q      Can you please read me the first name on the chart, let's

 13    start there?

 14    A      The first name is Aleksandr Zhukov.

 15    Q      What is the associated e-mail address?

 16    A      Alek@bestaggregator.com.

 17    Q      And who is the product owner?

 18    A      The product owner is Aleksandr Zhukov.

 19    Q      Let's back up a little bit.          What are the columns in this

 20    document?

 21    A      On the far left, title, company e-mail address and then

 22    personal e-mail address and then name and then phone number.

 23    Q      So for that first row you just read, under title what

 24    does it read?

 25    A      It reads product owner.

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  1    Q      Who is the next name in the chart?

  2    A      The next name is Boris Timokhin.

  3    Q      What is the associated e-mail address?

  4    A      So there's two.       The first one is

  5    mathete@bestaggregator.com and the second is

  6    methete.com@gmail.com.

  7    Q      And what is the associated title?

  8    A      It's software architect.

  9                 MR. MINDLIN:      Your Honor, may we use the

 10    demonstrative board, please, the easel?

 11                 THE COURT:      Yes.    Try to set it up in a way that

 12    defense counsel can see the witness.

 13    BY MR. MINDLIN:

 14    Q      Can you read me please the fourth name in this chart?

 15    A      The fourth name is Mikhail Andreev.

 16    Q      What's the e-mail address?

 17    A      It is X11org@gmail.com.

 18    Q      And what's his title?

 19    A      His title is lead programmer.

 20    Q      What's the next name on the chart?

 21    A      The next name is Dimon Novakov.

 22    Q      And what's the title listed for Mr. Novakov?

 23    A      Project manager.

 24    Q      Agent Decapua, I'm going to ask you a few more questions

 25    about Mr. Andreev.         Before we do that, are you familiar with a

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  1    software program called Jira?

  2    A      I am.

  3    Q      How are you familiar with Jira?

  4    A      Part of my duties I just have to understand what people

  5    are using to develop software and it's a well-known software

  6    development collaboration tool.

  7    Q      Have you used Jira?

  8    A      I have.

  9    Q      You said it was a well-known software collaboration tool.

 10    Can you break that down for the jury a little bit?                 What does

 11    that mean?

 12    A      Sure.    When someone is trying to develop a new program or

 13    a new software, it usually takes a large team of people and in

 14    order to better organize a bunch of programmers build a better

 15    piece of software it helps to have one of these programs like

 16    Jira to keep everyone focused on tasks so they can assign

 17    duties and enable collaboration and, so, people can monitor

 18    the developments of the various programmers and make sure that

 19    the project is on track.

 20                 MR. MINDLIN:      Your Honor, at this time I'd offer

 21    into evidence Government Exhibit 1620-17.

 22                 Mr. Carter, if you could show that to the defense as

 23    well as the underlying communication, 1627.

 24                 MR. MARGULIS-OHNUMA:        Objection.

 25                 THE COURT:     You said no objection or objection?

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  1                 MR. MARGULIS-OHNUMA:        Objection.

  2                 THE COURT:     What is the objection?

  3                 MR. MARGULIS-OHNUMA:        Relevance and Rule 403 with

  4    respect to the part right under the summary.

  5                 THE COURT:     All right.      Let's take our afternoon

  6    break for ten minutes.         We'll reconvene at 2:45.

  7                 (Jury exits.)

  8                 (In open court.)

  9                 THE COURT:     So, what's the prejudice?

 10                 MR. MARGULIS-OHNUMA:        This raises, in the first

 11    instance, a couple of issues.           So, this -- so the date on here

 12    is late 2014 and --

 13                 MS. KOMATIREDDY:        Let's excuse the witness.

 14                 (Witness steps down.)

 15                 THE COURT:     Let's take two minutes ourselves and

 16    reconvene and we'll take this up quickly enough so that we

 17    don't hold the jury up.

 18                 (Recess taken.)

 19                 MR. MARGULIS-OHNUMA:        I withdraw the relevance

 20    objection.      That was misguided.       I was confused.       The issue,

 21    though, that I think is worth addressing now -- this is one

 22    where I'm going to have cross-examination of the relevant

 23    translator.      I'm not sure who which one it was.            We think

 24    there's a mistranslation in this one.             I mean, I don't really

 25    understand the Government's approach to not having offered

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  1    this with the last witness so we could do that

  2    cross-examination then.

  3                 So I guess my only application now is to reserve the

  4    trite to recall whoever the translator was and we can do that

  5    when the time comes.

  6                 THE COURT:     This document doesn't look like the

  7    other translated documents that I've seen.              It was text that

  8    was written in Russian and later translated into English?

  9                 MR. MARGULIS-OHNUMA:        Correct, Your Honor.        The

 10    underlying 1627 is Russian.

 11                 THE COURT:     Okay.

 12                 MR. MARGULIS-OHNUMA:        That's all.      I was confused

 13    about what it was because of the date on it and this relevance

 14    objection is not --

 15                 THE COURT:     It sounds like your 403 objection is

 16    withdrawn as well.

 17                 MR. MARGULIS-OHNUMA:        Yes, yes.

 18                 THE COURT:     So I am directing the Government to make

 19    either or both translators available to the defense to call in

 20    their case in chief.        And I'm also going to ask the Government

 21    to -- and tell me if you're doing this already, but to

 22    indicate the night before each trial day which exhibits you're

 23    going to seek to introduce through each witnesses each day.

 24                 MS. KOMATIREDDY:        Your Honor we did that on

 25    Wednesday.

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  1                 THE COURT:     So I think what I'm hearing from you is

  2    that, Mr. Margulis, you did have notice that this document was

  3    set to come in through the witness directly after the

  4    translator; is that not right?

  5                 MR. MARGULIS-OHNUMA:        That's not right.       I was given

  6    a list of documents and a list of witnesses and the list of

  7    documents was enormous.         It was hundreds of documents and I

  8    was left to fend for myself as to which ones were coming in

  9    when.

 10                 THE COURT:     You're saying though you get a list of

 11    exhibits for the day, but not any indication which exhibit --

 12                 MR. MARGULIS-OHNUMA:        On this occasion -- well, when

 13    there's simpler days when there's two exhibits, yes, they've

 14    given to me the night before.           If they can tell me what's

 15    coming in Tuesday morning, I will look at them over the

 16    weekend and try not to have badly founded objections.

 17                 THE COURT:     I think it's important for the

 18    efficiency of this and the wise use of the jury's time to ask

 19    you each and every day before the stroke of midnight or maybe

 20    before 9 o'clock p.m., let's say, to give the defense an

 21    indication of which exhibits you intend to introduce the

 22    following day and through which witnesses.

 23                 MS. KOMATIREDDY:        Your Honor, I have to make a

 24    record here.      Because we knew it was more exhibits than usual

 25    today, we gave it to them two days in advance and these are

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  1    exhibits that have previously been discussed.

  2                 THE COURT:     So we have no disagreement here.            Unless

  3    there's a disagreement of fact about the Wednesday night

  4    production I'm going to offer my thanks to the Government for

  5    having done so and implore the Government to continue doing so

  6    going forward.

  7                 MS. KOMATIREDDY:        I understand, Your Honor, but I

  8    just want to set expectations.           We had asked for what exhibits

  9    the defense objects to for purposes of translation.                 They

 10    refused to provide that to us.           We have asked what exhibits

 11    they have objections to on 403.           They've refused to preview

 12    that.    They continue to do it exhibit by exhibit even though I

 13    offered, if they wished, to go over it over the three-day

 14    weekend.

 15                 THE COURT:     Ms. Guy, get the jury back so we can get

 16    started as soon as possible.

 17                 For the sake of the record, what we heard is that

 18    the defense did have advance notice and even more advance

 19    notice than I was asking for, that this exhibit was to be

 20    introduced through this witness such that when we had the

 21    prior -- let me finish, such that when we had the previous

 22    witness on the stand, the Russian translator, you had been

 23    apprised that to expect this exhibit with the next witness.

 24                 MR. MARGULIS-OHNUMA:        Not at all, Your Honor.         We

 25    were given a document dump, meaning a long, long list of

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  1    hundreds of exhibits Wednesday night, 7 or 8 o'clock at night

  2    without saying which witness they were coming in with.                  The

  3    Government constantly adjusted it's witnesses, which they're

  4    entitled to do.

  5                 THE COURT:     Then there is a dispute then.

  6                 MR. MARGULIS-OHNUMA:        I can't handle 300 or 400

  7    exhibits the night before when I don't know which witness

  8    they're coming in with --

  9                 THE COURT:     So --

 10                 MR. MARGULIS-OHNUMA:         Can I just finish?        If they

 11    could give me 10 or 15 or 20 exhibits that they plan to bring

 12    in Tuesday morning, I will absolutely let them know over the

 13    weekend which will be objectionable, but they can't --

 14                 THE COURT:       They're going to tell you by noon

 15    tomorrow which exhibits they expect to introduce on Tuesday

 16    and through which witnesses.

 17                 MS. KOMATIREDDY:        I can tell you now, Your Honor.

 18                 THE COURT:     I do not want you to tell me now because

 19    I want to bring in the jury.           So let's table this until 4 p.m.

 20    after they're gone.

 21                 (Continued on the following page.)

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  1                 (Jury enters courtroom.)

  2                 THE COURT:     Everyone please be seated.          And we'll

  3    ask the government to continue.           Bring the witness back.

  4                 (Whereupon, the witness resumed the stand.)

  5                 MR. MARGULIS-OHNUMA:        The objection to Government

  6    Exhibit 1627T and 1627 is withdrawn.

  7                 THE COURT:     The objection having been withdrawn, the

  8    exhibit is admitted.

  9                 MR. MINDLIN:      Mr. Carter, if you could show the

 10    defense 1612TE.

 11                 In addition to 1627 and 1627T, the government is

 12    also moving on 1612, 1612T and this exhibit, 1612TE.

 13                 MR. MARGULIS-OHNUMA:        No objection.

 14                 THE COURT:     Admitted.

 15                 MR. MINDLIN:      Mr. Carter, if you could show this

 16    exhibit to the jury and the witness, please.

 17    DIRECT EXAMINATION

 18    Continued.

 19    BY MR. MINDLIN::

 20    Q      Agent Decapua, you testified a few moments ago that Jira

 21    is a system for programmers to coordinate; is that right?

 22    A      That's right.

 23    Q      Looking at this particular document, is this a type of

 24    Jira document that you're familiar with it?

 25    A      It is.

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  1    Q      What type is it?

  2    A      This is automated email that gets sent when someone does

  3    something on the Jira platform that needs to be broadcast to

  4    people.

  5    Q      What does Jira do, what is an automated email in this

  6    context?      How does it work?

  7    A      So there are settings within Jira where you can

  8    determine, for instance, if someone creates a new bug or an

  9    issue and it's assigned to someone, within Jira you can set --

 10    set it so it sends automated emails to members of the team

 11    saying this new thing happened or someone commented on this

 12    new issue or this new bug or someone pushed code to something.

 13    Q      You said someone commented, does Jira allow users

 14    comment?

 15    A      Yes.

 16    Q      Looking at this email here, have you reviewed account

 17    records from Google with respect to the "to" email address on

 18    this email, mathete.com@gmail.com?

 19    A      I have.

 20                  MR. MINDLIN:     At this time I move into evidence

 21    Government Exhibit 804A.          I'm sorry, it's been received

 22    already into evidence.

 23                  Mr. Carter, if you could show that to the jury and

 24    the witness.

 25                  What is the name on this account record?

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  1    A      It's Boris Timokhin.

  2    Q      What is the email address?

  3    A      Mathete.com@gmail.com.

  4                 MR. MINDLIN:      Returning to 1612TE please,

  5    Mr. Carter.

  6    Q      Is that the receiving address of this Jira auto forward?

  7    A      It is.

  8    Q      What kind of action is happening in Jira down below?

  9    A      So the user Aleksandr is commenting on something.

 10    Q      And from this page can you tell who Aleksandr is?

 11    A      You can't.

 12                 MR. MINDLIN:      Can you just scroll down to the second

 13    page Mr. Carter, please.

 14    Q      What are we seeing here, Agent Decapua?

 15    A      So this is an email where someone put the mouse cursor

 16    over the Aleksandr, the link.

 17                 MR. MINDLIN:      And, Mr. Carter, can you zoom in on

 18    what comes up when the mouse is over Aleksandr in this

 19    document.

 20    Q      Can you just read that please.

 21    A      Sure.    It's

 22    HTTP://Jira.tipsters.com/secure/viewprofile.JSPA and then

 23    there's a parameter passed along name equals Nastra.

 24    Q      Can you read that name again, please?

 25    A      Nastra.

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  1                  MR. MINDLIN:     Mr. Carter, if you can go up to the

  2    first page of the document again so we can see the English

  3    translation.

  4    Q      Agent Decapua, can you please just read the actual text

  5    of this comment from the user Aleksandr from Nastra?

  6    A      Mikhail Andreev set in clicklandia, 10 clicks per day

  7    from IP, but within an hour it already downloaded 300 clicks.

  8    Clearly it's a bug.        It should be about 50 to 60 click per

  9    hour total.      If we are talking about dilution.

 10                  MR. MINDLIN:     Mr. Carter, could we see 1627T please,

 11    previously admitted.

 12                  MR. CARTER:     1627?

 13                  MR. MINDLIN:     1627T.    This is the document that was

 14    admitted a few minutes ago.           If you could just zoom in on the

 15    box.    Right there.      Thank you.

 16    Q      So do you know what type of action is being recorded in

 17    this Jira auto forward?

 18    A      Yes.   Aleksandr's updating an issue.

 19    Q      And Aleksandr is that user name that we just talked

 20    about?

 21    A      That's correct.

 22    Q      Can you read the body text of this -- well, I'm sorry,

 23    just to back out a little bit.           Do you know what type of

 24    communication this is?

 25    A      So I believe it would be referred to as an issue in Jira.

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  1    Q      And who is making the change in this issue?

  2    A      The change is by the user Aleksandr.

  3    Q      Is there a text that Aleksandr wrote when they made

  4    change -- or is there text in this document?

  5                 Why don't you read the document for me please.

  6    A      Sure.    Out loud?

  7    Q      Out loud.

  8    A      This advertiser buys pop ups.          According to our cover

  9    story we have a tool bar.          Therefore the referrers could be of

 10    any kind.      www.adcash.log-in ibetters2@gmail.com@adcash123.

 11    Need to add to the Metan the URL that we're going to send the

 12    traffic to.      Here is what a manager wrote directly.

 13    Q      And I think you can skip the italicized computer jargon

 14    for the next two rows and just read what's below them.

 15    A      Should start sending traffic to this URL.              Naturally

 16    using Metan to transmit IP address, referrer, browser

 17    language, browser, OS, TOS, plus three, LV, plus three.                  I

 18    clicked a few times --

 19    Q      You can stop there at few times.           Thank you so much.

 20                 I'd like to now ask you about the communications

 21    among the people that we just discussed.

 22                 MR. MINDLIN:      At this time the government moves into

 23    evidence Exhibit 693, 693T and, Mr. Carter, if you could

 24    please show the defendant 693TE.

 25                 MR. MARGULIS-OHNUMA:        Judge, if I'm not mistaken

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  1    this was the subject of a previously stated objection.                  We

  2    maintain that there is no relevance objection.

  3                  THE COURT:    I'm sorry?      What -- if the previous

  4    objection was resolved, is there a new objection?

  5                  MR. MARGULIS-OHNUMA:       I'm -- I just want to make

  6    sure I have the right one.          It's a 13-page chat so let me just

  7    confer with the government for a moment if I may.

  8                  (Pause in proceedings.)

  9                  MR. MARGULIS-OHNUMA:       No objection to this exhibit,

 10    your Honor.

 11                  THE COURT:    All right.      There being no objection,

 12    the exhibit is admitted.

 13                  MR. MINDLIN:     Mr. Carter, can you please show the

 14    jury 693TE.

 15    Q      Mr. Decapua, can you see this chat?

 16    A      Yes.

 17    Q      Who are the participants in this chat?

 18    A      On left it's alex@jabber.tipsters.com, Alex Z, and on the

 19    right it's z@jabb9.org, Terix.

 20                  MR. MINDLIN:     If I could ask you to go down to

 21    page 4, please.       Mr. Carter -- oh, is this page 4?            Okay.

 22                  Agent Decapua -- Mr. Carter, bottom of the page,

 23    that was good.       Thank you.

 24    Q      Agent, I'm going to read the right-hand side, Terix or

 25    z@jabb9 and I'll ask you to read the left-hand side,

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  1    alex@jabbers.tipsters.com.

  2                  Can you read for the defendant please, start with

  3    the word "yo."

  4    A      Yo, what should a bot be able to do?

  5                  MR. MINDLIN:     Mr. Carter, can you scroll down,

  6    please.

  7    A      Our idea is that we'll get a lot of browsers on a

  8    dedicated server and complete emulation including mouse moves

  9    and through sockets we'll change the IP address on each

 10    browser.      What else should the bot be able to do.            Fill out

 11    forms, for example?

 12    Q      The bot must be able to click on pre rolls.

 13    A      What are pre rolls, for videos?

 14    Q      Yes.    An ad video that loads before the video.

 15    A      Is there some kind of difficulty with it?

 16    Q      Of course, key indicators.

 17    A      Show me an example.

 18    Q      PV equals page views, TOS, time on site, it's supposed to

 19    change.

 20    A      Yes.    There's nothing complicated about that.

 21    Q      Depending on what the advertiser wants.             There are simple

 22    examples available.        Check YouTube.       Everyone has it

 23    differently, but the players are mostly standard JW player.

 24    A      It's not a classic PPC?

 25    Q      Well, PPC is a way to connect advertisers and bots so to

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  1    speak.     There are nuances.       Let's say an advertiser pays for

  2    video views and requires clicks on pre rolls with a CTR of

  3    1 percent, that requires staying on one page for a long time,

  4    say five minutes.        Well, but he pays a lot.         But there aren't

  5    many of those it seems and there are block lists.                Adometry

  6    and IAS.     Only IPs are targeted for bust.           And it turns out

  7    that sometimes it's more profitable to do five clicks one

  8    minute each, than one click for five minutes.               Do you

  9    understand what I mean?         Ideally you have to multitask, give

 10    the expensive and demanding ones what they want, and work with

 11    the rest mass production style.

 12                 MR. MINDLIN:      Mr. Carter if you go to page 12 please

 13    now.

 14    Q      Could you please read for the defendant on the left-hand

 15    side.

 16    A      On Thursday we'll start writing the bot.             We are

 17    preparing the last docs.          I have a question.       If we make a bot

 18    that's a full-fledged AI that will be registering emails,

 19    filling out leads, actually typing and even sometimes with

 20    typos, confirming emails, reading Captchas, I have a person on

 21    my team who created the system for recognizing vehicle license

 22    plates, watching flash, finding where ads are in them and

 23    click on it.      Sometimes it will even make purchases with a

 24    stolen card or as a minimum get a decline.              The only thing

 25    we're not teaching it is to answer phone calls.                Although I

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  1    think that can be solved with our call center.                If we manage

  2    to do this shall we be able to buy a Rolls Royce next year?

  3                 MR. MINDLIN:      Thank you.     The government now moves

  4    into evidence Exhibit 609T.          Show that to the defense please,

  5    Mr. Carter, as well as the underlying documents 609 and 609E.

  6                 MR. MARGULIS-OHNUMA:        No objection.

  7                 THE COURT:     They are admitted.

  8                 MR. MINDLIN:      Mr. Carter, can you please show them

  9    to the jury as well.        609T to the jury, that document we're

 10    currently looking at.

 11                 Mr. Carter, can you just scroll down to the bottom

 12    please.

 13    Q      Agent Decapua, can you see that red text at the bottom?

 14    A      Yes, I can.

 15    Q      Are you familiar with this format of text?

 16    A      I am.

 17    Q      How are you familiar with it?

 18    A      Because I've conducted investigations where I had to

 19    request records from Apple.

 20    Q      And what about this reminds you of -- how so, can you

 21    explain?

 22    A      Well, when Apple provides documents to us, in accordance

 23    with a Court order or a subpoena, they give it to us in a

 24    certain format and this is -- I recognize this file path.

 25    Q      And this file path, does that show where this is located

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  1    in the documents provided?

  2    A      Yeah.    It shows it's related to the

  3    iBetters@iCloud.com account and then you see where it says

  4    notes, it shows that this is the contents of Apple notes.

  5    Q      What are notes in the context of the iCloud?

  6    A      It's, you know, under -- if you have an iPhone and you

  7    want to take notes to yourself you can pull up the notes

  8    application, you can take those notes and then it's synced

  9    along with all your other Apple devices.              That's what this is.

 10    Q      When you say synced, is it stored somewhere by Apple?

 11    A      Yes, it stored by Apple and so when you log-in at home

 12    you can see what your notes are.

 13    Q      Would this be a copy of that?

 14    A      Yes.

 15                  MR. MINDLIN:     Going to the top of the document,

 16    Mr. Carter, if you could just briefly show Agent Decapua the

 17    red text at the top.

 18    Q      Can you read the date there, please.

 19    A      It's January 8th, 2015.

 20    Q      And if you could now read the text of this iPhone note

 21    from the defendants's iCloud account, please.

 22    A      Mantra.    Fifty servers and 25,000 IPs.           1,500,000 clicks

 23    per day.

 24                  Bid .0015.    2,250 per day.       67,500 per month.

 25                  $60,000 per month of pure profit.

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  1                 MR. MINDLIN:      The government now moves into evidence

  2    Exhibit 676 and, Mr. Carter, could you show 676T please for

  3    the defense's review.

  4                 MR. MARGULIS-OHNUMA:        The previous objection, your

  5    Honor.

  6                 THE COURT:     Overruled.      You may proceed.

  7                 MR. MINDLIN:      Are 676 and 676T admitted, your Honor?

  8                 THE COURT:     Can I see the other one.

  9                 MR. MINDLIN:      Mr. Carter, could you show 676,

 10    please.

 11                 THE COURT:     Okay.    Yes, they're admitted.

 12                 MR. MINDLIN:      And, Mr. Carter, I'm sorry if could

 13    you please show 676E which has the red marking but on the

 14    Russian text, just to keep things organized.

 15                 Your Honor, we also move into evidence 676E.

 16                 THE COURT:     I'm sorry I didn't hear the suffix on

 17    that on

 18                 MR. MINDLIN:      676E which is just 676 but with the

 19    path and date marked.

 20                 THE COURT:     That's admitted as well.

 21                 MR. MINDLIN:      Okay.    Mr. Carter, can you please show

 22    the witness 676T.

 23    Q      Agent Decapua, directing your attention first to the

 24    bottom of the document, is this another iPhone note?

 25    A      Yes, it is.

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  1    Q      And directing you to the top of the document can you read

  2    the date, please.

  3    A      The date is September 20th, 2014.

  4    Q      Can you please read the text of this note from the

  5    defendant's iPhone.

  6    A      Machine gun schema.

  7                 300 browsers each five minutes on a website.               That's

  8    3,600 clicks per hour.         85,000 clicks per server per 24 hours.

  9    85 IPs with 1,000 clicks per IP.

 10                 Profit.     Seventeen dollars per day if a bid is

 11    .0002.     $510 per month.      $12.75 per day if a bid is .00015.

 12    $382 per month.

 13                 Total in the best case scenario.           Profit, 510 minus

 14    server, 100 and IPs 80 equals $330 of pure profit.                 $382 minus

 15    server 100 and IPs 80.

 16                 MR. MINDLIN:      Pardon me, agent.       I'm sorry,

 17    Mr. Carter, could you publish 676T to the jury, please.

 18    Q      And, Agent Decapua, if you could just wait a moment to

 19    give the jury a chance to catch up.

 20                 Can you read the title of the document again?

 21    A      Machine gun schema.

 22    Q      Why don't we go down to total in the best case scenario

 23    and you can pick up there -- actually, I'm sorry, do you mind

 24    reading it again.

 25                 MR. MARGULIS-OHNUMA:        Objection.     Asked and

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  1    answered.

  2                 THE COURT:     You can pick up at total in the best

  3    case scenario.

  4    Q      Pick up there.

  5    A      Total in the best case scenario.           Profit, 510 minus

  6    server 100 and IPs 80 equals $330 of pure profit.                382 minus

  7    server 100 and IPs 80 equal $202 of pure profit.

  8                 MR. MINDLIN:      Your Honor, at this time the

  9    government moves into evidence Government Exhibit 1611, 1611T

 10    and, Mr. Carter, if you could show the defense please, 1611TE.

 11                 If could you scroll down, Mr. Carter.

 12                 MR. MARGULIS-OHNUMA:        Objection, your Honor.

 13                 THE COURT:     Overruled.

 14                 MR. MINDLIN:      Your Honor, are those three exhibits

 15    admitted?

 16                 THE COURT:     Yes.

 17                 MR. MINDLIN:      Mr. Carter, if you could please show

 18    the jury and the witness 1611TE.

 19    Q      Agent Decapua, who were the participants in this chat,

 20    please?

 21    A      So on the left you have alex@jabber.tipsters.com Alex Z,

 22    and on the right you have z@jabb9.org, who is Terix.

 23    Q      I'm going to ask us to read this chat together starting

 24    with -- starting at the top with you reading the defendant's

 25    part on the left and I will read for Terix on the right.

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  1                  Can you start reading please.

  2    A      We're launching right now.         But there won't be

  3    consistency yet.       But we came up with an amazing scheme.             Now

  4    we'll measure how many clicks there will be in this hour and

  5    in October-November there will be two, three times more.                  As

  6    of now, there should be about one and a half million.

  7    Q      With too many it could start slowing down.

  8    A      Over an hour.

  9    Q      Money, smile.

 10    A      Did you set a killer interest rate for us?

 11    Q      Yes.

 12    A      To be honest, by the end of the evening I turned into a

 13    sincere believer that a million on your PPC is a realistic

 14    number per month.

 15    Q      Bro, completely.       I don't have that much but it's headed

 16    that way.      The outlook is very promising.          The most important

 17    thing is to occupy the niche.           By the way, I've already paid

 18    not one but a few million to the advertisers but over the

 19    year.

 20    A      Soon you'll be paying a million just to me.

 21    Q      Easily.    To you it will be a particular pleasure.

 22    Without any half month holds.           Ready money.

 23    A      I don't need holds.        I'm in the hole.

 24    Q      Are you in a lot of debt?         Well, you'll make enough.

 25    You're Nastra for Pete's sake.

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  1    A      You bet.     King of fraud.

  2                 MR. MINDLIN:      Your Honor, at this time the

  3    government moves into evidence Government Exhibits 1677,

  4    1677T, and, Mr. Carter, if you could show the Defense 1677TE

  5    please.

  6                 MR. MARGULIS-OHNUMA:        There's an objection on this

  7    one, your Honor.

  8                 THE COURT:     Did you say no objection?

  9                 MR. MARGULIS-OHNUMA:        There is an objection as

 10    stated previously.

 11                 THE COURT:     Yes.    So like the last exhibit these are

 12    the objections in the motions in limine, correct.

 13                 MR. MARGULIS-OHNUMA:        Yes.

 14                 THE COURT:     The objection is overruled and the

 15    exhibit and its translation are admitted.

 16                 MR. MINDLIN:      Your Honor, that's 1677, 1677T and

 17    16TE?

 18                 THE COURT:     Yes.

 19                 MR. MINDLIN:      Mr. Carter, if can you show the jury

 20    and the witness 1677TE.

 21    Q      Agent Decapua, can you please tell us the names of the

 22    participants in this Skype chat from the defendant's computer?

 23    A      On the left is iBetters, Aleksandr, and on the right is

 24    Popkov, Igor.       Igor Popkov.

 25                 MR. MINDLIN:      Mr. Carter, if you could scroll a bit

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  1    down please, starting at 10:34:41, you're almost there.

  2    Q      Agent, as before, if you could please the read the left

  3    side for the defendant.

  4    A      And by the next weekend I'll have a demo version of the

  5    bot emulating human behavior on site.             And we'll start testing

  6    and in a couple of weeks we'll begin using it for testing

  7    those who want to promote their sites.             So, there is a huge

  8    chance that we'll finally obtain proper financing for

  9    programmers and traffic for games.            In the end, we'll teach

 10    that bot to do everything, register emails, fill out forms,

 11    click confirmations in the emails, maybe even retrieve cards

 12    and do shopping.       One click costs up to 1 dollar on Google.               I

 13    have a strong team.        They can handle this task.

 14    Q      I just got back from the movie theater, watched

 15    Transcendence.       It's about artificial intelligence and just

 16    like that, here you are with the bot and human behavior

 17    emulation.

 18    A      There, that's what we'll develop, i.e. even if we

 19    activate Yandex metrics with its webvisor, we'll be able to

 20    see how the mouse moves across the screen, scrolls the pages,

 21    fills out the forms, watches video, and even will be clicking

 22    on ads inside video.

 23    Q      I have no idea how you implemented all this, but it's

 24    cool.

 25    A      And enter correct symbols and letters from Captcha.                In

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  1    my team I have developers who even coded a car license plate

  2    recognition.      This is to say that we'll even write the bot

  3    capable of recognizing protective captures against bots.

  4    Q      So far only I heard that Google came up with the tool

  5    that bypasses Captcha and now it's you.

  6    A      It's simple.       While I was drinking I realized that I

  7    needed money ASAP and since I am experienced scam

  8    artist/adventurer I immediately started thinking about how I

  9    could screw everyone one more time and I succeeded.                 We'll

 10    create a tool that bypasses Google Captcha.

 11    Q      Muscle emoji.

 12    A      Anyway, I'm almost sure that we'll manage it all, but we

 13    need to take server measurements to understand how many bots

 14    can one server handle.         As for the software, we'll start

 15    writing on Saturday.

 16                 MR. MINDLIN:      Thank you, Agent Decapua.

 17                 MR. MARGULIS-OHNUMA:        Your Honor, I would request a

 18    limiting instruction with respect to this exhibit and the

 19    prior one, 1611.

 20                 THE COURT:      Let's take a one-minute sidebar.           If the

 21    jury wants to stand and stretch, feel free.

 22                 (Continued on the next page.)

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                                    Sidebar

  1                 (The following occurred at sidebar.)

  2                 THE COURT:     What was the instruction?

  3                 MR. MARGULIS-OHNUMA:        I think it would be

  4    appropriate at this time to give an instruction on the

  5    limited, the prohibited character inference and, as to those

  6    two statements and as to, and with respect to the king of

  7    fraud, the same instruction you've been giving about fraud not

  8    in its legal sense.

  9                 So the instruction would say something to the effect

 10    of:    You've heard evidence regarding names that the defendant

 11    referred to himself as, I instruct you that these are admitted

 12    for a limited purpose of proving state of mind and cannot be

 13    used as evidence of character to prove that he acted in

 14    conformity with such character.

 15                 MS. KOMATIREDDY:       We object to limiting state of

 16    mind.    Defendant's statements are in for their truth.                We

 17    also -- a limiting instruction that instructs the jury that

 18    this evidence is not to be, is offered as evidence of the

 19    crimes charged and not any prior bad acts I think is fine.                   We

 20    also object to any instruction that limits the use of the word

 21    "fraud."

 22                 The Court's jury instructions to the jury will be

 23    that one of the elements of wire fraud is fraudulent

 24    misrepresentations and pretenses as well as a specific intent

 25    to defraud.      This chat doesn't say wire fraud.            It says fraud

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  1    and the fact that he says that is important because the

  2    jury -- the jury instructions don't define fraudulent

  3    misrepresentations and intent to defraud.              They used ordinary

  4    use of that term and I think they should be permitted to take,

  5    use their common sense on what that term means.

  6                 THE COURT:     If I remember Sand correctly, they do

  7    say a little bit about what fraud means and how it encompasses

  8    all of the various machinations the human imagination can come

  9    up with and, you know, it's a little bit poetic relative to

 10    the way normal human beings would think about it.

 11                 I've given the limiting instruction already on a

 12    number of occasions here.

 13                 MR. MARGULIS-OHNUMA:        On the fraud point.

 14                 THE COURT:     On the fraud point.

 15                 MR. MARGULIS-OHNUMA:        But my main concern is the

 16    character inference.

 17                 THE COURT:     So, but the problem then is that if

 18    we're going to limit the use of it for character, we have to

 19    teach the jury what character means and how it's

 20    distinguishable not only from state of mind but from intent,

 21    from absence of mistake, right, because your defenses or at

 22    least it was in opening, my client believed he was providing

 23    these bots only to people who, only for the use of people who

 24    knew that they were bots.           That implies that, you know, the

 25    product got away from him somehow and that there was some

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                                    Sidebar

  1    mistake along the line or that there was some limit to his

  2    intent.

  3                 So this limiting instruction, I think, would have to

  4    be extremely complicated in order to get it right which also,

  5    by the way, is the reason why it's helpful to take these

  6    issues up in writing in advance.            We knew that this subject

  7    was coming up today.

  8                 So I'm going to leave this alone for the moment.

  9                 MS. KOMATIREDDY:       Your Honor, if I may suggest, I

 10    believe our proposed jury instructions have a limiting

 11    instruction for prior bad acts anyway because we have

 12    previously moved on other chats relating to prior bad acts.

 13    We can revisit that instruction.            I think this can easily fit

 14    into that.

 15                 THE COURT:     We don't have a prior bad acts problem

 16    right now.      We have two potential problems which are the

 17    defendant seeming to give a legal opinion.               You know, I'm not

 18    sure --

 19                 MR. MINDLIN:      Your Honor, I don't think the jury is

 20    in danger of --

 21                 THE COURT:     Concluding that the defendant is a

 22    lawyer?

 23                 MR. MINDLIN:       -- concluding that the defendant has

 24    an American lawyer degree --

 25                 THE COURT:     I'm sorry.      Finish that sentence.

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  1                 MR. MINDLIN:      Right.    18 U.S.C. 1439.       That's really

  2    not at play here.

  3                 THE COURT:     Right.     The risk, just in case that

  4    didn't come through clearly, that the jury will mistake this

  5    defendant for somebody who's testifying to a legal opinion,

  6    especially, under American law is low.

  7                 MR. MARGULIS-OHNUMA:        I get that.      I think that the

  8    character reference at this point would be appropriate.

  9                 MS. KOMATIREDDY:        That's what I'm saying.        There is

 10    a standard instruction for character and prior bad acts.                  I

 11    think we have it in our proposed instructions.                If not, we'll

 12    propose one at the end of the case because we have moved on

 13    other 404(b) evidence.

 14                 MR. MARGULIS-OHNUMA:        Well, I'm saying I would like

 15    it right now because the evidence just came in followed by a

 16    long pause that was character evidence that shouldn't be used.

 17                 THE COURT:     But don't you need to balance?           If

 18    you're going to say this is not coming in as relevant to his

 19    character, you have to say something at the same time about

 20    the purpose for which it is admitted, right, because,

 21    otherwise, they don't know what to do with that.

 22                 MR. MARGULIS-OHNUMA:        I mean, I would say it could

 23    be used for other things.           All I'm asking for right now is an

 24    instruction that you can't use evidence of a person's

 25    character to prove that he acted in conformity with that

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  1    character on a particular occasion.             That's what I would like.

  2    I wouldn't even want you to refer to the specific --

  3                 THE COURT:     I don't -- the reason I'm hesitating is

  4    because I don't believe this is character evidence in the

  5    first place and so I think it would confuse things more than

  6    it would resolve them to give that instruction now.

  7                 So the request for the limiting instruction is

  8    denied but, again, if you want to address this issue in a

  9    letter --

 10                 MR. MARGULIS-OHNUMA:        I think we wouldn't, we

 11    wouldn't bring it back up, it's in the jury instructions, if

 12    we can't have it right now.

 13                 THE COURT:     Right.     Okay.

 14                 MR. MARGULIS-OHNUMA:        Thanks.

 15                 (End of sidebar conference.)

 16                        (Continued on next page.)

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  1                 (In open court.)

  2                 THE COURT:     Mr. Mindlin, just give me one second.

  3                 MR. MINDLIN:      Yes, Your Honor.

  4                 (Pause.)

  5                 THE COURT:     I actually I'm going to give a momentary

  6    instruction here which is that, ladies and gentlemen of the

  7    jury, I instruct you that as a general matter, evidence of a

  8    person's character is not admissible to prove that he or she

  9    acted, in general, in accordance with that character on a

 10    particular occasion, but this evidence you may consider for

 11    whatever weight you want to ascribe to it, if any, on the

 12    subject of the defendant's conduct, the defendant's intent and

 13    whether the defendant was operating under a mistake at any

 14    particular point in time.

 15                 So, Mr. Mindlin, you may continue.

 16                 MR. MINDLIN:      Thank you, Your Honor.

 17                 At this time, the government offers into evidence

 18    Government Exhibits 602-TE and 603-TE as well as 602 and 603

 19    and their respective translations.

 20                 Mr. Carter, if can you just show the defense 602-TE,

 21    please.

 22                 MR. MARGULIS-OHNUMA:        If we can do them one at a

 23    time.    There's no objection to 602-T or TE.

 24                 MR. MINDLIN:      And if you can show 603-TE please,

 25    now, Mr. Carter.

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  1                 MR. MARGULIS-OHNUMA:        No objection, Judge.

  2                 THE COURT:     It's admitted.

  3                 MR. MINDLIN:      So Your Honor, at this time, we move

  4    into evidence not just 602-TE and 603-TE, but also 602 and

  5    603, the underlying Russian chats that these are excerpts

  6    from, and 602-T and 603-T, the underlying translation of these

  7    Russian chats that these are directly excerpted from.

  8                 THE COURT:     And there having been no objection, the

  9    exhibits are admitted.

 10                 MR. MINDLIN:      Thank you, Your Honor.

 11                 (Government Exhibits 602, 602-T, 602-TE, 603, 603-T

 12    and 603-TE so marked.)

 13                 MR. MINDLIN:      Mr. Carter, if we can look at 602-TE,

 14    please.     Can we zoom in on that?         Thank you.

 15    BY MR. MINDLIN:

 16    Q      Agent Decapua, can you tell the jury, please, who the two

 17    participants are in this chat?

 18    A      The left is alex@jabber.tipsters.com, the defendant, and

 19    on the right is z@jabb9.org, Terix.

 20    Q      Let's read the chat with you reading for the defendant.

 21    A      If there are 100 KIBs.

 22    Q      Well, you don't do 100K clicks then.            From 100 KIBs you

 23    will do a lot of millions.

 24    A      If we are talking about one cent clicks, then I do 5 to

 25    10 clicks from one IP, 50 to $100 for 1K of traffic.

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                        Decapua - direct - Mindlin

  1    Q      Well, it's too early to talk about that.             First we need

  2    to achieve a steady $1 from 1K of clicks, then 2, then 3-5.

  3    A      Well, so far it's clear.         We'll do shitty feeds but I'm

  4    getting ready for a good one.

  5    Q      And after that you can try.

  6    A      Yes.    And then will go and finally screw Sergey Brin.

  7    First with our army of bots, we'll launch tons of sites, then

  8    feed the ad words there and start clicking on it.                I like the

  9    idea of a server bot net.           True luxury and almost all "white."

 10    This is the first order of business.             To cheat Google will be

 11    the real cherry on the top of the project.               I mean screwing

 12    Brin will be our final step.           When there will be nobody else

 13    left to screw.

 14    Q      Better be careful with getting cocky.

 15                  Agent Decapua, do you know who Sergey Brin is?

 16    A      I do.

 17    Q      Who is Sergey Brin?

 18    A      He was one of the two co-founders of Google.

 19                  MR. MINDLIN:     Mr. Carter, if we could show the jury,

 20    please, 03-TE.

 21    Q      Agent Decapua, are the same participants in this chat as

 22    the last one?

 23    A      Yes.

 24    Q      Can you start please reading for the defendant.

 25    A      My final personal goal is to cheat Yahoo.              The team will

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                        Decapua - direct - Mindlin

  1    just test drive all the mechanisms using your feed along with

  2    all the pitfalls.

  3                 MR. MINDLIN:      The government offers into evidence at

  4    this time 1625-E.

  5                 Mr. Carter, if you would show that to the defense,

  6    please.

  7                 MR. MARGULIS-OHNUMA:        No objection.

  8                 THE COURT:     It's admitted.

  9                 (Government Exhibit 1625-E so marked.)

 10                 MR. MINDLIN:      The government also moves in evidence

 11    1625, Your Honor, the underlying document.

 12                 THE COURT:     Yes.    Admitted as well.

 13                 (Government Exhibit 1625 so marked.)

 14                 MR. MINDLIN:      Mr. Carter, can you show that to the

 15    jury, please.

 16    Q      Agent Decapua, can you tell the jury who the participants

 17    are on this chat, please?

 18    A      On the left-hand side is i-betters, Aleksandr, the

 19    defendant.      On the right is Geoffrey Staft, Geoffrey.

 20    Q      I'll start reading for Geoffrey.

 21                 Aleksandr, do you have Double Verify traffic?

 22    A      Can you show me an example of a site with Double Verify

 23    pixel?

 24    Q      Give me a moment.       50 connect.co.uk.

 25    A      Okay.    Check tomorrow.      It is just the traffic check

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                        Decapua - direct - Mindlin

  1    page, right?

  2    Q      Is what traffic check page?

  3    A      The page where networks check the quality of traffic.

  4    Q      Yes, that is what Double Verify is doing.              This company

  5    is checking viewability, checking for bots, et cetera.                  The

  6    pixel decides whether to serve the ad or not depending on

  7    quality.      The goal is to achieve a 90 to 95 percent

  8    viewability score with DV with a max of 5 percent bot

  9    suspicious activity.

 10    A      How much does that traffic cost.

 11    Q      We are paying .01 for this traffic.

 12    A      One cent?

 13    Q      Yes.

 14    A      For bots?     Without video viewing?

 15    Q      No we are not paying for bots.           We are paying .01 for

 16    human traffic, video views, et cetera, et cetera.

 17    A      If we pass DV by bots?

 18    Q      What do you mean?

 19    A      Anyway, tomorrow we check that pixel of DV.              What traffic

 20    must do?      Video, TOS and PV?

 21    Q      Some are VTR advertisers and some are TOS/PV.               I will

 22    separate the tags based on the advertiser.

 23                  MR. MINDLIN:     The government offers into evidence

 24    Government Exhibit 1613.

 25                  And, Mr. Charter, if you could show the defense

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                        Decapua - direct - Mindlin

  1    1613-T.

  2                 MR. MARGULIS-OHNUMA:        Just the one page?

  3                 MR. MINDLIN:      Just the one page.

  4                 MR. MARGULIS-OHNUMA:        No objection.

  5                 THE COURT:     It's admitted.

  6                 MR. MINDLIN:      As well as 1613, Judge?

  7                 THE COURT:     Yes.

  8                 (Government Exhibits 1613 and 1613-T so marked.)

  9                 MR. MINDLIN:      Show the jury please, Mr. Carter.

 10    Q      Agent Decapua, if you could just tell us what type of

 11    document this is?

 12    A      This is another one of those automated e-mails that is

 13    sent by JIRA.

 14    Q      And what is the -- can you tell us what's happening in

 15    this JIRA item?

 16    A      So it looks like Aleksandr is commenting on something, an

 17    issue or a ticket.

 18    Q      And what is the name of this?

 19                 Can you tell the jury what a ticket is, please.

 20    A      So, generally, when you're developing software, a lot of

 21    times you'll flag an issue for one of your developers by

 22    opening up a ticket saying do this or check on this or here's

 23    a bug or someone needs to fix this and then when someone

 24    actually does it, you close the ticket.              It's just a way of

 25    keeping track of who's doing what.

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                        Decapua - direct - Mindlin

  1    Q      And what is the name of this particular ticket?

  2    A      Make mouse move and scroll more sensible.

  3    Q      And so can you tell the jury what is the comment made by

  4    Aleksandr also known by the profile name of Nastra?

  5    A      He says:     Are we closing the ticket.

  6    Q      What does it mean to close the ticket?

  7    A      It means to basically settle it.           It's closed.      Whatever

  8    the issue was has been handled and now you're putting it

  9    aside.

 10                 MR. MINDLIN:      The government offers 604 and, Mr.

 11    Carter, 604-T.

 12                 MR. MARGULIS-OHNUMA:        No objection.

 13                 THE COURT:     They are admitted.

 14                 (Government Exhibit 604 and 604-T so marked.)

 15                 THE COURT:     For the jury, please, Mr. Carter.

 16    Q      Is this document, 604-T, a JIRA ticket, Agent Decapua?

 17    A      Yes, it is.     It's an e-mail.

 18    Q      Can you tell the jury what is happening in this JIRA

 19    item?

 20                 Let me be more specific.         Can you read the top line

 21    below the e-mail headers?

 22    A      Dmitry Novikov updated an issue.

 23    Q      What is the title of this particular issue?

 24    A      Emulate the viewing of the video.

 25    Q      Can you tell the jury what "emulate" means generally in

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  1    computer terms?

  2    A      Just very generally, it's when one thing pretends to be

  3    something else.

  4    Q      Can you read the item that is within this ticket, please,

  5    the text?

  6    A      Must click on the view and watch them for 60 to

  7    90 seconds.      I took the information about specific time from

  8    the support.      The task is connected to, and then there's a

  9    URL, JIRA.tipsters.com/browse/METH35.

 10                 MR. MINDLIN:      The government offers into evidence

 11    607 and 607-T.

 12                 MR. MARGULIS-OHNUMA:        No objection.

 13                 THE COURT:     They are admitted.

 14                 (Government Exhibits 607 and 607-T so marked.)

 15                 MR. MINDLIN:      Mr. Carter, if you can please show the

 16    jury 607-T.

 17    Q      Agent Decapua, what sort of document is this, very

 18    generally?

 19    A      It's an e-mail.

 20    Q      And can you -- what's the subject line of the e-mail?

 21    A      It's To-Do.

 22    Q      And who is it from?

 23    A      It's from Aleksandr, ibetters2@gmail.com, the defendant.

 24    Q      And who is it to?

 25    A      Boris Timokhin, e-mail address is mathete.com@gmail.com.

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                        Decapua - direct - Mindlin

  1    Q      Can you read the date, please?

  2    A      It's 6/25/2015.

  3    Q      Okay.    Can I ask you to read the first two bullets,

  4    please?

  5    A      Find RS-feed checker.        Complaints about fake Chrome and

  6    mouse move.      Find Primus checker.         See why TOS there is so

  7    small.

  8    Q      And then if you can go one, two, three, four, five lines

  9    down to where it beings, "And there was."              If you can just

 10    read that line?

 11    A      And there was no mouse movement.

 12    Q      Can I ask you to go to the next page, please.

 13                 Do you see that there are two bullets at the top of

 14    the page.

 15    A      I do.

 16    Q      Could I ask you to read the first bullet, please?

 17    A      Add authorization for Facebook authorized users.                There

 18    is Google, Twitter, too.          No FB.    There should be

 19    approximately 40 percent of them.

 20    Q      Are you familiar with the abbreviation "FB" in the

 21    context of social media?

 22    A      I am.

 23    Q      What does it stand for?

 24    A      Facebook.

 25                 MR. MINDLIN:      Mr. Carter, if you could show the

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                        Decapua - direct - Mindlin

  1    defense 1613-T, please.         My apologies this is in already.

  2                 Mr. Carter, if you can show the defense 1628-T,

  3    please.

  4                 MR. MARGULIS-OHNUMA:        I'm ready.      Are you offering

  5    it?

  6                 MR. MINDLIN:      I'm offering that into evidence.

  7                 MR. MARGULIS-OHNUMA:        No objection.

  8                 MR. MINDLIN:      At this time, we offer 1628-T and TE.

  9                 THE COURT:     Admitted.

 10                 (Government's Exhibit 1628-T and 1628-TE so marked.)

 11    Q      Agent Decapua, is this a JIRA automated e-mail?

 12    A      It is.

 13    Q      And can you read the first line below the e-mail headers,

 14    please?

 15    A      Mikhail Andreev commented on.

 16    Q      And what does it say next to that?

 17    A      METH-114.

 18    Q      What is the subject line of the exhibit?

 19    A      Sending time zones of the IP addresses to Metan.

 20    Q      And do you know whether computers communicate their IP

 21    addresses to each other when they talk over the internet?

 22    A      Yes, they do.

 23    Q      How do they do that?

 24    A      It's very complicated.

 25    Q      Withdrawn.

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                        Decapua - direct - Mindlin

  1                 What's below the headline here?

  2    A      It's the body of the comment.

  3    Q      What does it say there?

  4    A      It says:     I did.    EST negative 5 by default.

  5    Q      Are you familiar with the abbreviation "EST" for a time

  6    zone?

  7    A      I am.

  8                 MR. MINDLIN:      Mr. Carter, if you could please show

  9    the defense Government Exhibit 608.

 10    Q      Agent Decapua, while the defense looks at 608-T --

 11                 MR. MINDLIN:      And, Mr. Charter, if you can show the

 12    T version.

 13    Q      Agent Decapua, what does EST stand for in the context of

 14    a time zone?

 15    A      It stands for Eastern Time Zone.

 16                 MR. MINDLIN:      And, Mr. Carter, actually, if we can

 17    see 608-T, please, for clarity:

 18                 MR. MARGULIS-OHNUMA:        No objection.

 19                 THE COURT:      Admitted.

 20                 MR. MINDLIN:      Your Honor, does this apply to 608-T,

 21    608-T and TE?

 22                 THE COURT:      Yes.

 23                 MR. MINDLIN:      Thank you, Your Honor.

 24                 (Government Exhibits 608, 608-T and 608-TE so

 25    marked.)

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                        Decapua - direct - Mindlin

  1                 MR. MINDLIN:      For the jury, please, Mr. Carter.

  2    Q      So looking at this, Agent Decapua, can you tell the jury

  3    who the participants are in this chat, please?

  4    A      On the left, it's Ibetters, the defendant, and on the

  5    right, it's Qoqenator.

  6    Q      I think this is the first time we've seen Skype user

  7    Qoqenator.

  8                 MR. MINDLIN:      I offer into evidence 811-A, please,

  9    and, Mr. Carter, if can you just show that to the defense.

 10                 MR. MARGULIS-OHNUMA:        No objection.

 11                 (Government Exhibit 811-A so marked.)

 12                 MR. MARGULIS-OHNUMA:        For the jury, please,

 13    Mr. Carter.

 14    Q      Agent Decapua, what Skype name is this account record

 15    for?

 16    A      It's for user name Qoqenator and associated e-mail

 17    address is qoqenator@gmail.com.

 18                 MR. MINDLIN:      Mr. Carter, if you can please show the

 19    jury Government Exhibit 805-A, the Google account record for

 20    that gmail address.        And if there is an 805-AT, that would be

 21    helpful.

 22    Q      Taking that to mean there is not one, can you read the

 23    recovery e-mail, please, on this account record?

 24    A      It is Tim-Boris@yandex.ru.

 25    Q      Agent Decapua, the defense has stipulated that the name

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                        Decapua - direct - Mindlin

  1    here is Boris Timokhin on the account record.

  2                  MR. MARGULIS-OHNUMA:       That is correct, Your Honor.

  3                  MR. MINDLIN:     Mr. Carter, if you could please show

  4    the jury and the witness Government Exhibit 804-A.

  5    Q      Looking here at mathete.com@gmail.com, which is the

  6    e-mail address for the qoqenator@gmail.com that we just saw,

  7    what is the name on this account record?

  8    A      It's Boris Timokhin.

  9                  MR. MINDLIN:     So now that we've gone on this long

 10    trip about Qoqenator, the Skype user name, if you could

 11    return, please, Mr. Carter, to 608-TE.

 12    Q      And who's on the left-hand side?

 13    A      It's the defendant.

 14    Q      Let's read this.       I'm going to start a few rows down on

 15    the right-hand side and before you start reading it, I'll have

 16    to ask you a question or two.

 17                  Why do you think that turning off mouse move delay

 18    will save us?       I don't give a fuck.

 19                  And then is there anything about the formatting here

 20    that is distinctive on the left-hand side, Agent?

 21    A      Yes.    So this is what it looks like when someone will

 22    paste a message into the actual chat screen of Skype.

 23    Q      And who does the defendant appear to be pasting a message

 24    from, if you know?

 25    A      Gar.

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  1    Q      And what does Gar say that's pasted here?

  2    A      He said:     Good metrics that advertisers are seeking.

  3    Q      Go on.

  4    A      PV 3 plus.     TOS 3 minutes plus.        JS 95 to 100 percent.

  5    Flash video 85 to 100 percent.           If you have a chance to

  6    correct this data, then the traffic will correspond to

  7    requirements of the majority of advertisers and pay off at

  8    higher bids.      These parameters are required by almost all

  9    advertisers.      May require unique traffic, but metrics vary

 10    wildly at each advertiser.          JS support is needed.        So

 11    advertisers can track the traffic with their own counters.

 12    The following are main complaints from the refusing

 13    advertisers.      "There is no mouse in more than half of cases."

 14    "Mouse coordinates equal zero,"           "There is a mismatch in user

 15    agents."

 16    Q      You read a couple of terms at the top of this box.                I saw

 17    PV and TOS, correct?

 18    A      Correct.

 19                 MR. MINDLIN:      Can you, Mr. Carter, can you briefly

 20    show the jury 693-TE which they already saw just to look at

 21    those terms.

 22                 And zooming in, why don't you look down to page 2.

 23    Keep going.      Keep going.      You can keep going, Mr. Carter.

 24    Thank you.      Stop there, please.

 25    Q      Agent Decapua, can you just read what Terix says about PV

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  1    and TOS?

  2    A      PV, page views.      TOS, time on site.

  3    Q      Thank you.

  4                  MR. MINDLIN:     Mr. Carter, you can take that down.

  5    Thanks.

  6                  Your Honor, we can continue but we're at a natural

  7    breaking point if you'd like to stop.

  8                  THE COURT:    I would like to fill the last 10 minutes

  9    or 12 minutes.       Ten more minutes.

 10    Q      Agent Decapua, have you reviewed chats related to renting

 11    out IP addresses?

 12    A      I have.

 13    Q      And have you reviewed chats related to information about

 14    IP addresses?

 15    A      Yes.

 16                  MR. MINDLIN:     At this time, the government moves

 17    into evidence Government Exhibit 1626.

 18                  Mr. Carter, if you could show 1626-E, please.

 19                  MR. MARGULIS-OHNUMA:       No objection.

 20                  THE COURT:    Admitted.

 21                  MR. MINDLIN:     That also for 1626, Your Honor?

 22                  THE COURT:    Yes.

 23                  (Government Exhibits 1626 and 1626-E so marked.)

 24    Q      Agent Decapua, who are the parties to this chat?

 25    A      On the left is Mediamethane, Alexander ZH, and on the

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  1    right is Alex Verakov, Lost.

  2    Q      Since we haven't yet spoken about the Skype user name

  3    Mediamethane, let's look briefly at the record.

  4                 MR. MINDLIN:      Mr. Carter, if you could show the

  5    defense Government Exhibit 809-B.             We'll be offering this in

  6    evidence.      I believe there's a page 2 as well.

  7                 MR. MARGULIS-OHNUMA:        No objection.

  8                 THE COURT:     Admitted.

  9                 (Government Exhibit 809-B so marked.)

 10                 MR. MINDLIN:      Mr. Carter, can you show the jury this

 11    record for the Skype user name Mediamethane.

 12    Q      Agent Decapua, who's the -- what's the name on this Skype

 13    account record?

 14    A      It's Alexander Zh.

 15    Q      And we keep talking about these things called account

 16    records.     Can you explain to the jury what an account record

 17    is, generally?

 18    A      So, generally, when you sign up to use something like

 19    Skype, there's some -- you go through a registration process

 20    where you put your name and, you know, other contact

 21    information, maybe a phone number or a second e-mail address.

 22                 Skype is owned by Microsoft and so Microsoft will

 23    log that information and they'll keep it on their computers

 24    and sometimes law enforcement, in order to gather evidence, we

 25    would send a court order or a subpoena to Microsoft and say

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  1    hey, whose account is associated with a specific Skype user

  2    name and this is the type of document that we would receive

  3    from Microsoft in response.

  4                 (Continued on next page.)

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  1    (Continuing.)

  2    BY MR. MINDLIN:

  3                  MR. MINDLIN:     Mr. Carter, can you show page two of

  4    this, please?

  5    BY MR. MINDLIN:

  6    Q      Is there an email address associated with this Skype

  7    account?

  8    A      Yes.   It's all Alex@tipsters.com.

  9    Q      And is there a country associated?

 10    A      Bulgaria.

 11    Q      Going back to the chat with that Mediamethane Skype user

 12    name.

 13                  MR. MINDLIN:     That was 1626E, Mr. Carter.

 14    BY MR. MINDLIN:

 15    Q      Mr. Agent Decapua, if could you read for the left-hand

 16    side and I'll read on the right?

 17    A      Hi.    I speak Russian and English.         Bulgarian, not a lot.

 18    Q      Would be best to speak in English then.             Smile.

 19    A      No problem:

 20    Q      So how many IPs do you need and what's your budget for

 21    those?

 22    A      How many do you have?        This moment, we lease 200k and

 23    today got deal to lease 250k more.

 24    Q      Unfortunately, I only have around 20X/24S in stock, which

 25    will not be near enough for you.            We are acquiring new IPs

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  1    quickly, and we will have more stock next month most likely.

  2    My LIR is also expecting 3X/16.           I am mainly dealing with IP

  3    brokerage.      Currently leasing out a huge load of IPs to my

  4    clients, but we rarely get cancellations of big blocks.                  Would

  5    you be interested in something smaller as said above?

  6    A      It does not matter actually the size of blocks if the

  7    total amount is big.

  8    Q      There are around 4.5k IPs only, which we have currently

  9    in stock.

 10    A      Yes.    We start to buy blocks from 17/.           So if you'll get

 11    that amount, we can start move forward.              This moment we pay 6

 12    cents per month per one IP from/17 or/16 blocks.

 13                  MR. MINDLIN:     Mr. Carter, if you could scroll down a

 14    little bit?

 15    BY MR. MINDLIN:

 16    Q      So, Agent Decapua, if could you start at 12:30:59?                That

 17    is actually me.

 18                  Does it have to be in RIPE?         We have tons of IPs in

 19    ARIN.

 20    A      We accept any, but we must change geo, ISP, and

 21    organization.

 22                  MR. MINDLIN:     At this time, the Government moves

 23    into evidence Exhibit 315.

 24                  Mr. Carter, if you could put that up, please, for

 25    the witness and the defense?

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  1                  MR. MARGULIS-OHNUMA:       No objection.

  2                  THE COURT:    Admitted.

  3            (Government Exhibit 315 was received in evidence.)

  4                  MR. MINDLIN:     For the jury, please, Mr. Carter?

  5                  (Publishes exhibit to the jury.)

  6    BY MR. MINDLIN:

  7    Q      Agent Decapua, very generally, what is this document?

  8    A      This is a customer order form for IP -- for IPs.

  9    Q      And what's the customer name?

 10    A      The customer is Mintek Group, Limited.

 11    Q      And what's the customer description?

 12    A      It's Aleksandr Zhukov.

 13    Q      And what is the order date?

 14    A      It's March 9th, 2015.

 15    Q      And looking down to the products box, can you list what

 16    the first product is?

 17    A      So if I could just -- the question I just answered.                So I

 18    said it was March 9th, but it says 3-9.              So I'm not sure, you

 19    know, how they did the date.           It could be 9-3 or 3-9.         I just

 20    wanted to clarify that.

 21    Q      In fact, Agent, given that the order was placed on 03-09

 22    and the requested service date is 07-09, it's reasonable to

 23    imagine that the date may be September, is that right?

 24    A      Yes.

 25    Q      Looking down, can you look at the products column in the

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  1    box?    What is the first product listed there?

  2    A      It says, 261000 IPv4 addresses.

  3    Q      IPv4, do you know what that means?

  4    A      Yes.

  5    Q      What does that mean?

  6    A      It means it's version four of a IP addresses.               It's the

  7    most common type of IPs address that exists -- and is used

  8    today.

  9    Q      Thank you.

 10                  And next to that under "comment," what does it say?

 11    A      It says, .24 USD per IP.

 12    Q      Is that a dollar sign?

 13    A      Yes.

 14    Q      And can you read the farthest right column?

 15    A      It's $62,640.

 16    Q      And what's the title of this column?

 17    A      Monthly fee.

 18    Q      You said that this was a contract for -- withdrawn.

 19                  Can you -- whose invoice is this?           What company is

 20    this from?

 21    A      It's hoststore.com.

 22    Q      Have you reviewed any chats with representatives of this

 23    company, Hoststore?

 24    A      I have.

 25                  MR. MINDLIN:     The Government moves into evidence 611

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  1    and 611E.

  2                 Mr. Carter, if you could put those up, please?               Can

  3    you zoom in on the top of the document, please?

  4                 The Government moves these, 611 and 611E into

  5    evidence.

  6                 MR. MARGULIS-OHNUMA:        Hold on.     (Peruses document.)

  7                 Without objection, Your Honor.

  8                 THE COURT:     Admitted.

  9    (Government Exhibits 611 and 611 E were received in evidence.)

 10                 MR. MINDLIN:      For the jury, please, Mr. Carter?

 11                 (Publishes exhibit to the jury.)

 12    BY MR. MINDLIN:

 13    Q      Looking now at this Skype chat from the defendant's

 14    computer, can you tell us please who the participants are at

 15    the top of the document?

 16    A      So on the left you see mediamethane, the defendant, and

 17    on the right, you see dataname1, Mike IP Leasing.

 18                 MR. MINDLIN:      Okay.    Can you, Mr. Carter, can you

 19    just scroll down to the second page, please?               Scroll down

 20    further, please.       There we go.      To the last row.

 21    BY MR. MINDLIN:

 22    Q      On dataname1's side, can you please read the final

 23    comment that he sends the defendant?

 24    A      You can also send PayPal payments to -- and then there's

 25    a link to an email address, billing@Hoststore.com.                 Rates will

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  1    remain the same, but there will be a 3.9 percent processing

  2    fee.

  3    Q      I'd now like to show you another chat between the

  4    defendant and this person dataname1 from Hoststore.

  5                 MR. MINDLIN:      Could -- Mr. Carter, if you could show

  6    the defense 612E.

  7                 The Government moves into evidence 612 and 612E.

  8                 MR. MARGULIS-OHNUMA:        (Peruses document.)

  9                 No objection.

 10                 THE COURT:     All right.      There are admitted and you

 11    can publish them to the jury, then I think we'll break for the

 12    day.

 13                 MR. MINDLIN:      Can we publish to the jury, please,

 14    Mr. Carter?

 15                 Your Honor, would you like me to inquire?

 16                 THE COURT:     I mean, it's up to you.         If you have a

 17    couple of minutes of questions about this document, you can

 18    wrap up with that.

 19    BY MR. MINDLIN:

 20    Q      Yeah.    Agent, if we could read this document.             You can

 21    read the left side for the defendant.             I'll read the right

 22    hand side.

 23    A      Hi.   We need to change Whois info urgent because we

 24    getting problems about that.           All IP we lease need to be

 25    changed.

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  1    Q      What kind of change do you want to make?

  2    A      I need to change name of company cause we have problems

  3    using it.      It seems like hoster IP, but we need make it looks

  4    like home internet provider.

  5    Q      We can't use false information there.

  6    A      I can buy some company this week with the name like,

  7    quote, America Online Wireless, end quote, and give you copy

  8    of docs to make changes.          I buy company.      We sign lease

  9    contract, and you change.

 10    Q      What part are of Whois do you wish to change exact?

 11    A      All.    Net name, server-network-technology, organization,

 12    Server Network Technologies, Inc. org name --

 13                  (Court reporter seeks clarification.)

 14                  THE WITNESS:     I'm sorry.

 15    A      Organization, Server Network Technologies, Inc., org

 16    name, Server Network Technologies, Inc.              Et cetera.     Plus

 17    MaxMind and IP2 location also must be changed.

 18    Q      I did submitted requested for all ranges to maximize on

 19    the first day and they did process most of the requests.                   Not

 20    what sure what IP2 location is.           Let me see what I can do

 21    about the name.       Does the problem is with that net only or

 22    all?    104 --

 23                  (Court reporter seeks clarification.)

 24    Q      104.239.87.66 in MaxMind is Comcast Cable Communications.

 25                  THE COURT:    All right.      Let's break there for the

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  1                     UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK
  2    - - - - - - - - - - - - - X
        UNITED STATES OF AMERICA,     :   18-CR-00633(EK)
  3                                   :
                                      :
  4                                   :   United States Courthouse
              -against-               :   Brooklyn, New York
  5                                   :
                                      :
  6                                   :   May 18, 2021
                                      :   9:00 a.m.
  7     ALEKSANDR ZHUKOV,             :
                                      :
  8             Defendant.            :
       - - - - - - - - - - - - - X
  9
                 TRANSCRIPT OF CRIMINAL CAUSE FOR JURY TRIAL
10                  BEFORE THE HONORABLE ERIC R. KOMITEE
                        UNITED STATES DISTRICT JUDGE
11

12

13                             A P P E A R A N C E S:

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                                     Acting United States Attorney
15                                   Eastern District of New York
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16                                   Brooklyn, New York 11201

17                                   BY:   SARITHA KOMATIREDDY, ESQ.
                                           ARTIE McCONNELL, ESQ.
18                                         ALEXANDER MINDLIN, ESQ.
                                           Assistant United States Attorneys
19

20
      For the Defendant:            ZMO LAW PLLC
21                                  260 Madison Avenue, 17th Floor
                                    New York, New York 10016
22
                                     BY:   ZACHARY MARGULIS-OHNUMA, ESQ.
23                                         TESS COHEN, ESQ.
                                           OKSANA GLAVATSKA TUNCER, ESQ.
24

25


                               Denise Parisi, RPR, CRR
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  1   JOEL DeCAPUA,

  2                called as a witness, having been previously duly

  3                sworn/affirmed, was examined and testified as

  4                follows:

  5   DIRECT EXAMINATION

  6   BY MR. MINDLIN:

  7   Q     Good morning, Mr. DeCapua.

  8   A     Good morning.

  9   Q     Returning to some of the names on this board, have you

10    reviewed documents about the relationship between them?

11    A     I have.

12    Q     Can I ask you to turn your attention, please --

13                 MR. MINDLIN:     For the witness only, can we have

14    Government's Exhibit 674T?

15                 The Government moves that into evidence, as well as

16    Government's Exhibit 674.

17                 MR. MARGULIS-OHNUMA:             Personal knowledge objection,

18    Your Honor.

19                 THE COURT:    Overruled.

20                 MR. MINDLIN:     Can we please show this to the jury?

21                 Your Honor, is it admitted?

22                 THE COURT:    It is admitted.

23                 (Government's Exhibits 674T and 674 received in

24    evidence.)

25                 (The above-referred to exhibit was published.)


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  1   BY MR. MINDLIN:

  2   Q     I'm showing you now this document from the defendant's

  3   Apple backup.      Can you read the name on this, please?

  4               MR. MARGULIS-OHNUMA:              Objection.

  5               THE COURT:     What's the objection?

  6               MR. MARGULIS-OHNUMA:              Counsel's testimony.

  7               THE COURT:     Yes, let's --

  8               MR. MINDLIN:      Withdrawn.

  9   BY MR. MINDLIN:

10    Q     Can you read the name on this document, please?

11    A     It's Boryan.

12    Q     Can you read --

13                MR. MINDLIN:      If we can scroll down a little bit.

14    Q     Can you read the email address, please?

15    A     mathete.com@gmail.com.

16    Q     Have you reviewed other emails from this email account?

17    A     I have.

18                MR. MINDLIN:      The Government moves into evidence

19    Government Exhibit 1658 and 1658T.

20                MR. MARGULIS-OHNUMA:              Sorry, are you going to shown

21    them to us?

22                MR. MINDLIN:      In light of previous discussion, the

23    Government is moving them in at this point.

24                Does Counsel need to see them?

25                MR. MARGULIS-OHNUMA:              Just one moment, Your Honor.


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  1               (Pause.)

  2               THE COURT:     Let's take a three-minute sidebar.

  3               Ladies and gentlemen of the jury, I apologize for

  4   this.    I have one quick thing to resolve.

  5               (Sidebar.)

  6               (Continued on next page.)

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  1                (In open court.)

  2                THE COURT:    Okay.       Mr. Mindlin, you may continue.

  3                MR. MINDLIN:     Can we please have for the jury

  4   Government Exhibit 1658T.

  5   BY MR. MINDLIN:

  6   Q     Agent DeCapua, can you please tell the jury who these

  7   emails are from and to?

  8   A     So it's from ibetters2@gmail.com, the defendant, and it

  9   is to Programmer Borya mathete.com@gmail.com.

10    Q     Can you read the subject line, please?

11    A     I've been thinking for a long time.

12    Q     And can you please start reading the email at the

13    beginning?

14    A     You are my brother, my friend, and partner, and it is

15    time to level the playing field and treat each other like

16    adults.    I sincerely believe that the balance from Adkarma

17    will get to us and -- we will successfully reinvest it.

18    Starting Monday, you are not to use any WhatsApp or telegrams.

19    You are only to respond to a call from me.                  And only from the

20    phone.    No messengers.      On Sunday, you will receive prepared

21    materials for Alsotube and AdSense and we are only doing

22    AdSense.

23                 And in December, we will launch it in a brut-force

24    mode just like that to make it noticeable.                  It's the end of

25    the quarter.     We will see everything after the New Year's.                 My


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  1   proposal is about taking a risk.                  Stop dealing with Yegors and

  2   let's take a risk like we did two years ago.                    And for the

  3   balance from Adkarma, we should pour it in and buy you know

  4   what.    I came to this idea after I reread all these chats and

  5   all that beating of a dead horse.                  Zero idea or comprehension

  6   of what's going on.         We are done with it.              Yay.

  7                  For the environment's sake, please email me three

  8   pixels and no messengers whatsoever.                   Tomorrow I will send you

  9   all the access and lines of code to ad them to the site.

10    Agreed?

11                   THE COURT:    Sorry, can I just see again who this

12    message was from and who to?              Okay.

13                   You may continue.

14    Q       Did you review messages in which Dimitry Novikov asked

15    the defendant to pay him a salary?

16    A       Yes.

17                   MR. MARGULIS-OHNUMA:             Objection.     Leading.

18                   THE COURT:    Overruled.

19                   MR. MINDLIN:     I move into evidence at this time

20    Government's Exhibits 1667 and 1669?

21                   MR. MARGULIS-OHNUMA:             Objection.

22                   THE COURT:    This is the same objection?

23                   MR. MARGULIS-OHNUMA:             No.   I'm sorry, 16 --

24                   MR. MINDLIN:     1667T and E and 1669 as well as T and

25    E.


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  1               MR. MARGULIS-OHNUMA:              There's an objection, Your

  2   Honor.    I'll need a moment to review the exhibits.

  3               THE COURT:     Counsel, you've had these exhibits for

  4   an extended period of time.

  5               MR. MARGULIS-OHNUMA:              Yeah, so the objection is that

  6   they're -- with respect to 1669, it's -- it's inadmissible as

  7   hearsay.    It's outside the scope of -- based on the date, Your

  8   Honor, on the document.

  9               THE COURT:     Based on the date on the document?            This

10    is not an objection that is reflected in the motions in

11    limine, is it?

12                MR. MARGULIS-OHNUMA:              No, Your Honor.

13                THE COURT:     Okay.       So what line are you objecting to

14    or what time stamp as hearsay?

15                MR. MARGULIS-OHNUMA:              The -- the whole thing

16    precedes the allegation in the indictment by a year.

17                THE COURT:     Oh, I see.           So relevance, in other

18    words.

19                MR. MARGULIS-OHNUMA:              Relevance and hearsay.   These

20    are out-of-court statements submitted for their truth that are

21    not in the course of any -- not even allegedly in the course

22    of the conspiracy.       The conspiracy hadn't started yet.

23                THE COURT:     The pleadings of a party don't have to

24    be in furtherance of any conspiracy.

25                MR. MARGULIS-OHNUMA:              Yes.   So just on the other


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  1   side, then.

  2               MR. MINDLIN:      Your Honor, they're offered to show

  3   the employment relationship between the parties; they're not

  4   offered for their truth.

  5               THE COURT:     I'd assume this is preparation?

  6               MR. MINDLIN:      Yes, Your Honor.

  7               THE COURT:     They're admitted.

  8               (Government's Exhibits 1667T and E and 1669T and E

  9   received in evidence.)

10                MR. MINDLIN:      Can we please have for the jury

11    1669TE.

12                (The above-referred to exhibit was published.)

13    BY MR. MINDLIN:

14    Q     Agent DeCapua, can you please identify the two speakers

15    on the top of this chat?

16    A     On the left is ibetters, Aleksandr; and on the right is

17    greyfoxisnotdead listentome.

18                MR. MINDLIN:      With respect to the identifier on the

19    right, greyfoxisnotdead, the Government offers Exhibit

20    1668TE -- pardon me.       Withdrawn.

21    Q     Let's read this chat together.                I will read from the

22    right side, and I'll ask you to read the left.

23                Sasha, hi.     This is about my ill-starred salary.             To

24    hell with web money, I'm telling you.                  Let me ask the guys to

25    send me the money to the card if you are pressed for time.


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                                 DeCapua - Direct - Mindlin                      1939


  1   A     Go ahead.

  2   Q     Sasha, I talked to Misha.               He agreed to send.    So when

  3   you'll be at the office, give him money for April to May,

  4   60,000, okay?      You can add what's due for June if you feel

  5   like it, smile.

  6   A     Okay.    You performed poorly in June.                That's why it's for

  7   May only.

  8   Q     And for April?

  9   A     We paid for April already, didn't we?

10    Q     No.

11    A     Hm.   So how much do we owe you?               90?

12    Q     90 including June, that is.

13    A     I was under the impression that I paid for April and was

14    supposed to pay you 60 today accordingly.

15    Q     No, Sasha.     You only paid me once.

16    A     Strange.     I'll check everything in the computer.

17    Q     90,000 with June.       Do check.

18    A     Why did you procrastinate?

19    Q     Well, I had money, smile, and I didn't perform all that

20    bad in June, sad emoji.

21    A     But poorly in May?

22    Q     I would say I did okay in May too, smile.

23    A     Okay.    What's the bottom line?              Where to send for you?

24    What is your bank?

25    Q     VTB24.


                                  Denise   Parisi   , RPR , CRR
                                   Official Court Reporter
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                                 DeCapua - Direct - Mindlin                      1940


  1   A     Are deposits via ATM possible?

  2   Q     Yeah.

  3   A     Explain how.

  4   Q     I gave the details to Misha, or do you want to deposit

  5   yourself?

  6   A     Not quite.     Not myself.         Give it to me.

  7   Q     Number 4272 2903 3323 5398; name, Dimitry Sergeevich

  8   Novikov.     Last time you asked me if it was really me.

  9                 Did you review documents in which the various

10    individuals noted on this board discussed making computers act

11    like humans?

12    A     Yes.

13                  MR. MINDLIN:     The Government offers Exhibit 1657.

14                  MR. MARGULIS-OHNUMA:             No objection, Your Honor.

15                  THE COURT:   It's admitted.

16                  (Government's Exhibit 1657 received in evidence.)

17                  MR. MINDLIN:     Can we show that to the jury, please?

18                  (The above-referred to exhibit was published.)

19                  MR. MINDLIN:     The Government offers 1657T as well.

20                  MR. MARGULIS-OHNUMA:             No objection.

21                  MR. MINDLIN:     For the jury, please.

22                  THE COURT:   Admitted.

23                  (Government's Exhibit 1657T received in evidence.)

24                  (The above-referred to exhibit was published.)

25    BY MR. MINDLIN:


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                                 DeCapua - Direct - Mindlin                   1941


  1   Q       Mr. DeCapua, can you please remind the jury what type of

  2   document this is?

  3   A       This is an automated email sent from the system Jira, and

  4   it was sent because Aleksandr updated an issue in the system.

  5   Q       And what is Jira again?

  6   A       It's a project management and tracking software used by

  7   programers.

  8   Q       Can you read the title of this Jira item please?

  9   A       Emulate video viewing.

10    Q       And what is the particular change that the user Aleksandr

11    did?

12    A       It looks like he changed the priority from plan week to

13    high.

14                 (Continued on the following page.)

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  1   DIRECT EXAMINATION

  2   BY MR. MINDLIN: (Continuing)

  3   Q       And in computer terms, can you remind the jury what the

  4   word I am late means?

  5   A       It just means when one thing pretends to be something

  6   else.

  7                  MR. MINDLIN:   The Government offers 1632 and 1632-T.

  8                  MR. MARGULIS-OHNUMA:     No objection.

  9                  THE COURT:   Admitted.

10                   (Government Exhibits 1632 and 1632-T received in

11    evidence.)

12                   MR. MINDLIN:   Can we have 1632-T for the jury.

13                   (Exhibit published.)

14    Q       Can you please -- is this another Jira item?

15    A       Yes.

16    Q       Can you read the name of this item, please?

17    A       Implementing the scroll.

18    Q       Are you familiar with the term implementing in the

19    computer context?

20    A       Yes.

21    Q       What does implementing mean?

22    A       It means adding, changing.

23    Q       And what is -- who took the action that is described

24    here?

25    A       It was Dmitry Novikov.



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                             DeCapua - direct - Mindlin                       1943


  1   Q     And can you see what change Mr. Novikov made or did?

  2   A     He changed the assignee to this issue from himself to

  3   Boris.

  4   Q     Have you reviewed documents where the people on this

  5   board discussed the website called centbycent.com?

  6   A     Yes.

  7                MR. MINDLIN:     The Government offers 1649-T, as well

  8   as 1649.

  9                MR. MARGULIS-OHNUMA:       No objection.

10                 MR. MINDLIN:     For the jury.

11                 THE COURT:     Admitted.

12                 Wait for the admission.

13                 MR. MINDLIN:     Thank you, Your Honor.

14                 (Government Exhibits 1649-T and 1649 received in

15    evidence.)

16    Q     Is this another Jira item?

17    A     It is.

18    Q     And can you please read the title of this item?

19    A     It is filters for CBC.

20    Q     Does this item show who was speaking, who wrote this?

21    A     Can you scroll down?

22                 Can you scroll back up?

23    Q     Withdrawn.

24                 Can you read the text of the item, please?

25    A     Boris, let's discuss the entire process in more detail.



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  1   First, you make a request on, and then there is a URL

  2   centbycent.com, and then it goes on some extra stuff.

  3                You get, and then here's some computer language.             It

  4   looks like --

  5   Q     You can skip the computer language.           If you would read

  6   the text below, please.

  7   A     Further, one you remove with Metan through proxy to click

  8   URL centbycent.com/API/redirect/A/123.

  9                One, checks that came from IP of the proxy, that's

10    the right UA, REV, et cetera, were indicated.

11                 Two, redirects you to

12    sentbysent.com/API/redirect/B/123, here JS is launched that

13    checks the browser parameters and in case of success,

14    redirects to sentbysent.com/API/redirect/C/1, 2, 3.

15    Q     Let me stop you there.

16                 With respect to the word browser that you just read,

17    is there anything notable about it in this document?

18                 Is it in quotation marks?

19    A     Yeah, it's in quotation marks.

20    Q     Do you recall on Friday we briefly discussed how

21    computers communicate their time zones to each other?

22    A     Yes.

23    Q     Have you reviewed any other chats discussing time zones?

24    A     I have.

25                 MR. MINDLIN:     The Government moves into evidence



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                             DeCapua - direct - Mindlin                       1945


  1   1631 and 1631-T.

  2                MR. MARGULIS-OHNUMA:        No objection.

  3                THE COURT:     Admitted.

  4                (Government Exhibits 1631 and 1631-T received in

  5   evidence.)

  6                MR. MINDLIN:     For the jury 1631-T please.

  7                (Exhibit published.)

  8   Q     Read the subject line of this Jira item.

  9   A     Sending time zone of the IP address to Metan.

10    Q     Does it note who is commenting?

11    A     Mikhail Andreev.

12    Q     I would like to direct your attention now to Government

13    Exhibit --

14                 MR. MINDLIN:     The Government moves in Government

15    Exhibit 701-T, which is a translation of 701, the git log

16    already in evidence.

17                 MR. MARGULIS-OHNUMA:        No objection.

18                 THE COURT:     Admitted.

19                 (Government Exhibit 701-T received in evidence.)

20                 MR. MINDLIN:     For the jury, can we please see page

21    3, I believe of 701-T.

22                 Can you zoom in on the line about time zones roughly

23    where the cursor is.        Thank you.

24    Q     Can you read this comment on the programming git log on

25    the far right?



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                              DeCapua - direct - Mindlin                      1946


  1   A       To send time zone of an IP address to Metan Meth 114

  2   done.

  3   Q       And who made this comment according to this document?

  4   A       It was Mikhail Andreev.

  5   Q       Is there an e-mail address there?

  6   A       There is.

  7   Q       What is it?

  8   A       X11org@gmail.com.

  9   Q       Finally, what is date of this?

10    A       It is November 21, 2014.

11                 MR. MINDLIN:     Showing the jury again 1631-T.

12                 (Exhibit published.)

13    Q       I'm going to ask you to read the date of that document.

14    What is the date?

15    A       It is November 21, 2014.

16                 MR. MINDLIN:     Can we please show the jury Government

17    Exhibit 814A, the Google search history record.

18                 Can we show the jury 1707.

19    A       My apologies.

20                 MR. MARGULIS-OHNUMA:       It's in evidence?

21                 MR. MINDLIN:     It's in evidence.

22                 Can see zoom in on this box, please?

23    Q       Mr. DeCapua, can you please read the e-mail address

24    associated with the first search in this Google record?

25    A       It is x11org@gmail.com.



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                             DeCapua - direct - Mindlin                       1947


  1   Q     And what did x11org@gmail.com search for in Google on

  2   November 21, 2014?

  3   A     New York time zone.

  4   Q     Have you read any chats about a piece of computer code

  5   called Fuga?

  6   A     I have.

  7                MR. MINDLIN:     The Government moves into evidence

  8   Government Exhibits 621 and 621-T and 621TE.

  9                MR. MARGULIS-OHNUMA:       Just a moment, Your Honor.

10    1621 or --

11                 MR. MINDLIN:     621.

12                 MR. MARGULIS-OHNUMA:       No objection to that exhibit,

13    Your Honor.

14                 THE COURT:     Admitted.

15                 (Government Exhibits 621, 621-T, and 621TE received

16    in evidence.)

17                 MR. MINDLIN:     For the jury, please.

18                 (Exhibit published.)

19    Q     Agent DeCapua, could you please tell the jury who the two

20    names are at the top of this chat?

21    A     On the left is the defendant ibetters Aleksandr and on

22    the right is Qoqenator.

23    Q     I am going to ask you to read the chat with me.              I will

24    read the right-hand-side and I will as you to read for the

25    defendant on the left.



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                             DeCapua - direct - Mindlin                        1948


  1                 The operation is called Fuga.        Fuck GA.    Call me

  2    tomorrow.    There is an understanding of GA, and the

  3    understanding that playing flash will not give us anything,

  4    since the main thing is interacting with controls, playing,

  5    pausing, clicking on a preroll, et cetera.

  6    A     And I initially thought that playing includes a set of

  7    measures such as pause, click, et cetera.           Fuga sounds

  8    creative, you hit the spot, smile emoji, you are creative as

  9    always.

 10                 MR. MINDLIN:    The Government now moves into evidence

 11    Government Exhibits 622, 622-T, and 622TE.

 12                 I'm sorry, it's originally in English.          So it is 622

 13    and 622-E.

 14                 MR. MARGULIS-OHNUMA:      622 and 622-E?

 15                 MR. MINDLIN:    Correct.

 16                 MR. MARGULIS-OHNUMA:      No objection.

 17                 THE COURT:    Admitted.

 18                 (Government Exhibits 622 and 622-E received in

 19    evidence.)

 20                 MR. MINDLIN:    For the jury, please.

 21                 (Exhibit published.)

 22    BY MR. MINDLIN:

 23    Q     Who are the two participates in this chat, Agent DeCapua?

 24    A     On the left is defendant ibetters, Aleksandr, and on the

 25    right is Victor Ahumada, adupmedia.com.



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                             DeCapua - direct - Mindlin                       1949


  1    Q     I will start reading on the right.

  2                  Hello there, Aleksandr.

  3                  How are you?   Nice to meet you.

  4    A     Fine.    And you?

  5                  Nice to meet you too.

  6    Q     Great.    So I received your e-mail and wanted to chat with

  7    you first.

  8    A     Sure.

  9    Q     We used to work with many publishers/traffic providers

 10    but have limited to only a few, a few good ones.

 11    A     We are private guys with private solutions which cross

 12    all known filters, including IAS, GA, et cetera.            We can watch

 13    prerolls, hold any TOS and PV.

 14    Q     Can you read the next excerpt, please?

 15    A     We can do everything inside our, quote, browser changing

 16    any data.

 17    Q     How does it do within Quantcast.         Quantcast is a pixel

 18    like Google analytics?

 19    A     We fucked Google analytics so a lot that even have the

 20    name of that module.       Fuga, fuck you Google analytics.

 21    Q     Ha, ha, ha.

 22    A     We spent few seconds on site but Google shows five

 23    minutes and PV4.

 24    Q     Have you read other communications between the people on

 25    this board about security software?



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                             DeCapua - direct - Mindlin                       1950


  1    A     I have.

  2                MR. MINDLIN:     The Government moves into evidence

  3    Government Exhibits 618, 618-T and 618TE.

  4                MR. MARGULIS-OHNUMA:       One moment, Your Honor.

  5                No objection.

  6                THE COURT:     Admitted.

  7                (Government Exhibits 618, 618-T and 618TE received

  8    in evidence.)

  9                MR. MINDLIN:     For the jury, please, TE.

 10                (Exhibit published.)

 11    Q     Who are the people on this chat?

 12    A     On the left is defendant ibetters, Aleksandr, and on the

 13    right is Qoqenator.

 14    Q     Please start reading for the defendant.

 15    A     But we shouldn't be getting busted by IAS.           It only

 16    happens with some, quote, weird, end quote, filters, right?

 17    Q     I have no idea.      We haven't received the feedback on IAS.

 18    A     I'm kind of panicking, frowning face.          Say, we passed the

 19    filters.    But they added new ones.       Then we'll get busted.

 20    One we need to have a database of all filters and URL and

 21    monitor their changes.

 22                Two, you said that JS has a very limited set of

 23    commands that can be requested from the browser.            Does it mean

 24    that if we code all these commands and Methan we will not be

 25    afraid of any filters?



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                             DeCapua - direct - Mindlin                       1951


  1    Q     Before we go on, do you know what JS is?

  2    A     I do.

  3    Q     What is it?

  4    A     It's a programming language called JavaScript.

  5    Q     And is there a particular context that it is usually used

  6    in?

  7    A     So it provides interactivity for websites.

  8    Q     I will read the next line from Qoqenator.

  9                  JS is only half the trouble at best.        There is a

 10    large number of parameters clearly indicating that this is not

 11    traffic.

 12                  MR. MINDLIN:   The Government moves into evidence

 13    Exhibit 610-T, as well as 610.

 14                  MR. MARGULIS-OHNUMA:     No objection.

 15                  MR. MINDLIN:   For the jury, please.

 16                  THE COURT:   Mr. Mindlin, wait for the exhibits to be

 17    admitted.

 18                  It is admitted.

 19                  MR. MINDLIN:   I'm sorry, Your Honor.

 20                  THE COURT:   It's okay.

 21                  (Government Exhibits 610-T and 610 received in

 22    evidence.)

 23    BY MR. MINDLIN:

 24    Q     Agent DeCapua, can you please direct your attention to

 25    the bottom of this document for a moment, please?



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                             DeCapua - direct - Mindlin                       1952


  1                Can you remind the jury of what this path indicates?

  2    A     So this path indicates that this is record received from

  3    Apple and that it is in particular the notes that are

  4    associated with the account ibetters at iCloud.com.

  5    Q     Going back to the top of the document, can you read the

  6    date at the top, please.

  7    A     8/4/2015.

  8    Q     Can you now please read the document?

  9    A     Roadmap.    Preroll launch start monitoring MySpace.           Start

 10    monitoring Primus.      Start monitoring Verta, start monitoring

 11    DV forensiq filters for the possibility of fucking them over

 12    like with Google or IAS scheme.

 13                Tool preparation for SEO, Adsense.

 14    Q     Do you know what SEO means?

 15    A     It means -- yes, I do.

 16    Q     What does it?

 17    A     It means search optimization.

 18    Q     And what does that mean?

 19    A     When you own a website, you want people to find it when

 20    they search for certain things.         And so it's adding things to

 21    your website, changing content and doing other things in order

 22    to raise the -- whether it shows up on the first page of an

 23    engine result or the second page of the search engine results

 24    or the third page of the search engine results.

 25                MR. MINDLIN:     The Government moves in Exhibit 1659



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                             DeCapua - direct - Mindlin                       1953


  1    and 1659-T.

  2                 MR. MARGULIS-OHNUMA:      No objection.

  3                 THE COURT:    Admitted.

  4                 (Government Exhibits 1659 and 1659-T received in

  5    evidence.)

  6                 MR. MINDLIN:    For the jury please.

  7    Q     Who is this e-mail from?

  8    A     It is from Alexander, ibetters2@gmail.com.

  9    Q     And who is it to?

 10    A     It is to Programmer Boris, mathete.com@gmail.com.

 11    Q     Can you please read the subject line?

 12    A     Forensiq.

 13    Q     Can you now read the text of the document, please?

 14    A     Suggest turning off the block on the forensiq and see how

 15    the fill changes.

 16                 MR. MINDLIN:    The Government moves into evidence

 17    1685, 1685-T, and 1685TE.

 18                 MR. MARGULIS-OHNUMA:      No objection.

 19                 THE COURT:    Admitted.

 20                 (Government's Exhibits 1685, 1685-T, and 1685TE

 21    received in evidence.)

 22    Q     Agent DeCapua --

 23                 MR. MINDLIN:    Can we have for the jury please TE,

 24    1685TE?

 25                 (Exhibit published.)



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                             DeCapua - direct - Mindlin                       1954


  1                 MR. MINDLIN:    Can we zoom in on the top, please?

  2    BY MR. MINDLIN:

  3    Q     What are the two names on the top this document?

  4    A     On the left hand is alex@jabber.tipsters.com Aleks Z, and

  5    on the right it's adw0rd@jabber.tipsters.com.

  6    Q     If we can start on page 2 of the document, please.

  7                 Let's go to 6:24:46.      If you can please start

  8    reading on the left for the defendant.

  9    A     And do we have only one account on GoDaddy.

 10    Q     I just told you about two that I knew about, do we have

 11    one DO now, a@vbbb.com?

 12    A     Yes.

 13                 49433809.     I am choosing password for it.

 14    ROMADAVCLS.    I don't even know where to go for login and what

 15    e-mail address is selected there.

 16                 MR. MINDLIN:    If we can please keep up this document

 17    and also show the jury Government Exhibit 403 from

 18    GoDaddy.com.

 19    Q     Can you please read for the jury, Agent DeCapua, the

 20    shopper ID at the top of this document?

 21    A     49433809.

 22    Q     How does that compare to the number that you just read?

 23    A     It's the same number.

 24    Q     What is the website name?

 25    A     Centbycent.com.



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                             DeCapua - direct - Mindlin                       1955


  1    Q     Now, with respect to the ROMADAVCLS, the name that you

  2    just read.

  3                  MR. MINDLIN:   If we can please take down 403 and put

  4    up 410 in evidence from digital ocean.          Can we go to page 2 of

  5    this document, please.       And if we can zoom in a little bit.

  6    Q     Do you see on the right side where it says name?

  7    A     I do.

  8    Q     What is the name that you see there?

  9    A     It is ROMADAVCLS.

 10    Q     Do you see on the far left column where it says e-mail?

 11    A     Yes.

 12    Q     What is the e-mail listed there?

 13    A     It is a@vbbb.com.

 14                  MR. MINDLIN:   Let's have 1685TE on the full screen.

 15    We can take down the right-hand side.          Let's go down to page

 16    3.

 17    Q     Do you know what country NL is an abbreviation for?

 18    A     Yes.

 19    Q     What country?

 20    A     The Netherlands.

 21    Q     I will start reading at the top of this page for Adword.

 22                  Is it better to place an affiliate program in NL or

 23    US, also have UK.

 24                  You can skip the next two lines, which are -- if you

 25    would read them, please?



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                               DeCapua - direct - Mindlin                     1956


  1    A     Y5RDE4HGS364, 49433809.

  2    Q     You sent by sentbysent.com?

  3    A     Yes.    Ideal.

  4    Q     UK US NL, do not care?          Sasha?

  5    A     What does it mean?       Didn't not understand.

  6    Q     Region where the server will be located.

  7    A     Sent NL and there is a winking emoji.

  8    Q     To have fewer problems with the law.          Okay.

  9                 And you don't have to continue.

 10                 MR. MINDLIN:     The Government moves into evidence

 11    Exhibit 625, 625T and 625TE.

 12                 MR. MARGULIS-OHNUMA:        We have an objection on that

 13    one, Your Honor.

 14                 THE COURT:      What's the objection?

 15                 MR. MARGULIS-OHNUMA:        I mean, 401, 403, I think we

 16    need to deal with at sidebar.

 17                 MR. MINDLIN:     Your Honor, it's proffered -- the

 18    Government's arguments are proffered in our letter to the

 19    Court.

 20                 MR. MARGULIS-OHNUMA:        It is highly prejudicial

 21    material in there, Your Honor.

 22                 THE COURT:      Let me just look to make sure that I

 23    understand.

 24                 I'm sorry.      Tell me -- show me the number of this

 25    exhibit again.



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                             DeCapua - direct - Mindlin                       1957


  1                MR. MINDLIN:     625TE.

  2                THE COURT:     Okay.     And can we bring a copy of the

  3    exhibit to sidebar.

  4                (Sidebar.)

  5                (Continued on next page.)

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                               DeCapua - direct - Mindlin                     1961


  1                    THE COURT:   The objection is overruled.      The exhibit

  2    is admitted.

  3                    (Government's Exhibits 625, 625T and 625TE received

  4    in evidence.)

  5                    THE COURT:   Mr. Mindlin, you may proceed.

  6                    MR. MINDLIN:   For the jury, can we have 625TE

  7    please.

  8    BY MR. MINDLIN:

  9    Q       Agent DeCapua, who are the participants in this chat?

 10    A       On the left is the defendant ibetters Aleksandr and on

 11    the right is Qoqenator.

 12                    MR. MINDLIN:     And with respect to this individual

 13    Qoqenator, if we can briefly show the jury Government Exhibit

 14    809C.

 15    Q       Can you read the name on this Skype record, please?

 16    A       The sign-in name is Timokhin.Boris.

 17    Q       If we go to the second page, can you read the associated

 18    e-mail address, please?

 19    A       It is qoqenator@gmail.com.

 20    Q       Returning to the exhibit that was just under discussion,

 21    625TE --

 22                    MR. MINDLIN:   Can we blow that up a little.

 23    Q       -- the parties in the first line, do you know what

 24    Telegram is?

 25    A       I do.



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                             DeCapua - direct - Mindlin                       1962


  1    Q     What is Telegram?

  2    A     It's a secure messaging app that you can use to

  3    communicate with people.

  4    Q     And by secure, what do you mean?

  5    A     It uses end-to-end encryption, meaning that the message

  6    that you sent is encrypted until it reaches the party who

  7    received it.

  8    Q     Do you know what the FSB is?

  9    A     I do.

 10    Q     What is the FSB?

 11                  MR. MARGULIS-OHNUMA:     Objection.

 12                  THE COURT:    All right.

 13    Q     Very briefly, what is the FSB?

 14    A     It is domestic intelligence agency of the Russian

 15    Federation.

 16    Q     Let's read the chat together.        I'm going to ask you read

 17    for the defendant on the left and I will read for Boris

 18    Timokhin on the right.

 19    A     By the way, there is Durov Telegram out there.            Is there

 20    a release for UNIC yet?

 21    Q     The ones that sends everything to FSB via Durov?

 22    A     Better to FSB, bro.

 23    Q     Smile.

 24    A     And then there is a link to Telegram.org.

 25                  Oh, got it.   Go ahead and install and we'll be



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                               DeCapua - direct - Mindlin                     1963


  1    chatting there.     Rumor has it that it's safe.

  2    Q     Yeah.    Right.    How about giving us a medal for the

  3    disruption of the competitor's economic power?

  4    A     Safer than this shit for sure.

  5                  And then there is a pasted chat into the chat box

  6    that is sent.     And it says, it is what Qoqenator had just said

  7    and the defendant replies spot on.

  8    Q     Have you reviewed documents related to profit sharing

  9    between the people on this board?

 10    A     I have.

 11                  MR. MINDLIN:    The Government moves into evidence

 12    1680, 1680-T, and 1680TE.

 13                  MR. MARGULIS-OHNUMA:      One moment, Your Honor.

 14                  No objection.

 15                  THE COURT:   It is admitted.

 16                  (Government's Exhibits 1680, 1680-T, and 1680TE

 17    received in evidence.)

 18                  MR. MINDLIN:    For the jury, please, now, 1680TE.         If

 19    we can have page 3, please.          Can you turn to the final row?

 20                  And I'm sorry, just scrolling a little bit down.

 21    Q     Agent DeCapua, can you tell who the participants are in

 22    this chat?

 23    A     On the left it is defendant ibetters, Aleksandr, on the

 24    right it is Qoqenator, Boris Timokhin.

 25    Q     Please start reading on the final row on page 3.



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                             DeCapua - direct - Mindlin                       1964


  1    A     Well, it's a total crap with Misha.          I don't understand a

  2    thing.   Either his wife does indeed keep him from working or

  3    he is apathetic to coding.        Won't reply to SMSs, doesn't

  4    message, doesn't call.

  5    Q     Do you have any kind of agreement?          Maybe he is not

  6    interested at all?

  7    A     And then this appears to be pasted chat conversation.

  8    Aleksandr, update failed.

  9                 Mikhail Andreev, well, they'll be fixing it then,

 10    maybe overnight, maybe tomorrow morning.

 11                 I believe he has his share of profit, IMHO.           This is

 12    the strongest motivation, especially now.           We have IP servers

 13    Methane, video is almost ready.         It's TDS only that we've been

 14    missing for two weeks.

 15                 Yes, I had a voice conversation with him yesterday.

 16                 Maybe it will be just the two of us left?          Like in

 17    the beginning?

 18                 I'm in Bulgaria.     Boryan is in St. Petersburg/down

 19    in the country.     But this time we have everything ready and

 20    available.    You are just backing up the technical side, plus

 21    adding the feeds and I control Methane.

 22                 It's like back to school.

 23    Q     Have you reviewed documents discussing the particular

 24    percentages of money that the people -- I'm sorry.             Withdrawn.

 25                 Do you know what a TDS is?



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                             DeCapua - direct - Mindlin                       1965


  1                MR. MARGULIS-OHNUMA:       I'm sorry, I didn't hear that.

  2    What's the word?

  3                MR. MINDLIN:     TDS.

  4                MR. MARGULIS-OHNUMA:       Thank you.

  5    A     Sitting here today, I don't know what it is.

  6    Q     Have you reviewed documents that discuss the particular

  7    percentages of money that the people on this board shared?

  8    A     I have.

  9                MR. MINDLIN:     The Government moves into evidence

 10    1681 and 1682, along with the respective versions ending in T

 11    and TE of those two exhibits.

 12                MR. MARGULIS-OHNUMA:       Let's take it one at a time,

 13    Your Honor.

 14                MR. MINDLIN:     1681 first.

 15                MR. MARGULIS-OHNUMA:       One moment, please.

 16                No objection to 1681, Your Honor.

 17                THE COURT:     Admitted.

 18                (Government's Exhibits 1681, 1681T, and 1681TE

 19    received in evidence.)

 20                MR. MINDLIN:     Can we please show the jury 1681-T.

 21                (Exhibit published.)

 22    Q     Who are the participants in this chat?

 23    A     On the left is ibetters, Aleksandr, the defendant.             And

 24    on the right is Qoqenator, Boris Timokhin.

 25    Q     Can you please read the left side for the defendant?



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                             DeCapua - direct - Mindlin                       1966


  1    A     And I'm selling my apartment in St. Petersburg and move

  2    to live in Bulgaria.       Right.    And I will be working remotely

  3    until we launch clicker and everything else.

  4                By the way, negotiations in Spain are more or less

  5    in progress.     The company that got interested in us, bill euro

  6    a year already.

  7                I put Federov out of suspense but I think we need to

  8    hire him for clicker.       The routine wore him out more than

  9    anything else.     You, 15 percent.      Misha, 5.       Federov 5.   Me,

 10    75.

 11                But I use the majority of my share for further

 12    advancement to enable us to do interesting stuff while we are

 13    young.

 14                (Continued on next page.)

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                               DeCapua - direct - Mindlin                     1967


  1    (Continuing.)

  2                  MR. MINDLIN:    The Government will not move in 162 at

  3    this time.

  4    DIRECT EXAMINATION CONTINUING

  5    BY MR. MINDLIN:

  6    Q     I'd like to turn your attention at this point to the name

  7    Roman Davydov.

  8                  MR. MINDLIN:    Can we have for the jury, please, 406

  9    already in evidence from Domains By Proxy?

 10                  (Exhibit published.)

 11    BY MR. MINDLIN:

 12    Q     Do you see a first and last name on this record?

 13    A     I do.

 14    Q     What are they?

 15    A     The first name is Aleksandr, and the last name is Zhukov.

 16    Q     What is the shopper ID?

 17    A     The shopper ID 109524579.

 18                  MR. MINDLIN:    Now, if we could put up along that 408

 19    please, also by Domains By Proxy, also in evidence.

 20                  (Exhibit published.)

 21    Q     How does the shopper ID on Exhibit 408 compare to the

 22    shopper ID on Exhibit 406?

 23    A     They are the same number.

 24    Q     What is the particular website referred to in this

 25    document?



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                              DeCapua - direct - Mindlin                      1968


  1    A     CentbyCent.com.

  2    Q     Looking down the page, is the name the same as the one

  3    that you read out for 406?

  4    A     No, it's not.

  5    Q     What's the name here?

  6    A     It's Roman Davydov.

  7    Q     Can you please read out the company name associated with

  8    Roman Davydov here?

  9    A     It's Gloutech Technologies Limited.

 10    Q     What's the e-mail address?

 11    A     Info@betaggregator.com.

 12    Q     And what country is listed as the contact country?

 13    A     Cypress.

 14                MR. MINDLIN:     The Government moves into evidence

 15    1606, 1606T, and 1606TE.

 16                MR. MARGULIS-OHNUMA:       One moment, Your Honor.

 17                (Pause.)

 18                MR. MARGULIS-OHNUMA:       There's an objection.       I need

 19    a moment to figure out the basis, Your Honor.

 20                (Pause.)

 21                THE COURT:    Is this the whole thing you're looking

 22    at?

 23                MR. MINDLIN:     This is the entirety of the exhibit,

 24    Your Honor.

 25                MR. MARGULIS-OHNUMA:       Sorry, he just moved in two



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                              DeCapua - direct - Mindlin                      1969


  1    Exhibits, 16 --

  2                 MR. MINDLIN:    My intention was to move in only 1606,

  3    along with a T and the TE versions of that document.

  4                 MR. MARGULIS-OHNUMA:      Okay.   So let's take them one

  5    at a time.

  6                 No objection.    I'll withdraw that, Your Honor.

  7                 THE COURT:   Admitted.

  8                 (Government's Exhibits 1606, 1606T and 1606TE were

  9    received in evidence.)

 10                 MR. MINDLIN:    For the jury, please.

 11                 (Exhibit published.)

 12    BY MR. MINDLIN:

 13    Q     Who are the two people in the chat?

 14    A     On the left is the defendant, i-betters; and on the right

 15    is tatiab777, Tatiana Lexapro Holdings.

 16    Q     I will read the right-hand side for Tatiana.

 17                 Did we create a company for you?        I apologize, but

 18    now there is no one to verify, but I really want to understand

 19    who I am dealing with.

 20    A     Gloutech Technologies.

 21    Q     Are you the beneficiary there?

 22    A     Davydov, Roman.

 23                 MR. MINDLIN:    The Government now moves into evidence

 24    1686 and 1686T.

 25                 MR. MARGULIS-OHNUMA:      One moment, please.



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                               DeCapua - direct - Mindlin                     1970


  1                 (Pause.)

  2                 MR. MARGULIS-OHNUMA:      Are you moving in the T also?

  3                 MR. MINDLIN:    Yes, we're moving them all in.

  4                 The Government -- the Government would offer to move

  5    in -- withdrawn.

  6                 MR. MARGULIS-OHNUMA:      Your Honor, I'd like them to

  7    take one at time.

  8                 As to 1686T, we object.      It's 17 pages.

  9                 THE COURT:    The basis of the objection is that it's

 10    17 pages?

 11                 MR. MARGULIS-OHNUMA:      That it's -- much of it is --

 12    most of it is irrelevant.         It's outside the timeframe.

 13                 MR. MINDLIN:    Your Honor, we were trying to offer

 14    the entire context for completeness.

 15                 THE COURT:    The objection is overruled.

 16                 (Government's Exhibit 1686 was received in

 17    evidence.)

 18                 MR. MINDLIN:    Will you please show the jury 1686T?

 19    In fact, for the jury, let's show them 1686TE.

 20                 (Exhibit published.)

 21    BY MR. MINDLIN:

 22    Q       Who is the participant on the left-hand side of this

 23    chat?

 24    A       It's Alex - --

 25                 THE COURT:    Sorry, I don't know that we -- I thought



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                               DeCapua - direct - Mindlin                     1971


  1    we were waiting to hear whether there was an objection to the

  2    other exhibits you had also offered, including TE.

  3                 MR. MARGULIS-OHNUMA:      With respect to the underlying

  4    1686, it's in Russian.       So, if you admitted T, then --

  5                 THE COURT:    Then you have no objection to TE, right?

  6                 MR. MARGULIS-OHNUMA:      Sorry, I was working

  7    backwards.

  8                 Assuming T comes in, I have no objection to the

  9    GX-1686.

 10                 And with respect to TE, just give me one moment.

 11                 (Pause.)

 12                 MR. MARGULIS-OHNUMA:      I have no objection to TE at

 13    all, Your Honor.

 14                 THE COURT:    Okay, the exhibits that have been

 15    offered are then admitted.

 16                 (Government's Exhibits 1686T and 1686TE were

 17    received in evidence.)

 18                 MR. MINDLIN:    If we could please show the jury the T

 19    version, 1686T.

 20                 (Exhibit published.)

 21                 MR. MINDLIN:    And could we have page 5 of this

 22    document?

 23                 (Exhibit published.)

 24                 MR. MINDLIN:    And if you could zoom in on the bottom

 25    third or so on this page.         A little bit up actually, one or



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                              DeCapua - direct - Mindlin                      1972


  1    two rows up.     Thank you.      Okay.

  2    BY MR. MINDLIN:

  3    Q     Can you tell the jury, please, who the two participants

  4    are in this chat?

  5    A     So, it's Alex@jabber.tipters.com, the defendant; and it

  6    is l@bitip.org.

  7    Q     Looking at the first highlighted row there.

  8                MR. MINDLIN:      If we could zoom in, please, on the

  9    far right cell.

 10    Q     What does Alex@jabber.tipsters.com write to l@bitip.org,

 11    in the second row that's visible here?

 12    A     We received an invoice for the extension of Gloutech

 13    Technologies, this is a Cypriot company registered to a fake

 14    director, who is my acquaintance, not a drinker and alive...

 15    all wallets will be issued to it.          Need to pay for 1wbeee in

 16    order to receive an apostille, notarize and complete the

 17    registration in Mayzus...        e-mailing you.

 18                MR. MINDLIN:      The Government moves into evidence

 19    1601, 1601T and 1601 TE.

 20                MR. MARGULIS-OHNUMA:         One moment.

 21                That's 1601TE on screen?

 22                MR. MINDLIN:      Yes.

 23                (Pause.)

 24                MR. MARGULIS-OHNUMA:         There is an objection to this

 25    one, Your Honor.



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                              DeCapua - direct - Mindlin                      1973


  1                 THE COURT:    You said there is an objection?

  2                 MR. MARGULIS-OHNUMA:      Yes, objection.      We object to

  3    this.

  4                 THE COURT:    What is the objection?

  5                 MR. MARGULIS-OHNUMA:      404(b), Your Honor, there's no

  6    notice.

  7                 MR. MINDLIN:    The Government's basis for

  8    introduction are discussed in its letter.

  9                 THE COURT:    Okay.

 10                 And is this an objection that was discussed in the

 11    motions in limine, or no?

 12                 MR. MARGULIS-OHNUMA:      No, Your Honor.

 13                 THE COURT:    Just if you want to point me, is there a

 14    particular line that has anything that raised the 404(b)

 15    issue?

 16                 MR. MARGULIS-OHNUMA:      I think I'd have to come to

 17    sidebar to do that.       I mean I'll note the date and just, you

 18    know, the general thrust of the document.

 19                 THE COURT:    The objection is overruled.

 20                 (Government's Exhibits 1601, 1601T and 1601TE were

 21    received in evidence.)

 22                 MR. MINDLIN:    For the jury, please.

 23                 (Exhibit published.)

 24    BY MR. MINDLIN:

 25    Q       Mr. DeCapua, who are the participants in this chat?



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                              DeCapua - direct - Mindlin                      1974


  1    A     On the left is the defendant, ibetters; and on the right

  2    is someone with the user name Komekodmitry.

  3    Q     Can you please read for the defendant starting about six

  4    lines down at 2:56:37?

  5    A     Open the first file.        It's a copy.

  6    Q     Well?

  7    A     Clause 6, declaration.        Davydov's signature from his

  8    passport needs to go there.        And in the second document you

  9    need to put his signature at the very bottom in the right

 10    column in the line by... under Gloutech and the seal in the

 11    same place.    This is our office and our Davydov.          I just don't

 12    have a seal.

 13    Q     I understand, but it's a bit strange.

 14    A     Well, this is my office and my pocket director.            The

 15    document is for connecting the payment system to our website.

 16    So no worries...       I won't ask you to commit any crimes.

 17    Q     It's just that I can't imagine the format, itself, like

 18    how it'll all look.      Look at the PDF there.       Should I put his

 19    signature in the brackets?        And what about the seal?       Damn.    I

 20    can only think of printing it and signing it in person.

 21    Affixing the seal myself.

 22    A     We need to transfer the signature to Photoshop.            We'll be

 23    using it more than once.         Can't you apply the image on top?

 24    Q     Well, how do you imagine that?         It's a seal that we need

 25    to put there.     Scan it.    It will be obvious that the seal was



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                               DeCapua - direct - Mindlin                     1975


  1    added in Photoshop.

  2    A     Then don't do the seal.         Just the signature for now.

  3    Q     Stopping you for a moment, Mr. DeCapua.

  4                  Do you know what Photoshop is?

  5    A     I do.

  6    Q     Can you explain to the members of the jury what Photoshop

  7    is?

  8    A     Photoshop is a popular software platform that allows you

  9    to edit images, you know, change contrasts, splice things and,

 10    basically, do anything you could possibly want to do with

 11    images.

 12    Q     I will continue.

 13                  Signature:   Are you in contact with him?        With

 14    Davydov?

 15    A     He's in St. Petersburg.         I'm in Moscow.    You're in Kazan.

 16    Q     Look, there's an app on the iPad called Adobe Reader.

 17    There you can put a signature right on top of the PDF and send

 18    or print, no Photoshop or other nonsense.

 19    A     What fucking iPad.      Davydov has a Nokia 3110.

 20    Q     He should have rather signed on yours instead of taking a

 21    picture of the passport.          At least take the picture on a blank

 22    piece of paper.     Here you can't even draw it properly.

 23    A     Okay... forget it.

 24    Q     And have you reviewed other chats about the name Roman

 25    Davydov?



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                               DeCapua - direct - Mindlin                     1976


  1    A       I have.

  2                 MR. MINDLIN:    The Government moves in at this time

  3    697, 1604 and 1605, as well as the respective T and TE

  4    versions.

  5                 MR. MARGULIS-OHNUMA:      Sorry, I can only object and

  6    find my notes one at a time.

  7                 So let's start with 697, is that being moved?

  8                 MR. MINDLIN:    697.

  9                 MR. MARGULIS-OHNUMA:      Just a moment because I think

 10    there is an objection.       Just a moment.       Let me look at the

 11    page.

 12                 (Pause.)

 13                 MR. MINDLIN:    The Government at this time if --

 14    withdrawn.

 15                 MR. MARGULIS-OHNUMA:      Yes, so we object to 697,

 16    697T.    697 is in Russian, 697T is an English translation.            The

 17    grounds for the objections are relevance and cumulativeness.

 18                 THE COURT:    Overruled.

 19                 (Government's Exhibit 697 was received in evidence.)

 20                 MR. MARGULIS-OHNUMA:      Let me have a look at --

 21                 MR. MINDLIN:    I will not move in the other two at

 22    this time, and if we could show the jury Exhibit 697TE.

 23                 MR. MARGULIS-OHNUMA:      Hang on, I didn't respond to

 24    that.    I don't think that's been moved in, TE.

 25                 (Pause.)



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                              DeCapua - direct - Mindlin                      1977


  1                 MR. MARGULIS-OHNUMA:      Yes, same objection, relevance

  2    and cumulativeness, Your Honor.

  3                 THE COURT:   Overruled.      It's admitted or they're

  4    admitted.

  5                 (Government's Exhibits 697T and 697TE were received

  6    in evidence.)

  7    BY MR. MINDLIN:

  8    Q     Agent DeCapua, what are the names on this document?

  9    A     On the left is A@1wbe.com, Alex Z; and on the right it is

 10    Olga@jabber.tipsters.com.

 11    Q     Could you please read the second one on Olga's side?

 12    A     Sasha, here is the information we have on WHOIS Roman

 13    Davydov.    RUA Innovations Limited, Waterfront Drive,

 14    P.O. Box 3469, Tortola, Virgin Islands.           Then it goes on with

 15    a telephone number and an e-mail address, info@vbbb.com.

 16                 MR. MINDLIN:    If we could scroll down a little bit

 17    please.    Next page, please.      Okay, left side.

 18    BY MR. MINDLIN:

 19    Q     Can you start -- I will -- I will read Olga's side

 20    starting at the top.

 21                 Can you please read for the defendant?

 22                 That's why maybe we should state Russian office

 23    number.

 24    A     I have the same shit with my number, by the way, also not

 25    available.    My English number.



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                               DeCapua - direct - Mindlin                     1978


  1    Q     Hmm, so you can call from Skype, but not the regular

  2    phone and you have a riot?

  3    A     Calling.    Ringing?

  4    Q     Yeah.

  5    A     Delete ZERO 442081447499 and turn on redirect to your

  6    mobile.    Let them call straight on your phone when they want

  7    to call.

  8    Q     In addition to the individuals listed on this board, did

  9    you read communications in which the defendant received

 10    feedback from others about his computer software and how to

 11    improve it?

 12    A     I did.

 13                  MR. MINDLIN:    The Government moves into evidence

 14    1614, 1614T and 1614 TE.

 15                  MR. MARGULIS-OHNUMA:     No objection.

 16                  THE COURT:   They are admitted.

 17                  (Government's Exhibits 1614, 1614T and 1614TE were

 18    received in evidence.)

 19                  MR. MINDLIN:    For the jury, please.

 20                  (Exhibit published.)

 21    BY MR. MINDLIN:

 22    Q     Who were the participants in this chat?

 23    A     On the left is Alex@jabber.tipsters.com, Alex Z, the

 24    defendant; and on the right is Z@jabb9.org Terix.

 25    Q     Can you plead read for defendant on the left-hand side?



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                              DeCapua - direct - Mindlin                       1979


  1    A     Anyway, we'll make a deal on favorable terms.             For the

  2    sake of clarity -- we wrote our own browser.            Not

  3    Chromium-Based... but from scratch; it is built to work with

  4    GA algorithms and other metrics.          We are passing GA already,

  5    and now we are testing it on Yandex Webvisor...             You can set

  6    TOS, all you want...      with Flash, MouseMove and other crap.

  7    One running copy of our browser takes 30 to 50 times less

  8    space than Chrome in the operating system...            and this is not

  9    the exact figure yet...       actually we are planning to finish

 10    testing this particular indicator sometime this week.              In

 11    other words, we'll take a low capacity server for 300 bucks

 12    and upload your 100k IPs there...         that's all.       Wink emoji.

 13    Don't need additional hardware, wink emoji.           Only IPs...       IP

 14    should produce 6 dollars a month; we calculated.

 15    Q     Ha, so this is how we cheat all metrics, right?             But in

 16    reality it is not sitting there?

 17    A     It does.    And clicks...     all seamless.      And then there is

 18    a smile emoji.

 19    Q     Well, super.     I just think that someone will be able to

 20    figure it out, and then everything will fall through

 21    immediately.

 22    A     There were only two options.         To hire a specialist and

 23    rebuild Chrome... or to write our own.            We wrote our own.

 24                MR. MINDLIN:     The Government moves into evidence

 25    619, 619T and 619TE.



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                              DeCapua - direct - Mindlin                      1980


  1                MR. MARGULIS-OHNUMA:       No objection.

  2                MR. MINDLIN:     Zoom in on --

  3                THE COURT:    Admitted.

  4                MR. MINDLIN:     I'm sorry, Your Honor.

  5                THE COURT:    They're admitted.

  6                MR. MINDLIN:     For the jury, please.

  7                (Government's Exhibits 619, 619T, and 619TE were

  8    received in evidence.)

  9                (Exhibit published.)

 10    BY MR. MINDLIN:

 11    Q     Zooming in on the top, can you please tell the jury who

 12    are the participants in this chat.

 13    A     On the left is Alex@jabber.tipsters.com, Alex Z, the

 14    defendant; and on the right is support@Clickandia.net.

 15    Q     I will read for support@Clickandia.net on the right-hand

 16    side, and I will ask you to read for the defendant.

 17                I -- try to upload from clean IPs that have not been

 18    clicked before.

 19    A     Yeah, we are working on the issue.

 20    Q     But damn, problem in the traffic came up.             Mouse

 21    coordinate is NULL.      In short, the mouse is not moving.          No

 22    Flash.   What did you change in the traffic again?

 23    A     No Flash occurs with player only, but we don't play

 24    video...    otherwise, Flash is there.        Which filter is this

 25    coming from?     Your own?



                        SAM       OCR      RMR     CRR       RPR
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                              DeCapua - direct - Mindlin                      1981


  1    Q     Agent, I'll stop you there.

  2                MR. MINDLIN:     If we could turn to page 3 now.

  3                (Exhibit published.)

  4    BY MR. MINDLIN:

  5    Q     Where it says November 13th, 2014, I will start reading

  6    for support@Clickandia.net.

  7                There is a problem with the mouse.

  8    A     Show me.    In the same checker?

  9    Q     Everything is OK with js in our checker whereas mouse

 10    movies there in 50 percent of the cases only.            Followed by an

 11    Internet address.

 12                But in the advertiser's checker there is no mouse in

 13    10435 clicks out of 18,000.

 14    A     What time interval is it?

 15    Q     For yesterday.     Well, for 12.     Suspicious 21.58 percent.

 16    This is IAS.

 17    A     I didn't get it.      21.58 of our traffic passes IAS?

 18    Q     No, this is the percentage of busted traffic.            Must be no

 19    more than 5 percent.

 20                Finally, can you please turn to page 5?

 21                (Exhibit published.)

 22    BY MR. MINDLIN:

 23    Q     Can you please read on the defendant's side starting

 24    where it says November 14th, 2015?

 25    A     What's up?    Any news?     When can we expect any new



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                              DeCapua - direct - Mindlin                      1982


  1    additions?    Right, you have 21.58 percent suspicious, BTW,

  2    there is a distinct possibility that this is because we keep

  3    streaming from the same IPs.        If they could guess that we have

  4    bots...   it would have been 100 percent.

  5

  6                 (Continued on the following page.)

  7

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                            DeCapua - Direct/Mr. Mindlin                     1983


  1    EXAMINATION BY

  2    MR. MINDLIN:

  3    (Continuing.)

  4    Q     Have you read any other exchanges?

  5                THE COURT:     Let's pause for a break here.         We'll

  6    reconvene with the jury at ten after 11:00.

  7                (Jury exits courtroom at 10:59 a.m.)

  8                THE COURT:     Anything to put on the record here?

  9                MR. MARGULIS-OHNUMA:       Yes, Your Honor.      I just

 10    want to flesh out my objection to Government Exhibit 1601 in

 11    a little bit more detail.

 12                THE COURT:     Can we see 1601 on the screen for

 13    this?

 14                MR. MARGULIS-OHNUMA:       So those are -- I'm sorry, I

 15    think it's easier to follow 1601TE probably.

 16                MR. MARGULIS-OHNUMA:       This part should be done

 17    outside the presence of witness.

 18                THE COURT:     You can step down and wait outside,

 19    thank you.

 20                (Witness takes the witness stand.)

 21                MR. MARGULIS-OHNUMA:       So this on its face appears

 22    to be a chat about forging some documents.            A year and a

 23    half before the allegations in the conspiracy.             A year and a

 24    half before the conspiracy is alleged to have begun.

 25                So the indictment charges the conspiracy starting,


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                            DeCapua - Direct/Mr. Mindlin                    1984


  1    I think, either September of 2014; this is from March 2013.

  2    It seems to me clearly §404(b), it's a prior bad act.               It

  3    may be admissible as a prior bad act but they have to give

  4    notice under §404(b) to avoid the situation we're in now so

  5    they could have addressed it.

  6                THE COURT:     What's the prior bad act?

  7                MR. MARGULIS-OHNUMA:       Sounds like they're forging

  8    some documents using Roman Davydoff's name.

  9                THE COURT:     Does the Government want to address

 10    this?

 11                MR. MINDLIN:     The Government is not seeking to

 12    prove a prior bad act and, in fact, the chat indicates on

 13    its face the defendant is doing -- knows Roman Davydoff and

 14    is doing it with the assistance of Roman Davydoff who is

 15    providing his signature.

 16                The relevance of this document, and we're

 17    introducing to as direct evidence of the charged crime.

 18    It's extremely relevant because as the jury saw, this name

 19    Roman Davydoff appears in registration records for the

 20    command and control server maintained by the defendant.                  And

 21    what this chat shows is that that name was, in fact, the

 22    defendant's quote, unquote pocket director and was an

 23    alias -- was a name that the defendant conveniently was able

 24    to use and was under his control.

 25                THE COURT:     Is this a real person?       Do we know?


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                            DeCapua - Direct/Mr. Mindlin                    1985


  1                MR. MINDLIN:     On the face of this chat, your

  2    Honor, if you look at the bottom row, I will certainly say

  3    that the defendant appears to be representing that it's a

  4    real person because he is commenting on the particular phone

  5    that this person has and that's a reason that we don't view

  6    this as evidence of prior bad act.

  7                MR. MARGULIS-OHNUMA:       Your Honor, if they do it

  8    that way rather than give me §404(b) notice and a motion in

  9    limine, then it's a constructive amendment of the

 10    indictment.     The indictment alleges a conspiracy from

 11    September 2014 to December 2016.          They're now saying that

 12    the conspiracy was going on since March of 2013.              I mean --

 13    and it's unfair -- it creates unfair surprise.             It's

 14    fundamentally a notice issue.

 15                THE COURT:     Okay.

 16                MR. MARGULIS-OHNUMA:       I think the exhibit should

 17    be stricken from the record.

 18                THE COURT:     The objection is still overruled, but

 19    you've made your record.

 20                All right.     Thank you, everyone.

 21                (A recess in the proceedings was taken.)

 22                (Defendant exits from courtroom at 11:04 a.m.)

 23                (Defendant enters the courtroom at 11:15 a.m.)

 24                COURTROOM DEPUTY:      I'm going to swear the

 25    interpreter.


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                            DeCapua - Direct/Mr. Mindlin                    1986


  1                Do you solemnly swear that you have and will well

  2    and truly translate these proceedings now before this court

  3    so help you.

  4

  5    VALENTINA BREN-BUZIL, having been first duly sworn by the

  6           Clerk of the court to interpret the proceedings from

  7           English to Russian and from Russian to English as

  8           follows:

  9                THE INTERPRETER:      I have and I will.

 10                COURTROOM DEPUTY:      Thank you.     Would you please

 11    state your name for the record.

 12                THE INTERPRETER:      Valentina Bren-Buzil, Russian

 13    language court interpreter.

 14                COURTROOM DEPUTY:      Thank you.

 15                (A brief pause in the proceedings was held.)

 16                (Jury enters courtroom at 11:18 a.m.)

 17                THE COURT:     Please be seated, everyone.

 18                Mr. Mindlin, you may continue.

 19                MR. MINDLIN:     Thank you, Judge.

 20    EXAMINATION BY

 21    MR. MINDLIN:

 22    (Continuing.)

 23    Q     Have you reviewed other exchanges where the defendant

 24    told others about his bot traffic and worked with them to

 25    sell it?


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                             DeCapua - Direct/Mr. Mindlin                   1987


  1    A      Yes.

  2                  MR. MINDLIN:     The Government moves into evidence

  3    Exhibits 620 and 620E.

  4                  MR. MARGULIS-OHNUMA:     No objection.

  5                  THE COURT:     They are admitted.

  6                  (Government's Exhibits 620 and 620E were received

  7    in evidence as of this date.)

  8                  MR. MINDLIN:     Would you show the jury 620E.

  9    Q      Agent DeCapua, who are the parties to this chat?

 10    A      On the left is ibetters, Alexandr; the defendant.             And

 11    on the right is tomermatomy, Tomer Shimoni - Matomy.

 12    Q      I will read the right-hand side Tomer Shimoni from

 13    Matomy.       I'll ask you to read the left-hand side.

 14                       Hi I'm Tomer from Matomy Media Group.

 15    A      Hi Tomer we have some IAS traffic with traq score plus

 16    700.    Do you have XML search feed?        So we can try it so you

 17    can and test.       Prerolls?

 18    Q      Yes.

 19    A      Minimum requirements for the tube?

 20    Q      400 by 300.     You have prerolls traffic?

 21    A      We are working that way.       Very soon will be able to run

 22    prerolls with plus 1kk views per day.           What is your average

 23    CPM in preroll?

 24    Q      Depends on geos and quality.

 25    A      Geo U.S. only.      What quality you need?


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                            DeCapua - Direct/Mr. Mindlin                    1988


  1    Q      What sites?    U.S. is good.

  2    A      We can make absolutely any quality.         The site is not

  3    ready but we know how drive millions traffic there fast.

  4    And we know how to get UP in Alexa top 50,000 also fast.               So

  5    tell me please more about quality you need and the CPM you

  6    pay.     So I'll force our tech department to run the video

  7    tube site faster.

  8    Q      Our advertisers need to approve the site.           We have

  9    advertises that don't really care and paying between $1 to

 10    $4 CPM.     And we have the big guys that can pay up to $10 CPM

 11    and more.

 12    A      Like we have jwplayer license.        It is okay for your

 13    prerolls.

 14    Q      Stopping there for a moment.        Are you familiar with

 15    Alexa?

 16    A      I am.

 17    Q      In the context of websites, what is Alexa?

 18    A      Alexa rates the most popular websites.          So, at the very

 19    top, you'll find Google and other very popular websites and

 20    it ranks them all the way down into the hundreds of

 21    thousands.

 22    Q      I'll resume reading now.

 23                      Sure.

 24    A      Can you show me example of the site which big guys

 25    like.


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  1    Q     And then Tomer Matomy provides links to pages on

  2    allrecipes.com.      This is a site of over $10 CPM for sure or

  3    filmon.com.

  4    A     And how much prerolls per IP we can run in 24 hours?

  5    Q     Need to check.     Can you tell me a little more about

  6    your activity.      Maybe it will work better with pops or other

  7    banners because prerolls will not work with ad-inject or bot

  8    traffic in the long run.

  9    A     We have our own solution which allow us to cross all

 10    known checkers and filters.         It is not the bot from

 11    injections, it is clever server bot which can do absolutely

 12    anything.     Watch video, click prerolls, show IAS traq score

 13    plus 700, et cetera.       Any TOS, any PV, anything.         But no

 14    sales sure.     Is it the reason why we cannot run prerolls

 15    long terms?

 16                MR. MINDLIN:     The Government moves into evidence

 17    623 and 623E.

 18                MR. MARGULIS-OHNUMA:       One moment.     No objection.

 19                THE COURT:     They are admitted.

 20                (Government's Exhibits 623 and 623E were received

 21    in evidence as of this date.)

 22                MR. MINDLIN:     Please show to the jury, 623E,

 23    please.

 24    Q     Who are the parties to this chat?

 25    A     On the left is ibetters, Alexandr the defendant.             And


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                            DeCapua - Direct/Mr. Mindlin                    1990


  1    on the right is Victor-Ahumada.

  2    Victorahumada-adupmedia.com.

  3    Q     I will read for Mr. Ahumada.

  4                     I've been having lots of trouble with Omniture

  5    which is an Adobe product now.          It's a competitor to

  6    Google Analytics.

  7    A     We are perfect with GA and now our browser best friends

  8    with Flash.

  9    Q     What about Omnivore.       Omniture?

 10    A     I do not know what it is and I'm sure it is not

 11    popular.

 12    Q     It is huge and very popular for big spenders.             Smiles.

 13    Corporations.     There are two ways to think about it.            One,

 14    the smaller sites and what they use.           Two, big corporations

 15    and what they use.       The smaller guys, you need lots of them

 16    to make dollars.      The bigger guys 3 to 4 and can do a huge

 17    amount of money a day but they tend to use different

 18    technologies.

 19    A     If you pay us, point 01 cents for every click we make

 20    and you will accept all our 20 mln clicks per day, we will

 21    fuck Omniture inside-out.

 22    Q     Have you reviewed a chart that lists different

 23    entities?

 24                MR. MARGULIS-OHNUMA:        Objection.

 25                THE COURT:     Overruled.


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  1                MR. MINDLIN:     The Government moves into evidence

  2    1633 and 1633T.

  3                THE COURT:     Is there an objection to the -- there

  4    is an objection to the question is there an objection to the

  5    exhibit?

  6                MR. MARGULIS-OHNUMA:       Let me pull it up.       Hang on.

  7                No, Your Honor.

  8                THE COURT:     Admitted.

  9                (Government's Exhibits 1633 and 1633T were

 10    received in evidence as of this date.)

 11    Q     Can you read the word in the very upper left hand of

 12    this exhibit, please, Agent DeCapua?

 13    A     It's Confluence.

 14    Q     Are you familiar with Confluence or Confluence?

 15    A     I am.

 16    Q     What is it?

 17    A     It's a -- it's software that specializes in knowledge

 18    management for organizations.          The best way to describe it

 19    is like a big Wiki.

 20    Q     What does it say next to confluence at the top of the

 21    page?

 22    A     Methanum.

 23    Q     Zooming now on the table if we could see the column

 24    headlines, please.

 25                      Can you please read the name of columns


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  1    running from left to right?

  2    A     Name; access; support; efficiency of support; level;

  3    account I.D.; status of the clicking; current issues; TDS;

  4    status of auto stats; business priority; reference to a

  5    feed; hourly stats via API; reference to stats.

  6    Q     What is the first item under name?

  7    A     Clickandia.

  8    Q     And can you go to the column that says, Status of

  9    Clicking and tell us what it says in there for Clickandia?

 10    A     It says not clicking, but that's crossed out.             And then

 11    it says, Working on it.

 12    Q     And then moving to the right, if you could tell us what

 13    it says for Clickandia under Current Issues?

 14    A     It says, Bid is extremely low.         They can't see our js,

 15    mm, and flash.

 16    Q     What about a couple of lines down for Nextadnet.             What

 17    are the current issues?

 18    A     For Nextadnet.     IAS adverts look at our traffic as bad.

 19    I requested a more detailed feedback.

 20    Q     Can you scroll down, please, Mr. Carter to where it

 21    says Admonster.

 22                     For Admonster, can you read the current

 23    issues, please and the status of the clicking?

 24    A     TOS is extremely low.       Discrepancies in the browser

 25    headers.    And the status of the clicking is not clicking


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  1    because of the current issues.

  2    Q     Have you read other communications with individuals

  3    whom the defendant told about his simulated human traffic?

  4                MR. MARGULIS-OHNUMA:       Objection.

  5                THE COURT:     Why don't you just offer the exhibit?

  6                MR. MINDLIN:     Government offers 1691 and

  7    1691 -- 1691 alone.

  8                THE COURT:     Is there any objection?

  9                MR. MARGULIS-OHNUMA:       No objection.

 10                THE COURT:     Admitted.

 11                (Government's Exhibit 1691 was received in

 12    evidence as of this date.)

 13                MR. MINDLIN:     For the jury, please.

 14    Q     Agent DeCapua, can you see who the two participants are

 15    in this chat?

 16    A     So it looks like it's Media Methane, Aleksandr Zhukov

 17    or Aleksandr ZH or arun.nitw.          And the display name is Arun

 18    Aravindakshan.

 19    Q     Looking at the From Display Names column, can you tell

 20    the jury what column Aleksandr, ibetters, communications are

 21    in?

 22    A     They're in the blue.

 23    Q     And the other person is in the white, correct?

 24    A     That's correct.

 25    Q     Okay.   So starting at the beginning, I will be reading


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  1    the white communications from Arun Aravindakshan, and I'll

  2    ask you to read for Aleksandr ibetters.           Can you start,

  3    please?

  4    A     You were looking for publisher with video traffic.              We

  5    have a lot of traffic ready for preroll playing.              20

  6    millions views a day, no problem.          IAS susp 0, Forensiq, and

  7    DV the same.      99 percent for USA.      What is you net for

  8    payments.      Good evening.

  9    Q     Hi Aleksandr.     How are you?

 10    A     Thanks, fine.     And you?

 11    Q     The same.    Thanks for asking.       So what is your traffic

 12    source?      Human traffic or bot?

 13    A     How you decide bot or human?         By MOAT, WhiteOps, IAS,

 14    DV and Forensiq.      In that case, it is human.

 15    Q     Can you run it at $2.5?

 16    A     For test?    Yers.    I can run 100,000 imps for free for

 17    test.     We run about 10 million impressions per hour.

 18    Q     Turning to Page 2, please.        Let me go down the page.

 19                      Agent DeCapua, do you see where it says, I got

 20    your message, on the right-hand side in blue?

 21    A     Yes.

 22    Q     Can you start reading there, please?

 23    A     Got your message.      Paused.

 24    Q     What's the reason behind it.

 25    A     I don't know.     Ask them send reports.        How they decided


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  1    that.

  2    Q     Yea, I've asked them to send the report.            I'll send it

  3    you as soon as I get it.

  4    A     Let's let see what's there.

  5    Q     You there.     I've blocked the advertiser on my end till

  6    we get further information.         Let's restart the traffic but

  7    limit the volume.

  8    A     Okay.

  9    Q     Restrict it to 60 percent of what we were doing and

 10    include the sites I sent.         Let me know once we are back up.

 11    Are we back up?      What's the cap you've put?        Looks like the

 12    volume has gone down considerably.            Keep it close to 175k

 13    impressions an hour.         Are you there?     How come we haven't

 14    restarted?      Are you there?     Hey, Aleksandr, how are you.        I

 15    got back from the advertiser of it's WhiteOps who detected

 16    to.     They said they will be getting the report from their

 17    client soon.      Need to find a way around it.        Let me know

 18    when you are available for a chat.            I understand that you

 19    are very busy and you don't have much time but do let me

 20    know a time when you can give me ten minutes so we could

 21    have a quick chat?

 22    A     Hi.     All is good.    I'll check tomorrow WhiteOps.

 23    Thanks.     What we have to do?      Switch off traffic?

 24    Q     No, I have blocked them from you.          Increase traffic.       I

 25    want you to increase but increase the number of sites from


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  1    where it's coming from.        I had sent around 500 sites.           Add

  2    those as well.      We want to continue working with you long

  3    term.

  4    A     And then in the next block you can see that he copies a

  5    prior message and then says, Why you blocked them?              533

  6    sites we use for your account.

  7    Q     Because they said 84 percent of traffic coming is from

  8    sophisticated IVT.

  9    A     Show me report please to make believe it.

 10    Q     We are waiting on the same from them.           They said they

 11    would send us the domains details as to where the traffic

 12    has come.    How come the traffic is still low?

 13    A     Again, you can see where he pasted one of the prior

 14    chats and then responds, We have access to all famous

 15    filters and see no problem.

 16    Q     Yea, told them the same thing.

 17                MR. MINDLIN:     Mr. Carter, can I ask you to move to

 18    the left far a moment.       Further.     To the row number.

 19                The Government offers 685 and 685E.

 20                MR. MARGULIS-OHNUMA:       No objection to that

 21    exhibit, your Honor.

 22                THE COURT:     Admitted.

 23                MR. MINDLIN:     For the jury, please.

 24                (Government's Exhibits 685 and 685E were received

 25    in evidence as of this date.)


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                            DeCapua - Direct/Mr. Mindlin                    1997


  1    Q     Who are the two participants in this chat?

  2    A     On the left is the defendant ibetters, Aleksandr.              And

  3    on the right is tarmo.adcash, Tarmo - Adcash.com.

  4    Q     I will read for Tarmo on the right.

  5                     Hey, hey, how are you?

  6    A     Hi.   How fine.    You.

  7    Q     I'm great.    Thanks.     Any news on testing our pop under

  8    feed?

  9    A     Only after next week we plan to add new partners.              How

 10    fast you pay BTW.       Did I say you that our traffic is "users"

 11    they surf but cannot buy anything cause have no credit

 12    cards.

 13                MR. MINDLIN:     The Government offers 624 and 624E1,

 14    2, and 3.

 15                MR. MARGULIS-OHNUMA:       No objection.

 16                THE COURT:     Admitted.

 17                (Government's Exhibits 624 and 624E1, 2, and 3

 18    were received in evidence as of this date.)

 19                MR. MINDLIN:     For the jury, 624E2, please.

 20    Q     What are the participants in this chat?

 21    A     On the left is the defendant ibetters Alexandr.             And on

 22    the right, is idofreed, Vashoot.

 23    Q     Can you please start reading for the defendant starting

 24    where it says March 17th about halfway down the page?

 25    A     Hi everything ready to test.         And then here you see


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                            DeCapua - Direct/Mr. Mindlin                    1998


  1    there's a long URL that's pasted in there.            And then it

  2    says, This one will not works.

  3    Q     Please try again.      You have 100 percent coverage for

  4    the feed.

  5    A     Lets try.     Just started.     30 percent coverage.

  6    Q     We got some feedback from advertisers for 15 percent

  7    bot traffic so we needed to remove them.

  8                      You can read the next row down.

  9    A     15 percent -- it is 100 percent bots.           You didn't know?

 10    Q     What do you mean?

 11    A     It's mean that we have software to pass all filters:

 12    IAS, GA, DV, et cetera.        Watch video, click prerolls, but we

 13    have no real users.

 14    Q     Okay.     I didn't know that.     So the coverage problem is

 15    really big deal because we started to make some nice revenue

 16    together.

 17    A     For us, it is not nice man actually.           Other providers

 18    we do $20 to $90 per hour.        With you much less.       Also other

 19    providers pay us net 0.        You pay net 30.

 20    Q     Okay.     I will work on it.     Have you reviewed other

 21    communications from the defendant about the advertising

 22    business?

 23    A     I have.

 24                MR. MINDLIN:     The Government moves in at this time

 25    the following documents.        629, 1546 --


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  1                MR. MARGULIS-OHNUMA:       Judge, one at a time,

  2    please.

  3                THE COURT:     One at a time is right.

  4                MR. MINDLIN:     The Government first moves in 629

  5    and 629E.

  6                MR. MARGULIS-OHNUMA:       No objection.

  7                THE COURT:     Admitted.

  8                (Government's Exhibits 629 and 629E were received

  9    in evidence as of this date.)

 10                MR. MINDLIN:     1546.

 11                MR. MARGULIS-OHNUMA:       Can you show 1546 again,

 12    please.

 13                We object to that, your Honor, 1546.

 14                THE COURT:     That's what I'm looking at now?

 15                MR. MARGULIS-OHNUMA:       I don't know.      Yes.

 16    According to the --

 17                MR. MINDLIN:     Yes, Judge.

 18                THE COURT:     What's the objection?

 19                MR. MARGULIS-OHNUMA:       Hearsay, basis of knowledge,

 20    personal knowledge.

 21                MR. MINDLIN:     As discussed in the Government's

 22    submission, your Honor.

 23                THE COURT:     Sorry, what's the number again?

 24                MR. MINDLIN:     1546.

 25                MR. MARGULIS-OHNUMA:       I don't see anything in the


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  1    government submission.       Can I see a page number.

  2                THE COURT:     It's not, it's out of numerical order.

  3    If it's 1546 follows 1686.

  4                MR. MINDLIN:     Page 4, final row.

  5                THE COURT:     The objection is overruled.

  6                MR. MARGULIS-OHNUMA:       With a limiting instruction,

  7    your Honor.

  8                THE COURT:     No.   The exhibit is admitted.

  9                (Government's Exhibit 1546 was received in

 10    evidence as of this date.)

 11                MS. KOMATIREDDY:      The Government offers 1547,

 12    1548, and 1549.

 13                MR. MARGULIS-OHNUMA:       If I may just have a moment.

 14    That was 1546 we were just talking about.            If I may look at

 15    the others.

 16                Same objection, your Honor, to all of those.

 17                THE COURT:     This is the Excel spreadsheet that I'm

 18    looking at now.

 19                MR. MINDLIN:     This is 1548, your Honor.

 20                MS. COHEN:     I think we should do them one at a

 21    time so the record is clear, your Honor.

 22                THE COURT:     I agree with that.

 23                MR. MARGULIS-OHNUMA:       With respect to 1547, we

 24    have the same objection:         Hearsay and relevance and base of

 25    personal knowledge and would request a limiting instruction


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  1    if it's admitted.

  2                THE COURT:     Is there a word I'm missing?         Let's

  3    take a one-minute break -- one-minute sidebar.             The jury can

  4    stand and stretch if they want.          We're going to push through

  5    to 12:30 and break for lunch at that point.

  6                (Continued on the next page.)

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                            DeCapua - Direct/Mr. Mindlin                    2005


  1                (In open court.)

  2                (A brief pause in the proceedings was held.)

  3                THE COURT:     Ladies and gentlemen of the jury, you

  4    are about to see some exhibits which --

  5                Mr. Mindlin, remind me the number of these

  6    exhibits.

  7                MR. MINDLIN:     1546, 1547, 1548, and 1549.

  8                THE COURT:     You are recently seen an exhibit

  9    remind me of the -- no we just saw it a second ago the

 10    integral.

 11                MR. MARGULIS-OHNUMA:       That was 1546.

 12                THE COURT:     1546.

 13                Ladies and gentlemen of the jury, I instruct you

 14    that these exhibits are not being offered to prove the truth

 15    of the matters that are asserted on these documents.

 16    Instead, these have been identified by one or more witnesses

 17    as documents found on the hard drives of certain computers

 18    that are in evidence.       And these documents are being

 19    admitted for their impact to try to prove their impact on

 20    the State of Mind of the recipients, the people who may or

 21    may not have seen these documents.

 22                As always, ladies and gentlemen of the jury, you

 23    decide what weight to attribute to those documents for that

 24    purpose, but I wanted to instruct you on what the proper

 25    purpose of considering these documents is.


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                            DeCapua - Direct/Mr. Mindlin                    2006


  1                So, Mr. Mindlin, you may continue.

  2                MR. MINDLIN:     Government moves into evidence,

  3    Government Exhibit 1616, 1616T and 1616TE.

  4                MR. MARGULIS-OHNUMA:       Objection, your Honor.        This

  5    was the subject of pretrial briefing.

  6                THE COURT:     Yes, that objection is sustained.

  7                MR. MINDLIN:     The Government moves into evidence

  8    1652 as well as 1652T and 1652TE1, 2, and 3.

  9                MR. MARGULIS-OHNUMA:       Let's do these one at a

 10    time.    I think we have no objection to 16 -- one moment,

 11    your Honor, I'm sorry.

 12                So with respect to 1652 which is the Russian,

 13    there's no objection.       With respect to 1652TE, there's no

 14    objection.     With respect to, I'm sorry, with respect to

 15    1652T there's no objection.         With respect to 1652TE, there

 16    is an objection which is that the it misstates the

 17    underlying exhibit.       The year is wrong.

 18                THE COURT:     What is wrong?

 19                MR. MARGULIS-OHNUMA:       The year on the excerpt is

 20    wrong.    We can amend that.      It says "2015," but the

 21    underlying exhibit says "2014."          That's on TE1, TE2, there's

 22    no objection.     And TE3, there's no objection.

 23                THE COURT:     Does the Government want to correct

 24    the year?

 25                MR. MINDLIN:     We're happy to address TE1 and move


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  1    in at this point TE2 and 3 only.

  2                THE COURT:     Or I think you can, well, yes let's

  3    proceed in that way.       2 and 3 are admitted.

  4                (Government's Exhibit 1652TE2, and 3 were received

  5    in evidence as of this date.)

  6                MR. MINDLIN:     Can we please show this document to

  7    the jury?

  8                Showing to the jury Exhibit 1652TE2.

  9    EXAMINATION BY

 10    MR. MINDLIN:

 11    (Continuing.)

 12    Q     Agent DeCapua, can you tell the jury who the parties

 13    are on this exchange?

 14    A     On the left side is alex@jabber.tipsters.com; Alex Z,

 15    the defendant.      On the right is Z@jabb9.org; user name

 16    Vegas.

 17    Q     I will read the first two rows on the right-hand side

 18    only.    Why don't you start for the defendant, please, on the

 19    left-hand side.

 20    A     Do advertisers see it?       Do advertisers like it?        It is

 21    the most important thing.

 22                (Continued on the next page.)

 23

 24

 25


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  1    BY MR. MINDLIN:     (Continuing.)

  2    Q     They don't like it at all.         Dig a little deeper and you

  3    can see what kind of traffic it is.

  4                 And have you ever had any communications regarding a

  5    company called Crazy 4 Media?

  6    A     I have.

  7    Q     Have you reviewed a LinkedIn profile for an individual

  8    named Ana Murillo?

  9    A     I have.

 10                 MR. MINDLIN:    The Government moves into evidence

 11    Exhibit 810A.

 12                 MR. MARGULIS-OHNUMA:      No objection.

 13                 THE COURT:    Admitted.

 14                 (Government's Exhibit 810A received in evidence.)

 15                 MR. MINDLIN:    For the jury, please.

 16                 (The above-referred to exhibit was published.)

 17    BY MR. MINDLIN:

 18    Q     Zooming in to the top half of the document, can you read

 19    the name of this person?

 20    A     It's Ana Fernandez de los Rios Murillo.

 21    Q     And where does Ms. Murillo work?

 22    A     She works at Crazy 4 Media Online.

 23    Q     Looking to the right, do you see where it says IM?

 24    A     Yes.

 25    Q     Can you read what it says for Ms. Murillo's Skype


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  1    address?

  2    A     It says, anamurillo_c4m.

  3    Q     And what is Ms. Murillo's title at Crazy 4 Media Online?

  4    A     It is head of supply video team, slash, senior media

  5    buyer.

  6    Q     Can you read in the last three letters or the last three

  7    characters of Ms. Murillo's Skype username?

  8    A     C4M.

  9    Q     Are those the same as the initials of Crazy 4 Media?

 10    A     Yes.

 11                 MR. MINDLIN:    The Government offers into evidence

 12    634 and 634T.

 13                 MR. MARGULIS-OHNUMA:      No objection.

 14                 (Pause.)

 15                 MR. MARGULIS-OHNUMA:      No objection.

 16                 THE COURT:    Admitted.

 17                 (Government's Exhibits 634 and 634T received in

 18    evidence.)

 19                 MR. MINDLIN:    For the jury, please.

 20                 (The above-referred to exhibit was published.)

 21    BY MR. MINDLIN:

 22    Q     What's the subject line of this email?

 23    A     Selection of news.

 24    Q     And can you please, for the record, tell us who is it

 25    from and to and the date?


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                                 DeCapua - Direct - Mindlin                    2010


  1    A     It's from Alexander, ibetters2@gmail.com, the defendant;

  2    and it is to Programmer Borya at mathete.com@gmail.com, which

  3    is Boris Timokhin.

  4    Q     Looking a few lines down, do you see a numeral 1?

  5    A     I do.

  6    Q     Can you please read the item that is next to numeral 1 --

  7    that four-line item?

  8    A     We came to the agreement with C4M at 75 percent.

  9    Additionally, they are also helping.            Next month, I will be

 10    meeting in Barsa with the owner for drinks.            That is why there

 11    is a possibility that they will become our main partners in

 12    the future.

 13    Q     Can you read Item 2 please?

 14    A     2:   Today they will give us a direct AOL account and

 15    start prepping the buyers.

 16    Q     Read Item 3, please.

 17    A     3:   They made a note that the traffic is 100 percent US.

 18    This immediately strikes the buyer as a sign that it's a bot.

 19    The second sign, equal domain distribution.            5 percent,

 20    5 percent, 5 percent.       It needs to be totally random.

 21    Q     Have you reviewed traffic logs for websites?

 22    A     I have.

 23    Q     Public websites?

 24    A     Yes.

 25    Q     And do those logs indicate the country of origin at times


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                                 DeCapua - Direct - Mindlin                    2011


  1    of the traffic?

  2    A     They generally just indicate the IP address; and then

  3    from the IP address, you can make the jump to the country of

  4    origin.

  5    Q     Have you done that analysis --

  6    A     I have.

  7    Q     And in doing that, did you note what countries the

  8    traffic was originating from?

  9    A     Yes.

 10                 MR. MARGULIS-OHNUMA:      Objection.      Sorry, it's

 11    impossible to tell what traffic he's talking about, so

 12    foundation.

 13                 THE COURT:    This is the foundation.

 14                 MR. MARGULIS-OHNUMA:      Are we still talking about

 15    GX's 34T?    There's no -- there's no --

 16                 THE COURT:    I understand you to be laying a

 17    foundation for the next exhibit.

 18                 MR. MINDLIN:    We are talking about the national

 19    origin of website traffic in general and the natural

 20    variation --

 21                 THE COURT:    Okay.

 22                 MR. MINDLIN:    -- website traffic.

 23                 THE COURT:    All right.     The objection is overruled

 24    for now.

 25    BY MR. MINDLIN:


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  1    Q     So in looking at the logs of traffic website, you said

  2    you have gone one step further and looked at what countries

  3    the visitors of the website were coming from; right?

  4    A     Correct.

  5                MR. MARGULIS-OHNUMA:       Objection.      Leading.

  6                THE COURT:     Overruled.

  7    BY MR. MINDLIN:

  8    Q     Was it all from one country or was it a mix?

  9                MR. MARGULIS-OHNUMA:       Objection.

 10                THE COURT:     What traffic are we talking about here?

 11    BY MR. MINDLIN:

 12    Q     Looking at the traffic logs and websites in the course of

 13    your work, what have you observed about the national origin,

 14    if you've observed anything, of the visitors to those

 15    websites?

 16                MR. MARGULIS-OHNUMA:       Objection.

 17                THE COURT:     Overruled.

 18    A     Generally, you expect web traffic to be organic.             It

 19    comes from all different countries, not one single country,

 20    especially if it's a -- if it's a website that is available to

 21    everyone in the world, you would expect web traffic to come

 22    from everywhere in the world.

 23                MR. MINDLIN:     Can we see Exhibit 634T again, please?

 24    Q     Can I ask you to read again the next two lines of -- the

 25    first two lines of Item 3?


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  1    A     3:   They made a note that the traffic is 100 percent US.

  2    This immediately strikes the buyer as a sign that it's a bot.

  3    Q     And have you reviewed emails in which Ms. Murillo from

  4    Crazy 4 Media sent the defendant lists of domains?

  5    A     Yes.

  6                 MR. MINDLIN:    The Government offers in evidence

  7    Exhibits 635 and 635T.

  8                 MR. MARGULIS-OHNUMA:      No objection.

  9                 THE COURT:    Admitted.

 10                 (Government's Exhibits 635 and 635T received in

 11    evidence.)

 12                 (The above-referred to exhibit was published.)

 13    BY MR. MINDLIN:

 14    Q     Zooming in a little bit on the second email down in the

 15    middle of the page, who is this email from?

 16    A     Ana Murillo.

 17    Q     What's her email address?

 18    A     It is ana.murillo@crazy4mediaonline.com.

 19    Q     Now is there -- looking down the page --

 20                 MR. MINDLIN:    If you could, please, Mr. Carter if

 21    you can just scroll down to page 2 -- all the way down.

 22    Q     Is there an earlier email in the same chain?

 23    A     There is.

 24    Q     Who is that from?

 25    A     It's from Aleksandr Zhukov.


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  1    Q       And what is Mr. Zhukov writing?

  2    A       He says:   Hi.   Send me, please, fresh top 20 refers

  3    domain for US prerolls.

  4    Q       Now, looking back up, what does Ms. Murillo do in

  5    response?

  6    A       She responds saying:      Here the top USA desktop domains

  7    nowadays, and she has a list of websites.

  8    Q       Can you read the first website please?

  9    A       whitepages.com.

 10    Q       Do you see any New York-based websites on this page?

 11    A       I do.

 12    Q       What do you see?

 13    A       nypost.com.

 14    Q       Looking down, any others?

 15    A       Yes.    nydailynews.com.

 16    Q       Looking up the page, please, past the top of this email,

 17    what's the next thing that happens in this email chain, if you

 18    know?

 19    A       It looks like Aleksandr forwards the message and says:

 20    Please add fresh refers in place of the old ones for Crazy.

 21    Q       Who does he forward it to?

 22    A       To the person that responds as Boris Timokhin, so I

 23    assume Boris Timokhin.

 24    Q       Does Mr. Timokhin respond?

 25    A       He does.


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                                 DeCapua - Direct - Mindlin                    2015


  1    Q     What does he write?

  2    A     He says:    Done.

  3                 MR. MINDLIN:    The Government moves into evidence 636

  4    and 636T.

  5                 MR. MARGULIS-OHNUMA:       No objection.

  6                 THE COURT:    Admitted.

  7                 (Government's Exhibits 636 and 636T received in

  8    evidence.)

  9    BY MR. MINDLIN:

 10    Q     Generally speaking, what kind of document is this?

 11    A     This is an email.

 12    Q     Looking at the top, who is it from and to?

 13    A     It's from Alexander, ibetters2@gmail.com, the defendant;

 14    and it's to Programmer Borya mathete.com@gmail.com.

 15    Q     Jumping a couple of messages down the page to the message

 16    at 19:47, what does Alexander, ibetters2@gmail.com write?

 17    A     He writes:     Metan is magnificent.

 18    Q     Can you read -- what is after that?              What follows?

 19    A     So it looks like he pasted a chat between him and

 20    somebody else.

 21    Q     Let's read that chat together, please.             I will ask you to

 22    read for Aleksandr ZH, and we can omit the date and time

 23    zones.

 24    A     How you plan check?       Moat?    IAS?    What else?

 25    Q     Fraudlogix.


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  1    A     Wow.    I don't know how the traffic will be with that

  2    thing.

  3    Q     Never test.     My be better stop traffic now and get report

  4    straight from you.

  5                 Pardon me.    Please continue.       That was actually

  6    Aleksandr ZH.

  7    A     Never test.     My be better stop traffic now and get report

  8    straight from you to see where we have to make fixes.

  9    Q     I checked today and nothing.

 10    A     Fraudlogix shows good?

 11    Q     Tomorrow morning I'm online already online early.              Yeah,

 12    shows no alerts.

 13                 Is there any text below?

 14    A     There is.

 15    Q     What did the defendant write?

 16    A     Made friends with the C4M media.           He understands what

 17    kind of solution we have, and he wants to work.             He is ready

 18    to cooperate the same way as Verta.           In the same vein.

 19    Q     Have you read to documents related to a company called

 20    VertaMedia?

 21    A     I have.

 22    Q     Have you read contracts between the defendant and

 23    VertaMedia?

 24    A     I have.

 25                 MR. MINDLIN:    The Government moves into evidence


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                                  DeCapua - Direct - Mindlin                   2017


  1    Government 344.

  2                  MR. MARGULIS-OHNUMA:      No objection.

  3                  THE COURT:    Admitted.

  4                  (Government's Exhibit 344 received in evidence.)

  5                  MR. MINDLIN:    Can we show that to the jury, please?

  6                  (The above-referred to exhibit was published.)

  7    BY MR. MINDLIN:

  8    Q     Very generally, can you tell what type of document this

  9    is?

 10    A     This is an agreement for Advertising Services.

 11    Q     Who are the parties to this agreement?            Who is it

 12    between?

 13    A     It's between VertaMedia, LLC, and Mintek Group Limited.

 14    Q     And who represents Mintek Group on the next line?

 15    A     Aleksandr Zhukov.

 16    Q     Is there a date on this?

 17    A     There is.

 18                  MR. MINDLIN:    Turning to the final page, please,

 19    Mr. Carter.

 20    Q     Do you see signatures?

 21    A     I do.

 22    Q     What's the second name signed there?

 23    A     The first name appears to say Aleksandr.            The second one

 24    is Z-H-U, and then I see a K, and an O, and a B.             It looks

 25    like Zhukov.


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                                    DeCapua - Direct - Mindlin                 2018


  1    Q       Have you reviewed any LinkedIn profiles for employees of

  2    VertaMedia?

  3    A       I have.

  4                    MR. MINDLIN:    To Government offers into evidence

  5    810B.

  6                    MR. MARGULIS-OHNUMA:      No objection.

  7                    THE COURT:    Admitted.

  8                    (Government's Exhibit 810B received in evidence.)

  9                    (The above-referred to exhibit was published.)

 10    BY MR. MINDLIN:

 11    Q       Generally speaking, what type of document is this?

 12    A       This is a LinkedIn profile.

 13    Q       And who is it for?

 14    A       It's for Victor Bezer.

 15    Q       Looking to the right, do you see a Skype username on this

 16    profile?

 17    A       I do.

 18    Q       What is it?

 19    A       It's victor.vertamedia.

 20    Q       Do you see a description of Mr. Bezer's job?

 21    A       I do.

 22    Q       What is that?

 23    A       It says:    Publisher department director at VertaMedia.

 24    Q       Do you see text below that in this profile?

 25    A       I do.


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                                 DeCapua - Direct - Mindlin                    2019


  1    Q     And just stopping for a minute.           Can you tell the jury

  2    what -- what is LinkedIn?

  3    A     LinkedIn is a -- I guess you would call it a social media

  4    site where people put profiles -- their professional profiles

  5    where they advertise their business service, and they make

  6    other business connections with their partners or potential

  7    employers.

  8    Q     Can you read the second paragraph, please, here where it

  9    says "currently"?

 10    A     Currently, I am part of VertaMedia family.            We are

 11    focused on video advertising and have two products that I am

 12    proud to represent.

 13    Q     Did you review chats between the defendant and Mr. Bezer?

 14    A     I did.

 15                 MR. MINDLIN:    The Government moves into evidence

 16    637, 637T, and 637TE.

 17                 MR. MARGULIS-OHNUMA:      No objection.

 18                 THE COURT:    Admitted.

 19                 (Government's Exhibits 637, 637T, and 637TE received

 20    in evidence.)

 21                 MR. MINDLIN:    For the jury, please.

 22                 (The above-referred to exhibit was published.)

 23    BY MR. MINDLIN:

 24    Q     Who are the participants in this chat?

 25    A     On the left is i-betters, the defendant; and on the right


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                                   DeCapua - Direct - Mindlin                  2020


  1    is victor.vertamedia, Victor Bezer.

  2    Q       How does that Skype username compare to what we just saw

  3    on the LinkedIn profile?

  4    A       It's the same one.

  5                   MR. MINDLIN:    If you can scroll down a little bit,

  6    please.

  7    Q       I'm going to read for Mr. Bezer on the right-hand side.

  8    I will ask you to read for the defendant on the left-hand

  9    side.

 10                   Well, is it possible to simply add domains without

 11    proper traffic distribution?

 12    A       Yes.   It is possible.

 13    Q       Hi.    Listen, you're streaming is way too obvious.          Can

 14    you add more domains to diffuse the traffic and set a

 15    limitation of 1KK of requests per domain maximum, otherwise

 16    half a million imps might raise questions.

 17                   MR. MINDLIN:    The Government moves into evidence

 18    Exhibit 653, 653T, and 653TE.

 19                   MR. MARGULIS-OHNUMA:      No objection.

 20                   THE COURT:    Admitted.

 21                   (Government's Exhibits 653, 653T, and 653TE received

 22    in evidence.)

 23                   MR. MINDLIN:    For the jury.

 24                   (The above-referred to exhibit was published.)

 25    BY MR. MINDLIN:


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                                 DeCapua - Direct - Mindlin                    2021


  1    Q     Who are the participants, please?

  2    A     On the left is killout@jabber.org, Alex Z; and on the

  3    right is an0nymus@jabbim.cz, Victor Verta.

  4    Q     I will read for Victor Verta, and I will ask you to read

  5    the left side.

  6                Hello.    It's me.

  7    A     Hi.

  8    Q     Look, I'm telling you what can be done for vids in

  9    general.    Load the player into several site pages up to five.

 10    The important thing is to send traffic to the first page, have

 11    it hanging in there for one minute, and then transfer it to

 12    the next one that has a player and so on, this way you

 13    monetize one click five times.

 14    A     And what's the difference?         Whether we'll be visiting the

 15    page with our player or transferring to a page with our player

 16    and monetize five times just the same.

 17    Q     You can send US, CA, GB, FR, and AU.             The coverage for

 18    these countries is okay.        To have good coverage, we must have

 19    80 percent US.

 20                MR. MINDLIN:     Mr. Carter, can you scroll down a

 21    little bit, please?

 22                The Government moves into evidence Exhibits 1683 --

 23    1683T and 1683TE.

 24                MR. MARGULIS-OHNUMA:       Just a moment, Your Honor.         I

 25    think there's an objection to that.


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  1                 THE COURT:    1683 we are looking at here?

  2                 MR. MINDLIN:    Yes.

  3                 MR. MARGULIS-OHNUMA:      Actually, there's no

  4    objection.    I apologize.

  5                 THE COURT:    Admitted.

  6                 (Government's Exhibits 1683T and 1683TE received in

  7    evidence.)

  8                 (The above-referred to exhibit was published.)

  9                 MR. MINDLIN:    Let's turn to page 2, please.

 10    BY MR. MINDLIN:

 11    Q     Who are the participants in this chat?

 12    A     On the left is i-betters, Aleksandr, the defendant.              On

 13    the right is victor.vertamedia, Victor Bezer.

 14    Q     I will read for Victor Bezer from VertaMedia, and I will

 15    ask you to read the left side for the defendant starting on

 16    February 9, 2016.

 17    A     Vitya, send me the update on payments.             We've been

 18    dragging on for too long this time.           What's the problem?

 19    Q     I would have paid a long time ago, but this time

 20    advertisers have questions about traffic.              Tomorrow I can send

 21    200K to the physical entity, and most likely one of the wires

 22    to Ksandria, others will be on hold for a couple of days.

 23    A     What kind of questions?        We discussed it at length with

 24    Sasha many times, and we cut off everyone who had complaints

 25    until you activate Moat.


                                 Denise Parisi, RPR, CRR
                                   Official Court Reporter
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  1    Q     We turned everything off in January when it started

  2    hitting adverts big time and became detectable in real time.

  3    DV was busting it for ages, but not in real time.              Right now

  4    we are talking about a November payment that we are still

  5    waiting for.     We are paying you in advance, but we receive

  6    this money no earlier than net 60, so it sucks that now

  7    advertisers are checking if they will be charged for the

  8    entire November and December traffic.            So far we are managing

  9    the issue, and they won't charge us an arm and a leg, but most

 10    likely they will shear off at least something.              The point is,

 11    it must not end with a scandal with advertisers should they

 12    start digging deeper, i.e. -- i.e. -- the date has changed in

 13    this chat to February 15th, 2016 -- i.e. 175K and a 188K for

 14    you arrived to Ksandria.

 15    A     I received only two wires -- 188 and 175.              Let's sum up

 16    what we owe us, okay?       I'm sorry, let's sum up what you owe

 17    us, okay?

 18    Q     Ksandria, $157,350 paid.        Ksandria, my info tells me that

 19    $188,730 have not been credited to you.               Alicanti, 140,375 on

 20    hold, charge applicable.        EPESE, 100,000, paid.

 21                  If I can stop there for a moment.

 22                  Mr. DeCapua, are you familiar with EPESE?

 23    A     I am.

 24    Q     What is EPESE?

 25    A     It's a eastern European money transfer service.


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  1    Q     Physical entity, 195,545, paid.           Ariat, $73,000, payment

  2    initiated but suspended.         That's all we owe for November plus

  3    50 percent of December with the statuses.

  4    A     That's what I received.        100,000 EPESE; 188,730

  5    capitalist; 175,350, capitalist; 195,545 physical entity;

  6    73,000 suspended.      Adds up to 872,950, plus the returned wire

  7    for 209K.    Can you just send it to the physical entity?

  8    Q     This payment caused a lot of questions and resulted in a

  9    huge confusion, but if it was credited to you, then what's

 10    left is Alikanta.

 11                 Have you reviewed -- oh, I'm sorry.          I'm doing the

 12    wrong one.

 13                 To Bulgaria?

 14    A     I received it.      Yes.    You can send it right there.        No.

 15    Hold it.    Don't send to Bulgaria.

 16    Q     Have you reviewed a LinkedIn profile for a VertaMedia

 17    employee named Yegor Vazhgovskyi?

 18    A     I have.

 19                 MR. MINDLIN:    The Government offers 810D.

 20                 MR. MARGULIS-OHNUMA:      No objection.

 21                 THE COURT:    Admitted.

 22                 (Government's Exhibit 810D received in evidence.)

 23                 MR. MINDLIN:    For the jury, please.

 24                 (The above-referred to exhibit was published.)

 25    BY MR. MINDLIN:


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  1    Q     Generally speaking, what type of document is this?

  2    A     This is a screen shot of a LinkedIn profile.

  3    Q     Whose profile is it?

  4    A     It's Yegor Vazhgovskyi.

  5    Q     And where does he work, according to this?

  6    A     He works at VertaMedia.

  7    Q     What was his job?

  8    A     Business development manager.

  9                  MR. MINDLIN:    The Government moves into evidence

 10    1619 and 1619T.

 11                  MR. MARGULIS-OHNUMA:      No objection.

 12                  THE COURT:    Admitted.

 13                  (Government's Exhibits 1619 and 1619T received in

 14    evidence.)

 15                  MR. MINDLIN:    For the jury, please.

 16                  (The above-referred to exhibit was published.)

 17                  MR. MINDLIN:    Can we see the very bottom of this

 18    document, please?

 19    BY MR. MINDLIN:

 20    Q     Agent DeCapua, are you able to read those letters there?

 21    A     I am.

 22    Q     What do those indicate to you, if anything?

 23    A     This indicates that this image was provided by Apple, and

 24    it was found in the iCloud account ibetters@icloud.com

 25    specifically in the Cloud photo library.


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  1    Q     Are you familiar with the content of a screen shot?

  2    A     I am.

  3    Q     What is a screen shot?

  4    A     It's when you take a picture of a screen.

  5    Q     And when you do it on an iPhone, do you know what

  6    happens?

  7    A     Yeah.    It's saved to your photos.

  8    Q     Do you know, if you know, how that interacts with the

  9    iCloud backup?

 10    A     I don't know for certain.

 11    Q     Do you recognize the app shown here?

 12    A     I do.

 13    Q     What app is it?

 14    A     It's WhatsApp.

 15    Q     And in WhatsApp, what side does the user of the device

 16    appear on?

 17    A     On the right side.

 18    Q     So if I'm using WhatsApp with a friend, what side am I on

 19    of the screen?

 20    A     You are going to be on the right side in green.

 21                  THE COURT:    Of which screen?

 22                  THE WITNESS:    Of your phone.

 23                  THE COURT:    Your own screen?

 24                  THE WITNESS:    Yeah.

 25    BY MR. MINDLIN:


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  1    Q       And you said this was from the iCloud account

  2    ibetters@me.com; correct?

  3    A       Yes.

  4    Q       Do you see the saved name of this contact?

  5    A       Yes.

  6    Q       And what is that name?

  7    A       It's yegorvertamedia.

  8    Q       Going down to 2013, can you please read what -- I will

  9    read what yegorvertamedia said, and I will ask you to read the

 10    right-hand side.

 11                    So are you spoofing any domains there in real time?

 12    Do you need any help?

 13    A       We are just looking at fill in real time.

 14    Q       Okay.    Sasha, I would like to ask you to give permission

 15    to Borya to crank up the ad-ops individual-visitor volume to

 16    200K-400K to AID 13910.        I need to check a couple of advers

 17    since the caps do not always work for us in response to our

 18    requests.       I am doing it mostly for profit, not to keep you

 19    busy.    Could you do that?

 20    A       Sure.    We can do that.    The only thing is that we have a

 21    problem with the fill.

 22    Q       Are you familiar, in general, with the concept of

 23    spoofing?

 24    A       Yes.

 25    Q       At a very high general level, what does spoofing lean?


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  1                 MR. MINDLIN:     Mr. Carter, can you go up please?

  2    A       So there's different types of spoofing.         Spoofing, in

  3    general, means faking something.

  4    Q       Now, have you seen communications from employees of

  5    VertaMedia passing along lists of domains to the defendant?

  6    A       I have.

  7                 MR. MINDLIN:     The Government offers into evidence

  8    Exhibits 652 and 652T.

  9                 MR. MARGULIS-OHNUMA:       No objection.

 10                 THE COURT:     Admitted.

 11                 (Government's Exhibits 652 and 652T received in

 12    evidence.)

 13                 MR. MINDLIN:     For the jury, please.

 14                 (The above-referred to exhibit was published.)

 15    BY MR. MINDLIN:

 16    Q       What type of document is this?

 17    A       This is an email.

 18    Q       Looking down the page to the bottom email here, who is it

 19    from?

 20    A       It's from Greg Vazhgovskyi.

 21    Q       And what is Mr. Vazhgovskyi's email address?

 22    A       y.vazhgovskyi@vertamedia.com.

 23    Q       Who it is to?

 24    A       It's to ibetters2@gmail.com.

 25    Q       What is the subject line?


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  1    A     It's a forward.      New domains to try 11.05 update.

  2    Q     What does Mr. Vazhgovskyi write?

  3    A     This is the polished list already.              Let's use it now.

  4    Thank you.    Envoy your vacation.

  5    Q     Have you also viewed the attachment to this email?

  6    A     I have.

  7                 MR. MINDLIN:    The Government offers 652TA.

  8                 MR. MARGULIS-OHNUMA:      That, I don't think we have.

  9    Just a moment.

 10                 (Pause.)

 11                 (Continued on the following page.)

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  1    (Continuing)

  2                 MR. MARGULIS-OHNUMA:      Could you just -- I've never

  3    seen it before.      Could you just scroll through it, please.

  4                 THE COURT:    You've never seen this exhibit before?

  5                 MR. MARGULIS-OHNUMA:      No, Your Honor.

  6                 THE COURT:    It was not in the exhibits provided

  7    before trial?

  8                 MR. MARGULIS-OHNUMA:      No.

  9                 You can scroll quickly.

 10                 We have no objection, Your Honor.

 11                 THE COURT:    Admitted.

 12                 MR. MARGULIS-OHNUMA:      We would like a copy provided.

 13                 THE COURT:    The Government will provide a copy at

 14    the lunch break.

 15                 MR. MINDLIN:    Certainly.

 16                 And, Your Honor, in addition to 652T and 652TA, we

 17    would move in 652, the Russian original.

 18                 MR. MARGULIS-OHNUMA:      No objection.

 19                 THE COURT:    Admitted.

 20                 (Government Exhibits 652T, 652TA, 652 received in

 21    evidence.)

 22                 MR. MINDLIN:    Can we please show just to the jury

 23    now.

 24    DIRECT EXAMINATION (Continuing)

 25    BY MR. MINDLIN:



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  1    Q     Looking now at the attachment from the e-mail that Mr.

  2    Vazhgovskyi from VertaMedia sent to the defendant, in general

  3    terms, what does this document appear to be?

  4    A     It's a list of websites.

  5    Q     And what is the first website on the list?

  6    A     si.com.

  7    Q     Do you know what this is?

  8    A     Sports Illustrated.

  9                  MR. MINDLIN:    Can you go to page 2, please, Mr.

 10    Carter.

 11    Q     Looking at the third website down, what is that?

 12    A     It is SI Live.

 13    Q     Do you know what that is?

 14    A     I do.

 15    Q     What is that?

 16    A     It's a newspaper based out of Staten Island.

 17    Q     Did you say Staten Island?

 18    A     Yes.

 19    Q     Can we see page 7, please?        Let's go a little farther

 20    down, farther down.        Up a little bit.

 21                  Do you see Newsday.com on this list?

 22    A     Yes.

 23    Q     What is that?

 24    A     It's a newspaper.

 25    Q     Okay.    Let's turn back to exhibit -- well, I would like



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  1    to turn back to -- I would like to turn off 652TA, but I would

  2    also like to make a record that it was provided to the defense

  3    on December 29, 2020.

  4                   MR. MARGULIS-OHNUMA:    Your Honor, I acknowledge

  5    that.    We found it in the file now.

  6                   THE COURT:   I'm sorry.    What are you acknowledging?

  7                   MR. MARGULIS-OHNUMA:    That it was provided prior.

  8    It was my mistake.      I apologize.

  9                   THE COURT:   Okay.    Is there --

 10                   MR. MINDLIN:   652T, please.

 11                   THE COURT:   This is admitted already?

 12                   MR. MINDLIN:   This is the e-mail we were just

 13    looking at.      We did the attachment for a moment.

 14    BY MR. MINDLIN:

 15    Q       Looking at the e-mail, we saw the list of sites that was

 16    attached to Mr. Vazhgovskyi e-mail; right?

 17    A       Yes.

 18    Q       What does the defendant do with that?         Going up a little

 19    bit.

 20    A       He forwards it.

 21    Q       Who does he forward it to?

 22    A       Boris Timokhin.

 23    Q       And what does he write?

 24    A       He says add new referrers for Verta.

 25    Q       Have you reviewed documents related to payments from



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  1                                  *      *          *

  2                               AFTERNOON SESSION

  3                THE COURT:     We are going to get the jury now.

  4                How much longer does the Government think they have

  5    with Mr. DeCapua?

  6                MR. MINDLIN:     I would estimate in the neighborhood

  7    of two hours.

  8                THE COURT:     Which would take us to close to three

  9    o'clock.

 10                Are your other two witnesses today relatively short?

 11                MS. KOMATIREDDY:      Yes, Your Honor, it is Mr. Koled

 12    is relatively short and Mr. Gaeta can wait until tomorrow.

 13                THE COURT:     Sounds good.

 14                (Jury enters the courtroom.)

 15                THE COURT:     All right.

 16                Please be seated, everyone.

 17                And the Government may continue with the witness.

 18    BY MR. MINDLIN:

 19    Q     Good afternoon, Mr. DeCapua.

 20    A     Good afternoon.

 21                MR. MINDLIN:     Can I ask the court reporter which

 22    exhibit we were reading at the moment we broke.

 23                MR. MARGULIS-OHNUMA:         640.

 24                MR. MINDLIN:     And, Your Honor, 640 was admitted?

 25                THE COURT:     The exhibit we were looking at the time



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  1    we broke was not admitted.

  2                 MR. MINDLIN:    We would offer 640 and 640T at this

  3    time.

  4                 MR. MARGULIS-OHNUMA:      The only issue it's one e-mail

  5    with an attachment; is that right?

  6                 MR. MINDLIN:    Correct.     Two attachments.

  7                 THE COURT:    Two attachments, you said?

  8                 MR. MINDLIN:    There are two files listed in the

  9    e-mail and both of them are included in this PDF.

 10                 MR. MARGULIS-OHNUMA:      No objection.

 11                 THE COURT:    Admitted.

 12                 (Government Exhibit 640 received in evidence.)

 13                 MR. MINDLIN:    Can we show that to the jury.

 14    BY MR. MINDLIN:

 15    Q       Who is this e-mail from?

 16    A       Aleksandr, ibetters2.

 17    Q       Who is it to?

 18    A       Victor Bezer.

 19    Q       And what is the subject line?

 20    A       Forward invoice information for advertising services.

 21    Q       Can you read the text of what ibetters@gmail.com writes

 22    to Mr. Bezer?

 23    A       Both companies are accepting payments for advertising, so

 24    500K in total could be given to these two.

 25    Q       Right below, what information is he passing along?



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  1    A     Hello, in the attachment are two companies that are

  2    accepting payments for advertising services.             Also attached is

  3    the template of the agreement, payments must be broken down by

  4    the amounts, Ksandria, two payments, 175 -- 175,350 and

  5    188,730.    Alicante one payment, 135,920.

  6    Q     Looking at the first attachment, can we go to the next

  7    page, please.

  8                  Where it says beneficiary, can you read what it says

  9    there?

 10    A     It says Alicante, Commerce Corp.

 11    Q     What is beneficiary bank above?

 12    A     Versobank.

 13    Q     Where is Versobank?

 14    A     It is located in Tallinn, Estonia.

 15    Q     Okay.

 16                  MR. MINDLIN:    If we can page down to the next

 17    attachment, please.        Go down to the next page.       If we can zoom

 18    in, please, at the top third of the page.

 19    Q     What company is listed here?

 20    A     Ksandria Group, Inc.

 21                  MR. MINDLIN:    Page down.    A few more pages.       Keep on

 22    going.

 23                  Will you page up for me, please, Mr. Carter.

 24                  Mr. Carter, let's go back to the top and then hit

 25    page down a few more times.          You can hit control home up to



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  1    the top.

  2                Okay.

  3    BY MR. MINDLIN:

  4    Q     Have you reviewed chats about VertaMedia's payments to

  5    the defendant?

  6    A     I have.

  7                MR. MINDLIN:     The Government offers at this time

  8    1635, 1635T, and 1635TE.

  9                MR. MARGULIS-OHNUMA:       No objection.

 10                THE COURT:     Admitted.

 11                (Government's Exhibits 1635, 1635T, and 1635TE

 12    received in evidence.)

 13                MR. MINDLIN:     Can we show that to the jury, please.

 14    Q     Who are the parties to this chat?

 15    A     On the left is ibetters, Aleksandr, the defendant, and on

 16    the right is victor.vertamedia, Victor Bezer.

 17    Q     Why don't you read for the defendant, please, starting at

 18    the top and I will read for Victor Bezer VertaMedia?

 19    A     Hello, let's look at the finances.

 20    Q     Hello, okay.

 21    A     How much total do we have to pay in this month?

 22    Q     One minute.

 23    A     January was dead, frown emoji.           I will prepare requisites

 24    today.   And how much to where?

 25    Q     I'm telling you about the information for payment.



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  1    January is actually times two.

  2    A       Yes.   Yes.   I understand, but January didn't get any

  3    better because of that, smiley emoji.           Can you pay us for

  4    hosting, there is an invoice for 300K servers.com and will

  5    split the remaining 600 between other details.             Plus or minus

  6    600.

  7    Q       To clarify, tell us what companies are available and can

  8    we send pages for ad services to them?

  9    A       Yes.   That's exactly what I prepared, smile emoji, nastra

 10    is smart.

 11                   And then there is a penguin emoji and then a smiley

 12    face.

 13    Q       Agent DeCapua of the FBI, are you familiar with a penguin

 14    emoji?

 15    A       I am not.

 16    Q       Smiley face.    One more thing, I did not account for it in

 17    my payment calculations, but it is highly probably that you

 18    will get hit with the charges, I want you to be emotionally

 19    prepared.

 20    A       For MOAT.

 21    Q       When part of the traffic was identified as data center.

 22    A       Not likely.    They quickly stopped it.       In any case, we

 23    are waiting for you to install MOAT and will check all of our

 24    current work in that direction.

 25    Q       They are about to be connected.        Must be checked.      Send



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  1    me banking details in the meantime.            I will request to prepare

  2    the contracts.

  3    A       We already know how to defeat it.         There's no problem.

  4    Everything will be beautiful as always.

  5    Q       Can you send it by e-mail or here?

  6    A       I'll e-mail everything as soon as I get the invoice for

  7    300K.    Most likely there will be an American company, so there

  8    shouldn't be any problems.          Give me your banking details, to

  9    which company should I issue an invoice for the hardware.

 10    Q       Wait a bit.     I'll find whether we can do it this way or

 11    if we can pay for the hardware.

 12    A       Okay.

 13    Q       We can send it to Bulgaria to a physical entity.

 14                    Okay.

 15                    We'll be waiting.

 16    A       Is regionaleinvesdiju yours?

 17    Q       No.   We sent from America.

 18    A       And we have a complete misunderstanding with the bank.

 19    We are closing the account and the money you sent to Integra,

 20    around 190K, we'll have to send back, so you can send it for

 21    my regular requisite.         Give me the banking information where

 22    to send, please.

 23    Q       Question, do you need the banking information where we

 24    were sending from?

 25    A       I believe so.



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  1                Which one is open?

  2    Q     It's okay.     We have both American and offshore, but if we

  3    had sent from the American account then this old account is

  4    closed and you can no longer transfer money there.              Let me

  5    find out.    When did we send on what date?

  6    A     Honestly, I don't give a fuck.           Just give me American

  7    banking details that include VertaMedia.

  8                Hello, can you put together the following letter for

  9    us?

 10                Quote, recommendation letter from partners stating

 11    that you have been collaborating with us for a long time, and

 12    we proved ourselves to be a reliable partner, offer quality

 13    services, et cetera.       The recommendation letter must be on the

 14    company letterhead, with the CEO's signature and company

 15    stamp, end quote.      This is for the bank.

 16    Q     I don't think that will be a problem, but wait 'til

 17    tomorrow.    Just tell me company and bank information.

 18    A     Yeah, okay.

 19    Q     When will you send the other details?

 20    A     I'll send everything tomorrow in one set, banking details

 21    and the rest.

 22                Everything is pretty much ready.

 23                How much will you be able to send to a physical

 24    entity?    Is 200 okay?

 25    Q     Yesterday I asked about 150.         They said should not be a



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  1    problem.    I think 200 is not a problem either.

  2    A     Yeah, I will just send it to my personal account.

  3                MR. MINDLIN:     The Government moves into evidence

  4    1610, 1610T, and 1610TE.

  5                MR. MARGULIS-OHNUMA:       No objection, Your Honor.

  6                THE COURT:     Admitted.

  7                (Government's Exhibits 1610, 1610T, and 1610TE

  8    received in evidence.)

  9                THE COURT:     You said no objection; right?

 10                MR. MARGULIS-OHNUMA:       Correct.

 11                MR. MINDLIN:     Can we show the jury Government

 12    Exhibit 1610TE.

 13    Q     Who are the parties to this chat?

 14    A     On the left is ibetters, Aleksandr, the defendant, and on

 15    the right is victor, vertamedia, Victor Bezer.

 16                MR. MINDLIN:     Can we see page 2, please.

 17    Q     Looking at the top line, who is speaking there?

 18    A     On the top line, the person on the right is speaking.

 19    That's Victor Bezer.

 20    Q     I will read that line.

 21                We can send up to 300, 400K per company, maybe even

 22    more provided that it will be a regular company under your

 23    name not just an account with money coming and going to and

 24    from different places.

 25                Now, if you can skip down, please, Mr. DeCapua, to



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  1    10:10:36.    Who is speaking on that side?

  2    A     It is the defendant.

  3    Q     Please read that row and the next one.

  4    A     Aleks X will accept 300K for the ads.           I'll give you his

  5    banking details right now.        This is Webzilla hosting, but they

  6    are ready to accept for the ads.

  7    Q     Let's see the next page, please.          Can you read, please,

  8    at 10:56:29 and the following row.

  9    A     Waiting for banking details.         Send 300K for ads here.

 10    And then it continues.       It's wire transfer.

 11    Q     What is the bank for that wire transfer information?

 12    A     Bank of America.

 13    Q     What is the account name?

 14    A     The account my name is Webzilla, Inc.

 15    Q     And what does Mr. Bezer respond?

 16    A     He responds with company name and address.

 17    Q     And what did the defendant say?

 18    A     He said Webzilla, Inc. 20801 Biscayne Boulevard,

 19    Adventura Florida.

 20                What went where?      I see 83 to Epese.

 21    Q     Finally, if we can go to the very last page, please.

 22                Can you read -- there we go.         Can you read the last

 23    line for the defendant?

 24    A     And what about the wires?        What was sent?

 25    Q     What does Mr. Bezer respond?



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  1    A       He responds with 14,955.50; Zhukov Aleksandr, 50,000

  2    Epese paid, $100,000 Epese paid, $249,965 Alicante Commerce

  3    Corp. paid.       298,663 Webzilla, Inc. paid.       343,064.68 Must

  4    Trade Limited paid.

  5    Q       And have you reviewed communications about renting IP

  6    addresses?

  7    A       I have.

  8    Q       In fact, we were looking at a communication like that

  9    when we broke on Friday; right?

 10    A       I believe so.

 11                 MR. MINDLIN:    Can you please show the witness

 12    Exhibit 612-E already in evidence, and for the jury as well.

 13    Q       So who are the participants in this chat?

 14    A       On the left is Media Methane, Aleksandr ZH, the

 15    defendant.    And on the right is Data Name One, and the user

 16    name is Mike IP Leasing.

 17    Q       And in the chat that we read last week, this person, Data

 18    Name One provided an e-mail address at something called the

 19    Host Store; correct?

 20    A       I don't remember specifically.

 21    Q       We can go back to that chat after this one.

 22                 Why don't you read the left-hand side and I will

 23    read the right-hand side.

 24                 MR. MINDLIN:    Sorry.    So let's pull up 612E for the

 25    jury.



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  1    Q     Read the left-hand side, please, for the defendant.

  2    A     Hi.   We need to change who is info urgent because we

  3    getting problems about that, all IP we leased need to be

  4    changed.    M?

  5    Q     What kind of change do you want to make?

  6    A     I need to change name of company because we have problems

  7    using it.    It seems like hoster IP, but we need make it look

  8    like home internet provider.

  9    Q     We can't use false information there.

 10    A     I can buy some company this week with the name like

 11    America online wireless and give you copy docs to make

 12    changes.    I buy company, we sign lease contract and you

 13    change.

 14                (Continued on following page.)

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  1    EXAMINATION CONTINUES

  2    BY MR. MINDLIN:

  3    Q     What part of WHOIS do you wish to change exact?

  4    A     All.

  5                 And then it appears they pasted information.

  6                 Net name, server network technology, organization,

  7    server network technologies, org name, server network

  8    technologies, et cetera.         Plus Maxmind and ip2 location also

  9    must be changed.

 10    Q     I did submitted requested for all ranges to Maxmind on

 11    the first day and they did processed most of the requests.

 12    Not sure what ip2 location is.         Let me see what I can do about

 13    the name.    Does the problem is with that net only or all?

 14                 104.239.87.66 in Maxmind is:          Comcast Cable

 15    Communications.

 16    A     And then in this next chat you can see where he pastes

 17    one of the specific things that the other person said, and he

 18    says all.    And then puts a sad emoji.

 19    Q     So Maxmind is okay?

 20    A     Send ip2 location also please the same names as you used,

 21    but anyway we have big problems by WHOIS and have to do

 22    something.

 23    Q     Agent, before we go on, if I can just briefly direct you

 24    back to chat 611, Government Exhibit 611 also in evidence,

 25    also with the same guy.       I want to review who this is.



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  1                  MR. MINDLIN:    611E, please.

  2    BY MR. MINDLIN:

  3    Q     So, who is the person on the right here?

  4    A     It's dataname1, Mike-IP leasing.

  5                  MR. MINDLIN:    Mr. Carter, can we just drop down to

  6    the whole page?

  7                  Further down, further down -- no, stop there.

  8    Q     Final row, can you read the e-mail address that Dataname1

  9    Mike provides?

 10    A     It's billing@hoststore.com.

 11    Q     It's return to 612E.

 12                  Looking at 612E, are you familiar with the term

 13    hoster?

 14    A     I am.

 15                  MR. MINDLIN:    And, Mr. Carter, if we could look one

 16    page up, please?        A little further up.       Okay.

 17    BY MR. MINDLIN:

 18    Q     So, at 5:51:11, you read out on the left:              It seems like

 19    hoster IP, correct?

 20    A     Correct.

 21    Q     What is a hoster?

 22    A     A hoster is a company that maintains a datacenter that it

 23    hosts a website.

 24    Q     Can it host a server?

 25    A     So, a server also hosts a website.            A datacenter will



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  1    have servers that host websites.

  2    Q      Can servers and datacenters do other things besides

  3    hosting websites?

  4    A      Yes.

  5    Q      And what is a home internet provider?

  6    A      A home internet provider is a company like Comcast or

  7    Charter where people that want to access the internet, they go

  8    through to get a home internet connection.

  9    Q      Do ordinary people that are browsing the internet

 10    typically use one or the other of these?

 11    A      Yes, they use home internet providers, ISPs.

 12    Q      Let's go down to page 2 again and resume where we left

 13    off.

 14                  Could you send me the link where we can submit the

 15    change request?      Also give me some example names for the Arin

 16    WHOIS company name.       We can't use Comcast and other existing

 17    company names as if Arin notice it will be a problem.              Also, I

 18    don't think it can contain wireless because we are a hosting

 19    provider and if Arin notice we're using such false term it

 20    might be a problem too.

 21                  Have you reviewed other communications with Host

 22    Store?

 23    A      I have.

 24                  MR. MINDLIN:    The Government moves into evidence

 25    Exhibit 1653, and 1653E.



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  1                 MR. MARGULIS-OHNUMA:      Your Honor, with respect to

  2    1653, it's 99 pages, not all of which is relevant.              So, we

  3    object.

  4                 With respect to the extract, we have no objection.

  5                 THE COURT:    But the objection is relevance as to the

  6    remainder?

  7                 MR. MARGULIS-OHNUMA:      Yes, Your Honor.

  8                 THE COURT:    Okay, overruled.        They're admitted.

  9                 (Government's Exhibits 1653 and 1653E were received

 10    in evidence.)

 11                 MR. MINDLIN:    Can the jury briefly be shown 1653E,

 12    please?

 13                 (Exhibit published.)

 14    BY MR. MINDLIN:

 15    Q     Can you just read the first row, please, Agent DeCapua?

 16    A     Do you have any update on the status of the wire?

 17    Q     And what's the response?

 18    A     Today will be sent by urgent -- no worries.            I will say

 19    you before few week if we cancel.

 20    Q     In addition to Host Store, have you reviewed

 21    communications with another company called IPV4 Leasing?

 22    A     Yes.

 23                 MR. MINDLIN:    We offer 313.

 24                 MR. MARGULIS-OHNUMA:      No objection.

 25                 THE COURT:    Admitted.



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  1                 (Government's Exhibit 313 was received in evidence.)

  2                 MR. MINDLIN:    For the jury, please.

  3                 (Exhibit published.)

  4    BY MR. MINDLIN:

  5    Q     Generally speaking, what kind of document is this?

  6    A     This is a lease agreement.

  7    Q     And who are the parties to this agreement, who is it

  8    between?

  9    A     It's between the company IPV4Leasing.net and Mintek Group

 10    Limited.

 11                 MR. MINDLIN:    And let's go to the final page,

 12    please.

 13                 (Exhibit published.)

 14    Q     Looking up a little bit.

 15                 Who is the technical point of contact for Mintek?

 16    A     It's Aleksandr Zhukov.

 17    Q     Position?

 18    A     CEO.

 19    Q     E-mail?

 20    A     A@mediamethane.com.

 21    Q     And looking down, is it signed for Mintek?

 22    A     Yes, it is.

 23    Q     Let's go back to the first page.

 24                 Does this contract list the IP addresses that the

 25    defendant rented?



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  1    A     It does.

  2    Q     And what IP addresses are being rented here?

  3    A     It's a range of IP addresses, and that range is signified

  4    by 196.62.0.0/16.

  5    Q     Do you know how many IP addresses that is?

  6    A     Not off the top of my head, I would need something to

  7    refresh my memory.

  8                 MR. MINDLIN:    I'd like to refresh the witness with

  9    3500-JD2.

 10                 (Exhibit published.)

 11    BY MR. MINDLIN:

 12    Q     Does that document refresh your memory about how many IP

 13    addresses are in a slash-16 range?

 14    A     It does.    In a slash-16 range there's a 65,536 IP

 15    addresses.

 16                 MR. MINDLIN:    Let's return to Exhibit 313, please.

 17    I'm sorry.    313, yes, that's right.

 18                 (Exhibit published.)

 19    Q     Can you tell us again --

 20                 MR. MINDLIN:    Oh, for the jury please as well.

 21                 (Exhibit published.)

 22    BY MR. MINDLIN:

 23    Q     How many IP addresses does this mean, this thing with a

 24    slash-16 here?

 25    A     So, that number with a slash-16 it means a range of



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  1    65,536 IP addresses.

  2    Q     Okay.

  3                  MR. MINDLIN:    And if we could please keep this up,

  4    but also show the witness Government Exhibit 1.

  5                  (Exhibit published.)

  6    BY MR. MINDLIN:

  7    Q     Did you review the list of IP addresses in Government

  8    Exhibit 1 in preparation for your testimony?

  9    A     I did.

 10    Q     Did you check whether the IP address range in Government

 11    Exhibit 313 appears in Exhibit 1?

 12    A     I did.

 13                  MR. MINDLIN:    Mr. Carter, if you could put up the

 14    combined exhibit that shows 313 and 1 in one page, it might be

 15    a little easier.

 16                  Okay, zoom in a little bit.

 17                  (Exhibit published.)

 18    BY MR. MINDLIN:

 19    Q     So, looking now at 313, can you show us where the IP

 20    address range in 313, the Mintek Group contract to rent IP

 21    addresses, where that appears in Government Exhibit 1, the

 22    White Ops list of IPs?

 23    A     It appears in the lower right-hand side, 196.62.0.0/16.

 24    Q     And those match?

 25    A     They match.



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  1                  MR. MINDLIN:    The Government enters into evidence or

  2    moves in Government Exhibit 322.

  3                  MR. MARGULIS-OHNUMA:     No objection.

  4                  THE COURT:   Admitted.

  5                  (Government's Exhibit 322 was received in evidence.)

  6                  MR. MINDLIN:    For the jury, please.

  7                  (Exhibit published.)

  8    BY MR. MINDLIN:

  9    Q     What kind of document is this?

 10    A     This is an invoice.

 11    Q     And what's the invoice for?

 12    A     It's for the leasing of IP addresses.

 13    Q     Who is it to?

 14    A     It is to the Mintek Group.

 15    Q     Represented by whom?

 16    A     Aleksandr Zhukov.

 17    Q     And who's invoice is it?

 18    A     It's an invoice from IPV4 Leasing.

 19    Q     The same company on the prior document, right?

 20    A     Yes.

 21    Q     What is being -- what's being invoiced here, what's the

 22    product?

 23    A     Again, there is a range of IP addresses.

 24    Q     Okay.

 25                  And how much is -- as reflected in this document,



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  1    how much is Aleksandr Zhukov paying to lease those IP

  2    addresses?

  3    A     He's paying $220,000.

  4    Q     Did you compare the IP address range here with the White

  5    Ops list?

  6    A     I did.

  7                 MR. MINDLIN:    Mr. Carter, if we could see 322 and 1

  8    on the same page, on the combined -- combined document.

  9                 (Exhibit published.)

 10    BY MR. MINDLIN:

 11    Q     Can you indicate, please, where on Government Exhibit 1,

 12    the White Ops list, this IP range from the defendant's

 13    contract appears?

 14    A     So, it's at the top left of the -- of the list of IP

 15    addresses, 165.52.0.0/14.

 16                 MR. MINDLIN:    The Government moves in Exhibit 343.

 17                 MR. MARGULIS-OHNUMA:      No objection.

 18                 THE COURT:    Admitted.

 19                 (Government's Exhibit 343 was received in evidence.)

 20                 MR. MINDLIN:    For the jury, please.

 21                 (Exhibit published.)

 22    BY MR. MINDLIN:

 23    Q     Generally speaking, what type of -- is this similar to

 24    what we just saw?

 25    A     Yes.



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  1    Q     And how much -- how much is Aleksandr Zhukov paying for

  2    these IP addresses based on this document?

  3    A     For both sets of IP addresses, he's paying a total of

  4    $120,000.

  5    Q     Did you compare these IP address ranges with Government

  6    Exhibit 1, the White Ops list?

  7    A     I did.

  8                MR. MINDLIN:     Mr. Carter, if we could see a combined

  9    exhibit showing 343 and 1.

 10                (Exhibit published.)

 11    BY MR. MINDLIN:

 12    Q     Can you indicate, please, where on Exhibit 1 those two IP

 13    address ranges that are reflected here as being rented by the

 14    defendant, where they appear on Government Exhibit 1?

 15    A     So, for Block B, it's in the upper left-hand corner, it's

 16    160.184.0.0/16.      And for Block A, it is just below that where

 17    it reads 168.211.0.0/16.

 18    Q     Have you reviewed any chats with representatives of this

 19    company, IPV4 Leasing?

 20    A     I have.

 21                MR. MINDLIN:     The Government moves in Exhibit 614

 22    and 614E.

 23                MR. MARGULIS-OHNUMA:       No objection.

 24                THE COURT:     Admitted.

 25                (Government's Exhibits 614 and 614E were received in



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  1    evidence.)

  2                 MR. MINDLIN:    Can the jury please see 614E?

  3                 (Exhibit published.)

  4    BY MR. MINDLIN:

  5    Q     So, if you could just tell the jury who are the two

  6    people chatting here, who are the two names at the top of this

  7    document?

  8    A     So, on the left is the defendant, ibetters, Alexander;

  9    and on the right is IPV4Leasing and the nickname is

 10    IPV4Leasing LLC.

 11    Q     And as we've been doing, I'm going to ask you to read the

 12    left-hand side for the defendant, I'll read the right.

 13                 Please start.

 14    A     What info you need from me?         Name of companies to put in

 15    WHOIS?

 16    Q     Yes.    The contract has company information:

 17                 Name, Mintek Group Ltd.

 18                 Physical address, and I'll skip a little bit, in the

 19    Seychelles.

 20                 Telephone plus 359898390027.

 21                 E-mail A@mediamethane.com.

 22                 Technical point of contact, Aleksandr Zhukov.

 23                 So, would you like WHOIS to as above?

 24    A     I would like to put different companies there... to make

 25    IPs look like home internet provider.



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  1    Q     Or will actual users be different companies from above?

  2    OK, in that case please send the info.             If possible in the

  3    same format as above.       Company Info, Admin Contact, Tech

  4    Contact.    If Admin and Tech Contact are the same, then it's

  5    also fine.

  6    A     Can we made admin and tech contact empty?              Or anonymous?

  7    Q     No, that is not possible unfortunately.            It is mandatory

  8    requirement for registration.

  9    A     Okay.... moment.

 10    Q     Okay..

 11                  Can we read -- continue, please, reading for the

 12    defendant.

 13    A     Comcast Cable Communications, Inc.; Time Warner Cable,

 14    Inc.; Verizon Trademark Services, LLC; AT&T Services, Inc.;

 15    Cox Communications, Inc.; Charter Communications Operating,

 16    LLC; Cequel Communications Holdings, CenturyLink, Inc.

 17                  Same for all, adw0rd.yandex.ru@gmail.com, and then

 18    there's a phone number.

 19    Q     Do you recognize the names that you just read?

 20    A     I do.

 21    Q     Generally speaking, what types of names are these, what

 22    are these the names of?

 23    A     They're the names of the most popular home ISPs.

 24    Q     And by home ISPs, what do you mean?

 25    A     I mean the internet service providers that people use in



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  1    order to connect to the internet.

  2    Q     Continue reading in excerpt 2.

  3                  So how about the "country" attribute for each block?

  4    A     U.S.

  5    Q     Okay, thanks.

  6    A     For every.

  7    Q     OK.

  8    A     But -- but how to change the same WHOIS for Maxmind.

  9    Q     Maxmind and other geo-loc pick up the blocks and

 10    associated country attributes after a while.            Maxmind are an

 11    independent service, so we don't control.            But they usually

 12    pick up the correct info.

 13    A     I know that there is the way to submit IP info for their

 14    review... can you ask some of your managers to submit it to

 15    their database?

 16    Q     Stopping here for a moment, Agent DeCapua.

 17                  Are you familiar with Maxmind?

 18    A     I am.

 19    Q     Generally speaking, what is Maxmind?

 20    A     It's a company that provides a service that if you give

 21    them an IP address, they will tell you where that IP address,

 22    where the server is located for that IP address.

 23    Q     Have you gone -- does Maxmind accept information from the

 24    public, like corrections?

 25    A     It does.



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  1    Q     Have you been to the website where they accept that

  2    stuff?

  3    A     I have.

  4                 MR. MINDLIN:    Can we please -- the Government moves

  5    in 1014 and 1015.

  6                 MR. MARGULIS-OHNUMA:      1014?

  7                 MR. MINDLIN:    1014 and 1015.

  8                 MR. MARGULIS-OHNUMA:      Sorry, no objection.       So, I'm

  9    looking at 1015 on the screen.         No objection to that.

 10                 And now I'm looking at 1014 and I have no objection

 11    to that either.

 12                 THE COURT:    They are admitted.

 13                 (Government's Exhibits 1014 and 1015 were received

 14    in evidence.)

 15                 MR. MINDLIN:    Let's stay on 1014.       Can we show the

 16    jury please and can you zoom in a little bit?

 17                 (Exhibit published.)

 18    BY MR. MINDLIN:

 19    Q     Agent DeCapua, is this a screenshot of the page that you

 20    were just talking about?

 21    A     Yes, it is.

 22    Q     Can you explain to the jury what this is, just very

 23    generally?

 24    A     So, this is a web page located on the website of

 25    Maxmind.com that allows someone to input information about



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  1    what city and country a specific IP address that server is

  2    located.

  3    Q     And it says it accepts corrections, is that right?

  4    A     That's right.

  5    Q     Let's return now, please, to the prior exhibit, 614E.

  6                 MR. MINDLIN:    Zoom in.     Now let's go down to the

  7    next page.

  8                 (Exhibit published.)

  9    BY MR. MINDLIN:

 10    Q     Okay, so if you could resume again at 3:46:19 and just

 11    read that, start there.

 12    A     I know that there is the way to submit IP info for their

 13    review...    can you ask some of your managers to submit it to

 14    their database?

 15    Q     As -- continue, please; sorry.

 16    A     As all sites use Maxmind database, we have to wait when

 17    they will update their datas.         'Cause we have to be U.S. users

 18    during surfing.

 19    Q     Okay, so the form says city, state/province, postal code,

 20    country, e-mail, used only to contact you regarding this

 21    correction.     Please provide an ISP or organization name.            ISP,

 22    organization.

 23                 As you listed several ISPs in the SWIP data, I am

 24    not sure which one to use and ISP?

 25    A     Verizon Trademark Services, LLC, New York, U.S.



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  1    Q       City, state, postal code, country, yes, country U.S. of

  2    course, but other info?

  3    A       E-mail and phone.     Adw0rd.yandex.ru@gmail.com, and then

  4    there's a phone number.

  5                 MR. MINDLIN:     Can we please show the jury Government

  6    Exhibit 508 already in evidence from Domain Tool?

  7                 Zoom in on the entry, please.

  8                 (Exhibit published.)

  9    BY MR. MINDLIN:

 10    Q       What is the -- can you look at the description field?

 11                 What does it say there?

 12    A       It says Verizon Trademark Services, LLC.

 13    Q       And what's the e-mail address on file for this, who is

 14    that?

 15    A       It's adw0rd.yandex.ru@gmail.com.

 16                 MR. MINDLIN:     Let's return to 614E, please.

 17                 Actually before we do that, if you could put back

 18    up, Mr. Carter, 508 on the same page as 1 and 343.              I believe

 19    there's an exhibit that combines them.

 20                 (Exhibit published.)

 21    BY MR. MINDLIN:

 22    Q       Okay, looking at this exhibit, on the left-hand side is

 23    the IP address that you just read out information for,

 24    correct?

 25    A       Correct.



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  1    Q     And what's that IP address?

  2    A     It is 160.184.255.255.

  3    Q     Okay, and do you see that on 343, the invoice to the

  4    defendant for renting IP addresses?

  5    A     (No response.)

  6    Q     Do you see that?

  7    A     Yes, it's under Block B, 160.184.0.0/16.            The IP address

  8    on the left is included within that range.

  9    Q     And does that range appear in Government Exhibit 1, the

 10    White Ops list of IP addresses?

 11    A     It does, it's on the top left of Exhibit 1,

 12    160.184.0.0/16.

 13

 14                (Continued on the following page.)

 15

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  1    EXAMINATION BY

  2    MR. MINDLIN:

  3    (Continuing.)

  4    Q     And you said the name on this WHOIS record is Verizon

  5    Trademark Services; correct?

  6    A     Correct.

  7    Q     Let's return to 684 briefly.         684E.

  8                      Pardon me.     Take it off screen.

  9                      614E.

 10                MR. MARGULIS-OHNUMA:        Say again.

 11                MR. MINDLIN:      614E, the chat we were just

 12    reviewing.

 13                Okay.    Let's resume reading where we stopped off.

 14                Please go to two.

 15    A     10002.

 16    Q     Okay.     I forgot to say good morning.        Smile.     Sorry.

 17    So let's wait then.

 18    A     Morning.      You sent all three blocks?

 19    Q     No.     Just 196.62.0.0/16.     You did not yet sign the

 20    agreement for the others.

 21    A     Sent all three, please.        We plan to sign contract on

 22    Monday cause I'll be in the office with printer.              Smile

 23    emoji and pay you wire till 5th October.

 24    Q     Okay.     Let us inform them since you have confirmed.

 25                MR. MINDLIN:      And, Mr. Carter, if you can skip


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  1    down a little bit.         I'll stop there.

  2    Q      Perhaps if you give me the city and ZIP where the DC is

  3    so then I give it to them or wait for their probes to auto

  4    detect.       Thanks.

  5    A      Hi.     Dallas.    75201.

  6    Q      Okay.     And the company name to use perhaps the DC

  7    operator name?

  8    A      servers.com.       But better if you put the name of one of

  9    the companies I gave you.

 10    Q      Okay.     I'll provide them with this then.        Will this do?

 11    Century Link, Dallas 75201.

 12    A      Or this.     Verizon Trademark Services, LLC.

 13    Q      Verizon Trademark Services, LLC, Dallas 75201.

 14    A      Yup.

 15    Q      Okay.     That's what I will give them, done.         If Maxmind

 16    come back, I will give them same info.            Hi.   Looks like

 17    Maxmind geo IP is up so that is sorted now.

 18                       If you can generally describe what's in that

 19    big box on the left?

 20    A      It looks like WHOIS information, the type of

 21    information I would expect to see in a WHOIS query.

 22    Q      And what's the entity description there?

 23    A      The description is Verizon Trademark Services, LLC.

 24    Q      What's the comment below it.        The final line of that

 25    row?


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  1    A     All looks good here.

  2    Q     Finally, can you read what the defendant writes in

  3    excerpt 11?

  4    A     Can you also change one block to different city?

  5    New York is the best!

  6    Q     You reviewed other documents involving HostStore?

  7    A     I have.

  8                MR. MINDLIN:      I'd like to move into evidence at

  9    this time Exhibit 615 and 615T.

 10                MR. MARGULIS-OHNUMA:        No objection.

 11                THE COURT:     Admitted.

 12                (Government's Exhibits 615 and 615T were received

 13    in evidence as of this date.)

 14                MR. MINDLIN:      For the jury, please.

 15    Q     Can you tell us who the parties are of this e-mail?

 16    A     It's from Denis Avdeev, e-mail address

 17    aviapost08@gmail.com and it's to Boris Timokhin.              E-mail

 18    address is mathete.com@gmail.com.

 19                MR. MINDLIN:      With respect to Mr. Avdeev, I move

 20    into evidence 1655 and 1655T.

 21                MR. MARGULIS-OHNUMA:        There's an objection there.

 22    Scroll to the top.       Judge, a voir dire to clarify?

 23                THE COURT:     Please.

 24    VOIR DIRE EXAMINATION

 25    BY MR. MARGULIS-OHNUMA:


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  1    Q     Sir, you see there's a word all the way at the top

  2    there?

  3                MR. MINDLIN:      The question is for the witness.

  4    Q     Mr. DeCapua, so looking at government exhibit for

  5    identification 1655T, there's a word all the way at the top?

  6                THE COURT:     Which apparently we're not going to

  7    read.

  8                Do you see the word in all caps?

  9                THE WITNESS:      Yes.

 10    Q     Do you know how that got there as part of the original?

 11    A     I have no idea.

 12    Q     And scrolling, do you know what the source of this

 13    exhibit was?

 14    A     I don't.

 15                MR. MARGULIS-OHNUMA:        I'm objecting to

 16    authentication and to the insertion of that word at the top.

 17                THE COURT:     Has this been authenticated?

 18                MR. MINDLIN:      It's been authenticated by

 19    Mr. Gorsky.

 20                THE COURT:     Do we need to step outside to talk

 21    about the word at the top?

 22                MR. MINDLIN:      I think we can arrange simply to

 23    start the exhibit a little bit lower so it doesn't appear.

 24                MS. COHEN:     Are you going to redact it?

 25                MR. MINDLIN:      We're going to redact, yes.         And, at


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  1    this time, Mr. Carter will make sure the top word doesn't

  2    appear.

  3                MR. MARGULIS-OHNUMA:        Based on the

  4    representations, I will withdraw the objection.

  5                THE COURT:     Okay.    So subject to the Government's

  6    commitment to redact the word at the very top and not to

  7    display that very top to the jury, at this point the exhibit

  8    is admitted.

  9                (Government's Exhibit 1655T was received in

 10    evidence as of this date.)

 11                MR. MINDLIN:      Can we have this shown to the jury,

 12    please.     1655T.

 13    EXAMINATION BY

 14    MR. MINDLIN:

 15    (Continuing.)

 16    Q     Do you recognize, generally, the format of this

 17    document?

 18    A     I do.

 19    Q     And what kind of thing are we looking at?

 20    A     It's a WhatsApp chat.        It's a screenshot of a WhatsApp

 21    chat.

 22    Q     Who is the being person chatted with based on the text?

 23    A     It's Programmer Borya.

 24    Q     Can we scroll down a little bit?

 25                      And you said earlier that the owner of the


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  1    phone appears on the right-hand side in the WhatsApp chat;

  2    is that right?

  3    A     That's right.

  4    Q     Can you read what Programmer Borya says at 1653?

  5    A     I could do that, yes.

  6    Q     One line above, please.

  7    A     Sorry.    Well, maybe you could take care of all the

  8    WHOIS's.

  9    Q     What's the response?

 10    A     I can do that, yes.

 11    Q     What does Programmer Borya say?

 12    A     Although we fucked up a month, it seems like April will

 13    be the same.

 14    Q     And what is the response on the right?

 15    A     I've been thinking.       Why don't we have Denis do that.

 16    Let him handle and track everything.

 17    Q     We can stop there and let's return to 615T, the e-mail

 18    chain we were just looking at with Denis Avdeev.

 19                      You testified this was an e-mail chain, right?

 20    A     Yes.

 21    Q     In general, what is Mr. Avdeev sending to Mr. Timokhin?

 22    A     He is sending him a forwarded message.

 23    Q     Okay.    And who is he communicating with in the

 24    forwarded message?

 25    A     Denis Avdeev is communicating with Mike C whose email


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  1    address is mike@hoststore.com.

  2    Q     With respect to Mr. Avdeev, if you could show the jury

  3    201, please, already in evidence.           The records from

  4    Webzilla.

  5                      Zooming in, do you see the main contact name

  6    there on this Webzilla record?

  7    A     I do.

  8    Q     What's the name?

  9    A     It is Alexander Zhukov.

 10    Q     There's other contacts below?

 11    A     Yes.

 12    Q     What does it say under other contacts?

 13    A     It says, Denis Avdeev.

 14    Q     How is he described in the row just above?

 15    A     Technical.

 16    Q     Okay.    Let's return to 615T.       Okay.    Let's go to the

 17    lowest e-mail in the chain on Page 3, please.

 18                      A little lower.      Keep on going down.       Keep on

 19    scrolling, there should be one more.           Okay.    Come up a

 20    little bit.     You can keep going up.

 21                      Okay.   So who is writing here?

 22    A     Denis Avdeev.

 23    Q     And can you read what Mr. Avdeev writes, please?

 24    A     Hello Mike.     In our last correspondence, you had

 25    planned that, "Ip2location has confirmed that the City


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  1    locations have been changed successfully."             And then there's

  2    an IP address range that Middletown, Delaware.              Another

  3    range, it says of Brookside, Delaware.            Another range, it

  4    says Newark, Delaware.        And it continues for a bunch of

  5    other cities in Delaware, Dover, Wilmington, Bear, Delaware.

  6    Q     What does it say next.        Yeah, go ahead?

  7    A     One.   You said that Wilmington will be allocated no

  8    more than 65K IP.        And in the new report, Ip2location them

  9    over 150k.

 10                      And then again there's a list of city names:

 11    Bear, 16356.     Brookside, 8178.       It continues.      Dover, 32713.

 12    Wilmington, 150560.

 13                      This is bad we count on you.         Redo all the

 14    way, as we agreed.

 15                      Two:     All of the city in the list are in the

 16    same date (DE).      Middleton, Delaware.        Brookside, DE.

 17    Newark DE.     Dover, DE.     Wilmington, DE.      Bear, DE.       We want

 18    the city was the divided into several states.              It is

 19    necessary.     This is important for us.

 20                      Three.     Next, you promised "They are still

 21    working to change the usage_type to ISP."

 22    Q     Let me stop you there for a minute.           What does ISP

 23    stand for again?

 24    A     It stands for internet service provider.

 25    Q     Who uses internet service providers?


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  1    A     People who want to connect to the internet.

  2    Q     Keep going.

  3    A     Once I have more information I will update you.              End

  4    quote.

  5                      Based on the report in May Ip2location

  6    usage_type.     COM:    22487, DCH:     238474.

  7                      As we see no changes have occurred.           We are

  8    waiting for these changes.         Analyze it, please.

  9    Q     Are you familiar with the abbreviation DCH in the

 10    context of types of traffic?

 11    A     Yes.

 12    Q     What does it stand for?

 13    A     Datacenter hosting.

 14    Q     Let's go up to Page 2 to the next e-mail exchange.                 Can

 15    you read starting with hello and tell us who is speaking?

 16    A     So this is Mike C at HostStore.com.           Hello.    Please

 17    keep in mind that I did not and cannot promise anything as

 18    we do not have control over Ip2location database changes.

 19    All we can do is to submit the changes that you want to

 20    them.

 21    Q     Keep going.

 22    A     You previously stated the following.           And then there's

 23    two carets indicating that this is pasted from a prior

 24    conversation.      Where it says:      Yes, Mike, right.      And it add

 25    more cities because 200,000 IP in the city.             And then


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  1    there's a Wikipedia link to Wilmington, Delaware with a

  2    population 71,525 it's an overly.           Based on what you

  3    requested, I added more cities.          If you need me to change

  4    cities to "states" I can do that.           Keep in mind that in

  5    U.S., at this is different than "state."            In regard to the

  6    usage_type, I did requested them to change the usage_type

  7    and they said that they did changed it.            I can follow up

  8    with them now.      Respectfully Mike Cerrone.

  9    Q      Finally, let's go to the first page to see the next

 10    exchange in sequence from Mike C to Denis Avdeev.               You could

 11    read the text that starts with, Hello, please.

 12    A      Hello, Ip2location is asking why they should change DCP

 13    to ISP.    They asking what is the ISP name that is using the

 14    IPs.

 15    Q      What does Mr. Avdeev do with that e-mail?

 16    A      He forwards it to Boris Timokhin.

 17                MR. MINDLIN:      The Government moves into evidence

 18    616 and 616T.

 19                MR. MARGULIS-OHNUMA:        No objection.

 20                THE COURT:     Admitted.

 21                (Government's Exhibits 616 and 616T were received

 22    in evidence as of this date.)

 23                MR. MINDLIN:      If we could show this to the jury

 24    and zoom in on the bottom of the page.            Further down.      Thank

 25    you.


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  1    Q      Do you see this red text?

  2    A      I do.

  3    Q      Generally speaking, what does it indicate?

  4    A      It indicates that this document is from Apple and that

  5    it is from the notes associated with the account

  6    ibetters@icloud.com.

  7    Q      Now, if we could get rid of this little zoom.             Thank

  8    you.

  9                      Do you see a table that's in the bottom half

 10    the document?

 11    A      I do.

 12    Q      Let's zoom in on that.

 13                      What type of data does this reflect?           What

 14    does this show?

 15    A      Well, on the left, it's ranges of IP addresses.             And

 16    then on the right there is apparent company names.

 17    Q      Okay.   And can you read the names on the right, please.

 18    A      Home Internet Orang LTD.       Dallas Online LTD.        Verison

 19    Home Provider LTD.       AmOL wireless Net.       Chicago Air Online.

 20    Home Chicago Int.       CH Wireless.     ATOL Intertnet.

 21    Q      Can you read that?

 22    A      ATOL Intertnet.     Speed Home Internet, LTD.         US online

 23    LTD.

 24    Q      Are you familiar with the company Verizon?

 25    A      I am.


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  1    Q     Is it spelled with an S?

  2    A     It is not.

  3    Q     I'm going to ask that Mr. Carter now show the exhibit

  4    that puts this up, 616T along with Government Exhibit 1.

  5                      Have you looked for the IP addresses in this

  6    iPhone note in Government Exhibit 1, the WhiteOps list of IP

  7    addresses?

  8    A     I have.

  9    Q     And with respect to the first, with the ones that do

 10    not end in 154 do they appear in the list?

 11    A     They do.

 12    Q     Do the ones that end in 154 appear in list?

 13    A     I don't believe they do but if you scroll up I can

 14    double check.      Yeah, they don't appear in the list.

 15    Q     Now, we're going show you 616T, that iPhone note

 16    alongside 525B, an excerpt from Domain Tools data.

 17                      Mr. Carter if you can put up 616T and 525B.

 18                      So, Mr. Carter, if you could zoom in a little

 19    bit, please.     Okay.    Looking down.      Mr. Carter, scroll down.

 20                      Can you read the IP range for that first

 21    entry?

 22    A     It's 191.96.70.0/23.

 23    Q     And what's the ISP name associated there.

 24    A     Home Internet Orang LTD.

 25    Q     Zooming in plow do you see Home Internet Orang LTD in


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  1    this list of WHOIS data for the IP addresses in the WhiteOps

  2    list?

  3    A     Yes.    It's towards the right side of the screen.

  4    Q     Okay.    In fact, all the ones in this list are from Home

  5    Internet Orang; correct?

  6    A     Yes.

  7    Q     Mr. Carter, if we could show 616T with 525C.

  8                      Do you see Dallas Online LTD from the

  9    defendant's iCloud note in this list of WHOIS data for the

 10    WhiteOps IP addresses?

 11    A     I do.    Again, it's on the right side of the screen.

 12    Q     Mr. Carter, can you show the jury, please.             We could

 13    please compare 616T and 525D as in Daniel.

 14                      Does Verison Home Provider appear in this list

 15    of WHOIS data from Domain Tools for the WhiteOps IP

 16    addresses?

 17    A     Yes, it does.

 18    Q     Can we please see 525E combined with 616T.             It's the

 19    combination exhibit that lists 616T and 525.             There we go.

 20                      Does AmOL wireless Net appear in the

 21    Domain Tools data showing IP entries on the WhiteOps list?

 22    A     Yes, it does.

 23    Q     Can we see 525F.      Okay.

 24                      Does Chicago Air Online appear in this list of

 25    Domain Tools data showing WHOIS output for the WhiteOps list


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  1    of IP addresses?

  2    A     Yes, it does.

  3    Q     Can we see 525G, please.        What about Home Chicago INT.

  4    Is that one of the internet service provider names appearing

  5    in this list of Domain Tools data for the WhiteOps IPs?

  6    A     Yes.

  7    Q     Can we see 525K, please.

  8                      Does US online LTD appear in the WHOIS output

  9    for the WhiteOps IPs?

 10    A     Yes, it does.

 11    Q     Okay.

 12                 MR. MINDLIN:     The Government moves into evidence

 13    627, 627T and 627TE.

 14                 THE COURT:     All 627, you said?

 15                 MR. MINDLIN:     All 627s, that's correct.

 16                 MR. MARGULIS-OHNUMA:       There's an issue with the

 17    underlying.      We object to the underlying I believe the

 18    GX-627.      Take them one at a time.

 19                 One moment, your Honor.

 20                 We're going to object, your Honor, under Rule 403

 21    to the very last line of Page 1 of 627T except that it

 22    appears redacted on the version on the screen so we won't --

 23                 MR. MINDLIN:     This is 627 and not 627T.

 24                 MR. MARGULIS-OHNUMA:       What was this on the screen

 25    is 627.      Now what's on the screen is 627T and we object to


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  1    the last line on Page 1 coming into evidence, your Honor

  2    under Rule 403.

  3                THE COURT:     Who is the speaker?       Why don't we take

  4    our afternoon break now.        We'll regroup at 2:40 and the

  5    parties will come for a brief sidebar.

  6                THE COURT:     If you all recall we're concluding at

  7    4:00 o'clock today.

  8                (Jury exits courtroom at 2:28 p.m.)

  9                THE COURT:     Why is it redacted in the Russian but

 10    not the English?

 11                MR. McCONNELL:      Your Honor, the comment was one

 12    that was almost identical.         So to answer your question, I

 13    don't know why it's redacted in the Russian but not at 627T.

 14    The reason why we're opposing redaction is this exhibit --

 15    is this comment, or one very familiar was elicited, from

 16    Sergey Denisoff during his cross-examination.

 17                It was done, really, I thought for a purpose that

 18    at the time seemed somewhat gratuitous, but there is really

 19    no prejudice at this point now that the jury has already

 20    heard this language from the defendant and another

 21    co-conspirator.

 22                So to redact it here when there was a fair amount

 23    of cross-examination about a very similar comment during a

 24    prior witness's testimony.

 25                THE COURT:     What's the relevance of this line in


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  1    particular?

  2                MR. McCONNELL:      I mean, it's the conversation

  3    between coconspirators.        And it's similar to one that was

  4    elicited intentionally with Mr. Denisoff.

  5                MR. MARGULIS-OHNUMA:        Your Honor, that

  6    mischaracterizes the cross.         I remember being --

  7                THE COURT:     No, it doesn't, in my view.

  8                MR. MARGULIS-OHNUMA:        Your Honor, I was restricted

  9    from crossing about that.         And the point of my cross on that

 10    was to show that Mr. Denisoff --

 11                THE COURT:     I thought your cross on that subject

 12    was gratuitous myself, but I don't think that's a reason why

 13    this should be admissible now.          And so, my question is:

 14    What is the relevance of this line?           If you were to redact

 15    it what would you lose?

 16                MR. McCONNELL:      Again, I think completeness.          It's

 17    referencing individuals that they work with.

 18                THE COURT:     What is the problem that they're

 19    discussing?

 20                MR. MINDLIN:      Your Honor, they're discussing

 21    problems getting advertisers to see their traffic.               They

 22    work with numerous intermediaries that are India based.

 23                MR. MARGULIS-OHNUMA:        Whether there's any lines on

 24    remove comment or the one just prior to it.             I will try to

 25    check from the discovery.


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  1                THE COURT:     What's Riband.

  2                MR. MINDLIN:      It's a partner company in the chain.

  3                THE COURT:     In where?

  4                MR. MINDLIN:      In the chain of by which ad traffic

  5    was being sold towards the demand side.

  6                THE COURT:     Is that company located in India?

  7                MR. MINDLIN:      I don't know the answer to that,

  8    your Honor.

  9                THE COURT:     Okay.    So we don't even know who this

 10    line that the Government, the defense, is saying is

 11    prejudicial who it's referring to or do we?

 12                MR. MINDLIN:      Your Honor, we know that there's

 13    numerous India-based partners in part because several of

 14    them were in chats that we read.

 15                THE COURT:     Okay.    I'm going to ask.       I take it

 16    it's a very easy matter for you to redact this on the fly

 17    right now.     I'm going to ask you to redact that line and we

 18    will continue with the exhibit admitted.

 19                I don't know when we're getting to 684.            This is

 20    the "We steal data, bro," chat talking about sports

 21    statistics.     The Government says they want to admit it, A,

 22    to show the knowledge and preparation to carry out the

 23    charged scheme.      And B, that he knows that using bots to

 24    impersonate human users at scale was wrong and criminal.

 25                So I am going to exclude 684 on the basis that I


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  1    don't think the defendant is disputing that he had the

  2    knowledge and the preparation abilities to create a bot,

  3    right, he's all but conceded that here.            And as to his

  4    knowledge that using bots to impersonate human users at

  5    scale is wrong and criminal.         I don't think that bots that

  6    are engaged in web scraping are actually impersonating human

  7    users.    And so, I'm going to stand on my prior ruling and

  8    684 is excluded.

  9                MR. MINDLIN:      Okay, Judge.

 10                THE COURT:     I'm going to take a five-minute break.

 11    We'll be right back.

 12                (A recess in the proceedings was taken.)

 13                COURTROOM DEPUTY:       Raise your right hand.

 14

 15    SANJAR BABADJANOV, having been first duly sworn by the

 16           Clerk of the court to interpret the proceedings from

 17           English to Russian and from Russian to English as

 18           follows:

 19                THE INTERPRETER:       Yes, I do.

 20                COURTROOM DEPUTY:       State your name.

 21                THE INTERPRETER:       Sanjar Babadjanov.

 22                COURTROOM DEPUTY:       Thank you.

 23                (A brief pause in the proceedings was held.)

 24                (Jury enters courtroom at 2:44 p.m.)

 25                THE COURT:     Please be seated, everyone.


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  1    Mr. Mindlin, you may continue.

  2                MS. KOMATIREDDY:       Thank you, Judge.

  3    EXAMINATION BY

  4    MR. MINDLIN:

  5    (Continuing.)

  6    Q     Please show the jury 627TE.         Can you zoom in for me.

  7    Who are the participants in chat?

  8    A     On the left is ibetters, Aleksandr, the defendant.                And

  9    on the right, is Qoqenator, Boris Timokhin.

 10    Q     Can you read what the defendant writes here?

 11    A     Listen Borya, can the advertisers bust server IPs

 12    because of the data transfer speed?           See a 100 megabit

 13    channel and detect that it's fake?           What's the answer?

 14    Feasible?     And then there's an emoji for thinking.

 15    Q     Technically, it's difficult but feasible.             What does

 16    100mb mean?

 17    A     It means 100 megabits per second.

 18    Q     And in 2014, was that fast or slow?

 19    A     It was very fast.

 20    Q     And which is faster, a datacenter or a home internet

 21    connection?

 22    A     Datacenter.

 23    Q     And in 2014, would a home have had a 100 megabit per

 24    second internet connection?

 25    A     It would be very rare.


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  1    Q     Okay.    Generally speaking, to back out for a second.

  2    When someone receives an e-mail in New York from elsewhere

  3    in the country, how does that e-mail get to someone in

  4    New York?

  5    A     So it depends on a lot of factors.           But, in general, if

  6    someone sends an e-mail to someone in New York, it's going

  7    to traverse the internet.         And so, if a person on their

  8    laptop is sending an e-mail, say, it's Gmail from their

  9    laptop, they would send a network signal to their router,

 10    which will then send a network signal to another router;

 11    which, generally will then send a network signal through a

 12    number of routers until it reaches the datacenter that

 13    Google is using.      And then from Google, Google will send the

 14    e-mail on its way to the recipient, say, it's another Gmail

 15    user.    And then the recipient, when they log into their

 16    Gmail account, they will send a signal through a series of

 17    routers to Google's datacenter where they will retrieve the

 18    e-mail which will be sent from Google's datacenter through

 19    the series of routers to their home computer.

 20    Q     And I think you were just describing someone sending an

 21    e-mail from New York; is that right?

 22    A     So either/or really.       It works in either direction.

 23    Q     So the last piece, when the e-mail gets to the person's

 24    computer in New York, how does it get into Manhattan or

 25    Brooklyn?     How does it get to New York?


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                            DeCapua - Direct/Mr. Mindlin                     2089


  1    A     So it's almost certainly going to traverse an

  2    underwater cable.

  3    Q     Is there any other means by which a signal could get to

  4    a computer in New York?

  5    A     There is.

  6    Q     Could it pass through the air?

  7    A     It could pass through the air.

  8    Q     Does every communication to New York City travel either

  9    through the water or through the air around the island of

 10    Manhattan referring, specifically, to Manhattan-based

 11    computers?

 12    A     Yes.

 13    Q     Have you read communications in which the defendant

 14    indicated that he could sell access, sell advertiser access,

 15    to real people watching ads?

 16    A     Yes.

 17    Q     In particular --

 18                 MR. MARGULIS-OHNUMA:       Objection.     Move to strike.

 19                 THE COURT:     Is this laying a foundation for a

 20    particular exhibit?

 21                 MR. MINDLIN:     Yes.

 22                 THE COURT:     Do you want to just offer the exhibit?

 23                 MR. MINDLIN:     The Government offers -- already in

 24    evidence -- Exhibit 682 so we're not offering it it's in.

 25


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                            DeCapua - Direct/Mr. Mindlin                     2090


  1                THE COURT:     Okay.

  2    EXAMINATION BY

  3    MR. MINDLIN:

  4    (Continuing.)

  5    Q     Can you turn to Page 4 of 682, please.

  6                      Okay.   So if you could, Mr. Carter, if you

  7    could move it up a little bit.

  8                      If you could please read the message here from

  9    Aleksandr Zhukov.

 10                Find a@mediamethane the top left on the page.

 11    A     HQ traffic for LQ price.        Hi, Mark.      My name is

 12    Aleksandr.     Sorry that I write you without invitation, but

 13    hope that you will be interested in our technique resource.

 14    I know that previously you bought a lot of LQ traffic for

 15    blinkx.com.     But after the market got filters like WhiteOps,

 16    MOAT, and DV, the amount of LQ traffic became very, very

 17    small.    We have what you need.        We have a lot of traffic

 18    which is perfect for prerolls ADV.           All our traffic is USA

 19    and perfectly scored by all known filters:             WhiteOps, MOAT,

 20    DV, IAS, Forensiq, et cetera.          We can run 20 to 200 millions

 21    prerolls with 10 to 20 million unique IPs daily.              All scheme

 22    is legal, no malware or spyware used there.             All we are

 23    interesting in, is to find one big partner.             This moment we

 24    really tried to work with dozens small ad networks.

 25                MR. MARGULIS-OHNUMA:        Objection.


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                            DeCapua - Direct/Mr. Mindlin                     2091


  1    Q     Can you read that word again that you read as tried?

  2                THE COURT:     Is the objection to the misreading of

  3    the word tired?

  4                MR. MARGULIS-OHNUMA:        Yes.

  5    A     My apologies.      This moment we really tired to work with

  6    dozens small ad networks.         Hope any offer will be

  7    interesting for you.       Thanks.     My e-mail a@mediamethane.com.

  8    Q     Looking a little down the page at this LinkedIn

  9    extraction report from the defendant's iPad, can you read

 10    the response from Mr. Binazeski?

 11    A     Thanks for reaching out Alexander.           I would like to get

 12    more information including rates.           Do you have contracts

 13    with WhiteOps, MOAT, DV, IAS, et cetera.            How do you

 14    guarantee the quality and cleanliness of this traffic.                I

 15    need to have some sort of guarantee in place as we will not

 16    pay for fraudulent clicks or any suspicious activity.                My

 17    budgets are quite large but performance and 3rd party

 18    scoring must be high.        Looking forward to hearing back.

 19    Mark.

 20    Q     Have you reviewed Skype exchanges between the defendant

 21    and this individual Mark Binazeski?

 22    A     I don't recall.

 23                MR. MINDLIN:      The Government offers at this time

 24    Exhibit 1692 and 16, I'm sorry, only 1692.

 25                MR. MARGULIS-OHNUMA:        I'm sorry, you're offering


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                             DeCapua - Direct/Mr. Mindlin                    2092


  1    them for the first time?        One moment.

  2                MR. MINDLIN:      This is not previously in evidence.

  3                MR. MARGULIS-OHNUMA:        No objection.

  4                THE COURT:     Admitted.

  5                (Government's Exhibit 1692 was received in

  6    evidence as of this date.)

  7                MR. MINDLIN:      Can we show it to the jury, please.

  8    Q      So, Agent DeCapua, who are the two participants in this

  9    chat?

 10    A      So it's Mark Binazeski and Aleksandr Zhukov.

 11    Q      And what color are the Aleksandr Zhukov statements in

 12    judging by the From Display Name.

 13                       Mr. Carter, maybe you can zoom out a little

 14    bit.

 15    A      So the Mark Binazeski chats are in white and the

 16    Aleksandr Zhukov chats are in blue.

 17    Q      Let's read together.      I'll read for Mark Binazeski and

 18    let's starts from the beginning.

 19                       Mr. Carter, if you can zoom in on the

 20    right-hand side of the page.

 21                       Mark Binazeski accepted mediamethane's contact

 22    request.

 23    A      Hello.    I'm Aleksandr from LinkedIn do you use

 24    telegram?       It's much secured than Skype.

 25    Q      Not sure how secured a connection I need to discuss


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                            DeCapua - Direct/Mr. Mindlin                     2093


  1    traffic.

  2    A     Okay.    I'm sorry.     And then there's a sad emoji.

  3    Answering your questions.            We checked traffic daily with all

  4    filters using contracts of our friends.            We check daily.

  5    MOAT.    Forensiq.    DV.     IAS.     WhiteOps.

  6    Q     So you don't have direct deals with the 3rd parties?

  7    A     All risks we ready to keep on our side.            Our friends

  8    have that deals.      Why we need spend money for contracts with

  9    them if we have the same for free.            Selling traffic for

 10    these contracts owners.         We are publishers.      The biggest, I

 11    think, at this moment in that kind of traffic.

 12    Q     I worry less about the risk of spending money on bad

 13    traffic.      It's my demand partner relationships.          Where do

 14    you source your traffic?         And is there transparency?

 15    A     We can drive traffic from all over the internet.              And

 16    we will not send you millions the same day.             We get vast tag

 17    or you give us links where you run prerolls.             We will drive

 18    you small amount one million imps a day or 100k even and you

 19    will check the quality.         We will drive it for free sure.

 20    Q     Mr. Carter if you could page to the bottom of the next

 21    page, please.

 22                      Okay.     Can you start reading, please, at

 23    3:48:24?

 24    A     Yes.    You gave us pages list and we go watch prerolls.

 25    How you analyze?      MOAT?


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  1    Q     You go watch prerolls?        Not sure I understand.        So you

  2    have a team that watches these videos?            I thought you were

  3    selling traffic to my sites?

  4    A     Yes.    Yes.   We sell, I mean, but also I mean that you

  5    also earn while my traffic watches prerolls in your player.

  6                 (Continued on the next page.)

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  1    DIRECT EXAMINATION

  2    BY MR. MINDLIN: (Continuing.)

  3    Q     Ah, we analyze MOAT, DV, IAS.

  4    A     Good.    Send me URLs.

  5    Q     Is it a self-served platform so we can have control over

  6    traffic and pause when we need to, et cetera?

  7    A     Test it first.

  8    Q     Understood, but is there a self-serve platform?             That's

  9    something we require to be able to run this after the test.

 10    A     It is our own echo system.

 11    Q     So assuming the test goes well, what is the process when

 12    we need to pause, slash, start campaigns?              We are extremely

 13    active with when we run traffic and need the ability to start

 14    or turn things off at multiple times throughout the day?

 15    A     Don't carry test will done very fast.             After you say

 16    traffic is good, we discuss all instruments you need, and we

 17    make that instruments in one day.

 18    Q     Could we give you XML?

 19    A     You asked already.      Yes, Mark, you can.         Send me, please,

 20    all info to a@mediamethane.com.          And until Friday, test will

 21    be finished and you see quality, and then there's a smile

 22    emoji.

 23    Q     I will get you a page today that we can start testing on

 24    tomorrow.     FYI, 10K per day on that page max, please, starting

 25    tomorrow.     You can't send traffic to a page?          If I give you a


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  1    VAST tag, then my demand partners see traffic coming from

  2    sites other than blinkx.com, which causes massive problems.

  3    A      I'm still on plain.

  4    Q      You can read the next row where it starts with "no."

  5    A      No.    If you give us VAST, they will see referrers you

  6    give me.      If there is blinkx in refers, they will see blinkx

  7    and all scores in MOAT and White Ops will be high.               Sounds

  8    like magic, but we are profi, Mark.            Just wait, please.

  9    Q      This makes absolutely no sense.           Not sure we're

 10    interested in this kind of traffic.

 11                  MR. MINDLIN:    Next page, please.

 12    Q      I need a clear and thorough explanation of how you

 13    provide this traffic.

 14    A      Why?

 15    Q      We have specific content running on our site.             That is

 16    what demand partners are paying to run against.               They provide

 17    us VAST and we waterfall them in our ad server against our

 18    content.      Any traffic we drive there, we drive to the

 19    blinkx.com pages.      We don't provide tags for you to run

 20    elsewhere.

 21    A      Mark, you have all filters to see.              Is it human, or is it

 22    bot?   And your partners use the same instrument.              I offer you

 23    free test.     Test traffic.      See scores and then take decision.

 24    Believe me.     You bough billions of my impressions already,

 25    throw small, middle, and big ad networks.


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  1                    MR. MINDLIN:    The Government moves into evidence

  2    1684.

  3                    MR. MARGULIS-OHNUMA:      No objection.

  4                    THE COURT:    Admitted.

  5                    (Government's Exhibit 1684 received in evidence.)

  6                    MR. MINDLIN:    For the jury, please.

  7                    (The above-referred to exhibit was published.)

  8                    MR. MINDLIN:    And 1684T.

  9                    (Pause.)

 10                    MR. MINDLIN:    The Government moves in 1684T.       Is

 11    there an objection?

 12                    MR. MARGULIS-OHNUMA:      I'm sorry.      No objection.

 13                    THE COURT:    Admitted.

 14                    (Government's Exhibit 1684T received in evidence.)

 15                    MR. MINDLIN:    Can you go to page 5 of this document,

 16    please, Mr. Carter?

 17                    (The above-referred to exhibit was published.)

 18                    MR. MINDLIN:    Further down.

 19    BY MR. MINDLIN:

 20    Q       Looking at this document, who wrote this email here?

 21    A       Josephine Furman.

 22    Q       Okay.    Can you read what -- I'm sorry, what's the domain

 23    for Ms. Furman?       Where does she appear to work?

 24    A       bouldervideo.media.

 25    Q       What does she write?


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  1    A       Hi, Aleksandr.    How are you.        I'm Jo, VP of Biz Dev at

  2    Boulder Video Media, an advertising firm based out of Boulder,

  3    Colorado, and then she puts a link to the company

  4    bouldervideo.media.       We specialize in helping publishers make

  5    incremental revenue from our branded premium video players.

  6    Currently, we are offering two separate video units:               One, a

  7    brand-new video ad unit -- the Vslider player.               This unique to

  8    BVM unit is very popular with our publishers for the following

  9    reason.

 10    Q       I will stop you there for a moment.             Why don't you read

 11    Item 3.

 12    A       3:   The player does not show if we don't have an ad to

 13    fill.

 14    Q       And then you see there's a couple asterisks down there?

 15    A       Yes.

 16    Q       Can you read the second one, please?

 17    A       As you can see, the user can X out of the ad unit at any

 18    time.    The ad is followed by premium and engaging content.

 19    All produced in house by us in our production studio.

 20    Q       Thank you.

 21                   Going up, can you read the response to that, please?

 22                   MR. MINDLIN:    Mr. Carter?      Thanks.

 23    Q       Who responds?

 24    A       Aleksandr Zhukov.

 25    Q       What does he write?


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  1    A       Hi.    We still have a lot of USA traffic perfectly for

  2    prerolls.       All traffic good scored by IAS, DV, White Ops,

  3    MOAT, et cetera.       We do about 40 to 50 millions HQ USA

  4    impressions daily.       Connect me with your buyers, please, to

  5    discuss conditions for partnership.              Thanks.

  6    Q       Going one level up, is there a response?

  7    A       There is.

  8    Q       What's the response?        Who responds?

  9    A       Paul Talbot.

 10    Q       What does Mr. Talbot write?

 11    A       Would be interested in knowing what rates you are selling

 12    in MW and desktop traffic for.            WW and USA only as mentioned.

 13    Thank you.

 14                    MR. MINDLIN:    Mr. Carter, if you can scroll up,

 15    please.       Little more.     Little more.      Keep going.   Thank you.

 16    You can keep going.       Okay.      One more.      One more level.   Thank

 17    you.

 18    BY MR. MINDLIN:

 19    Q       Okay.    So who is this email from?

 20    A       It's from Paul Talbot.

 21    Q       And if you can read the first couple of lines from Paul

 22    Talbot.

 23    A       Aleksandr, attached is the IO with the floor prices and

 24    the rev share we need to move forward.               We don't need to do a

 25    test.    We will do US tags and see how things go for a few


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  1    days.    If they do not work out, we can pause and see what

  2    makes the most sense to move forward.              Please let me know what

  3    type of tags you are seeing the best results with.              Vpaid,

  4    Vast, HTML?      Look forward to getting this started.          We are

  5    seeing really good results currently and hope your supply will

  6    connect with our demand partners.

  7    Q       Going to page 1 now.       Do you see the email from Abhilash

  8    Venkatesh?

  9    A       Yes.

 10    Q       What does Mr. Venkatesh write to the defendant?

 11    A       Hello, Aleksnad.      Can you please pause the tags as

 12    earliest.      We are not seeing player loads means issue in

 13    implementation.      On what server you have tried the tags.

 14                   MR. MINDLIN:    Let's go up to the next email up,

 15    please.

 16    Q       Who is that from and who is that to?

 17    A       It's from Aleksandr Zhukov, and it's to Boris Timokhin.

 18    Q       Does it have the same subject line as what we just read?

 19    A       No, it does not.

 20    Q       What's the new subject line?

 21    A       Problem.

 22    Q       And what is Mr. Zhukov write to Mr. Timokhin?

 23    A       He says, this is a large network.           Need to calibrate

 24    Metan.

 25    Q       Have you read a copy of the former website of Media


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  1    Methane at mediamethane.com?

  2    A       Yes.

  3                   MR. MINDLIN:    The Government -- actually, if we can

  4    just show the jury Exhibit 1101 already in evidence.              Let's go

  5    to page 2, please.      And, Mr. Carter, if you can zoom way in on

  6    that small text that says, "How does Media Methane work?"

  7    there.

  8    Q       Mr. DeCapua, could you read that text, please?

  9    A       How does Media Methane work?          Enormous opportunity to

 10    earn money, easy way for publishers and advertisers to work in

 11    cahoots.       Media Methane becomes a buffer between them helping

 12    publishers to place the advertisement that was provided by

 13    advertisers who in their turn shared it with us in order to

 14    deliver proper ad to the right customer at the appropriate

 15    time.    Thereby both parts can easily enrich their video ad

 16    revenue.

 17                   MR. MINDLIN:    Can we see page 11, please, of the

 18    website of the internet archive document?               Can you zoom in,

 19    please, where it says "what we do"?

 20    Q       Can you read that, please?

 21    A       What we do.

 22                   First of all, Media Methane helps broadcasters and

 23    publishers reach consumers no matter where they are while they

 24    are using apps.       It's much easier to monetize content across

 25    devices, target by geography, daytime, device, context, and


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  1    more.    With our high-end control, any publisher is able to

  2    monitor the way they sell and range of prices.

  3    Q       You can go down actually to the box below and read that,

  4    please.

  5    A       Get your benefits from our solutions that can let you

  6    obtain Web traffic which you really need.              We have connections

  7    with a huge amount of websites, traffic channels, service

  8    providers, which means that we can provide you with the

  9    traffic you really need and support you in finding perfect

 10    audience which will fill your demands and purchase traffic in

 11    the most convenient way for you.

 12    Q       Have you read any chats in which the defendant spoke with

 13    a Web designer about designing a website?

 14                 MR. MARGULIS-OHNUMA:      Objection.

 15                 THE COURT:    Do you want to just offer the exhibit?

 16                 MR. MINDLIN:    The Government offers Exhibit 1609,

 17    1609T, and 1609TE.

 18                 MR. MARGULIS-OHNUMA:      One moment, Your Honor.

 19                 (Pause.)

 20                 MR. MARGULIS-OHNUMA:      Objection.       401, 403,

 21    cumulative, and irrelevant.

 22                 THE COURT:    Overruled.

 23                 (Government's Exhibit 1609, 1609T, and 1609TE

 24    received in evidence.)

 25                 MR. MINDLIN:    Can we please show the jury


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  1    Exhibit 1609TE?

  2                  (The above-referred to exhibit was published.)

  3    BY MR. MINDLIN:

  4    Q     Zooming in, who are the parties to this chat?

  5    A     On the left is i-betters, the defendant, Aleksandr; and

  6    on the right is Olya Furettin.

  7    Q     Can you read for the defendant starting in Excerpt 1?

  8    A     How much for 6,324 symbols of your copywrite?

  9    Q     250 to 1,000 characters.

 10    A     1600?    Where to send 1700?

 11    Q     I'm bad at math, smile, relying on you.

 12                  Going down to excerpt two now, if you can find your

 13    way to the fourth row there, and where it says, "How does

 14    Media Methane work?" let's start reading there.

 15    A     How does Media Methane work?           Media Methane places your

 16    ad on great websites all around the Web.               We do this through

 17    our broad network of vertical search engines, high traffic,

 18    niche partner sites, and popular third-party websites all

 19    working together to display your ads and drive visitors to

 20    your website.     These Media Methane publishers deliver your ads

 21    to a hyper-relevant audience targeted and defined by you.

 22    Q     Did you find any of the text from the Media Methane

 23    website that we just looked at in this chat?

 24    A     I did.

 25                  MR. MINDLIN:    Mr. Carter, if you can pull up on 1101


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  1    on one side, page 11.       And zoom in on "What we do."         Okay.

  2    And then on the right, if you can go within 1609TE, this chat

  3    that we are looking at, if you can go to page 6, please, where

  4    it says "4/11/18," you can just blow that up.

  5    Q       Have you compared the text on left and the first

  6    paragraph on the right?

  7    A       I have.

  8    Q       Both paragraphs, in fact.      And how did it compare?

  9    A       They're the same.

 10                 MR. MINDLIN:    Within 1101, now, Mr. Carter, if you

 11    can go to page 2, and zoom in on "How does Media Methane

 12    work?" right there, and then in 1609TE, the chat, if you can

 13    go to page 2 as well, bottom of the page, right there,

 14    "enormous opportunity," blow it up okay.

 15    Q       Have you compared this text between the Media Methane

 16    website and the chat that we just looked at?

 17    A       I have.

 18    Q       How do they compare?

 19    A       They're the same.

 20                 MR. MINDLIN:    Finally, Mr. Carter, within 1101,

 21    let's go to page 13, and if you could zoom in a little bit on

 22    that.    Why don't you zoom in on the first top half or so of

 23    that.    Okay, on the right-hand side 1609TE, let's go to

 24    page 3.    Do you see where it says -- go on down.           Next page,

 25    actually.    That's right.      If you can just blow that up,


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  1    please.

  2    Q     Have you compared this text?

  3    A     I have.

  4    Q     How do they compare?

  5    A     It's the same.

  6    Q     Okay.    Looking to the website, if I can just direct you

  7    to a particular section.

  8                  Do you see about eight lines down where it says "all

  9    of the traffic"?

 10    A     Yes.

 11    Q     Can you read that line, please?

 12    A     All the traffic is controlled by such filters as IAS and

 13    Forensiq; therefore, our publishers get only quality and

 14    proven customers.

 15    Q     Have you reviewed documents discussing money earned?

 16    A     Yes.

 17                  MR. MINDLIN:    The Government moves in Exhibits 672

 18    and 672T.

 19                  MR. MARGULIS-OHNUMA:      No objection.

 20                  THE COURT:    Admitted.

 21                  (Government's Exhibit 672 and 672T received in

 22    evidence.)

 23                  (The above-referred to exhibit was published.)

 24    BY MR. MINDLIN:

 25    Q     Is this a Jira item?        J-I-R-A.


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  1    A     It is.

  2    Q     What exactly is this recording?           What action was taken?

  3    A     Aleksandr created an issue.

  4    Q     What's the title of the issue?

  5    A     Something got fucked up in the dashboard.

  6    Q     What's a dashboard?

  7    A     A dashboard, very generally, is just a high level place

  8    that someone can look at a glance and get data about a

  9    business or something else that they have an interest in.

 10    Q     Can you read the actual text down below under "Reporter,

 11    Aleksandr"?

 12    A     I wanted to deactivate F-U-G-A on Ribas, but we have

 13    spaghetti there.

 14    Q     What's below that?

 15    A     There's a URL centbycent.com-met-feeds-feed.

 16                 MR. MINDLIN:    The Government offers into evidence

 17    671 and 671T.

 18                 MR. MARGULIS-OHNUMA:      Can we see 671T, please?

 19                 MR. MINDLIN:    It's on the screen.

 20                 MR. MARGULIS-OHNUMA:      No objection.

 21                 THE COURT:    Admitted.

 22                 (Government's Exhibit 671 and 671T received in

 23    evidence.)

 24                 MR. MINDLIN:    Show it to the jury.

 25                 (The above-referred to exhibit was published.)


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  1    BY MR. MINDLIN:

  2    Q     Whose action is being recorded in this Jira item?

  3    A     Mikhail Andreev.

  4    Q     What's the headline?

  5    A     Take five to ten IPs out of operation from the 120 IP

  6    server.

  7    Q     Do you see a Web address in this item?

  8    A     I do.

  9    Q     And can you read the Web address?

 10    A     Centbycent.com/meth/dashboard/proxy/?q=191.101, and then

 11    there's some --

 12    Q     That's okay.     Thank you.

 13                  MR. MINDLIN:    The Government offers into evidence

 14    Exhibit 655.

 15                  MR. MARGULIS-OHNUMA:      No objection.

 16                  THE COURT:    Admitted.

 17                  (Government's Exhibit 655 received in evidence.)

 18                  (The above-referred to exhibit was published.)

 19    BY MR. MINDLIN:

 20    Q     What's the URL -- I'm sorry.

 21                  Generally speaking, what sort of document is this?

 22                  MR. MINDLIN:    If we can show the jury 655?

 23    A     This is a screen shot of a cell phone.

 24    Q     Is the cell phone visiting a Web page?

 25    A     It is.


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  1    Q       What's the Web page?

  2    A       It's centbycent.com/jerk-offing.

  3    Q       And are there different categories of information on the

  4    page?

  5    A       There are.

  6    Q       What categories?

  7    A       So it says prerolls and then it has the date, it has the

  8    current hour, the last hour, the previous hour, 11 hours, and

  9    then it has statistics.

 10    Q       After those time ranges -- current hour, last hour --

 11    what form of data is next to that?

 12    A       A dollar amount.

 13    Q       And what's the date?

 14    A       The date is September 29, 2015.

 15    Q       Can we read the dollar figure next to current hour?

 16    A       $888.90.

 17    Q       What's the dollar figure next to last hour?

 18    A       $1,221.

 19    Q       And what's the dollar figure next to 11 hours?

 20    A       $15,380.30.

 21    Q       Did you review other screenshots from centbycent.com?

 22    A       I did.

 23                 MR. MINDLIN:     The Government offers Exhibit 656 as

 24    well as 656E.

 25                 MR. MARGULIS-OHNUMA:       No objection.


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  1                   THE COURT:    Admitted.

  2                   (Government's Exhibit 656 and 656E received in

  3    evidence.)

  4                   MR. MINDLIN:     Can we have 656E, please, if

  5    available?

  6                   MR. CARTER:     E?

  7                   MR. MINDLIN:     That's fine.       We'll stick with 656.

  8                   (The above-referred to exhibit was published.)

  9    Q      Can you generally describe what this is?

 10    A      This is a photograph.

 11    Q      What's shown in this photograph?

 12    A      It appears to be someone with a laptop computer that is

 13    on the page beginning "prerolls" and that is mirrored onto a

 14    big screen TV in front of them.

 15                   MR. MINDLIN:     Can we zoom in on that big screen?

 16    Q      Does this generally resemble the sort of Web page that

 17    you were just reading to us?

 18    A      Yes.

 19                   MR. MINDLIN:     Can we zoom in, Mr. Carter, where it

 20    says 11 hours?

 21    Q      What's the dollar figure where it says 11 hours?

 22    A      It looks to be $19,616 and either 50 cents or 60 cents.

 23    Q      Okay.

 24                   MR. MINDLIN:     Mr. Carter, can you zoom out a little

 25    bit?


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  1    Q      Looking at the table now --

  2                   MR. MINDLIN:    Let's zoom in on that table a little

  3    bit.   I'm sorry, the chart on the computer screen, not a

  4    table.

  5    Q      What's the heading there, the second heading?

  6    A      It says --

  7    Q      Next to date to the right.

  8    A      Meth.

  9    Q      Have you reviewed any screenshots and documents of this

 10    sort specific to Crazy 4 Media?

 11    A      I have.

 12                   MR. MINDLIN:    The Government offers Exhibit 657.

 13                   MR. MARGULIS-OHNUMA:      No objection.

 14                   THE COURT:    Admitted.

 15                   (Government's Exhibit 657 received in evidence.)

 16                   MR. MINDLIN:    Can we show that to the jury?

 17                   (The above-referred to exhibit was published.)

 18    BY MR. MINDLIN:

 19    Q      Can you read the top of this document, please?

 20    A      Current feed, Crazy 4 Media, dollar sign, 5.

 21    Q      Do you see where it says 15 hours at the bottom?

 22    A      Yes.

 23    Q      Can you read the dollar amount there?

 24    A      $4,329.80.

 25                   MR. MINDLIN:    The Government now offers Exhibit 658


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  1    and 658T.

  2                    MR. MARGULIS-OHNUMA:      No objection.

  3                    THE COURT:    Admitted.

  4                    (Government's Exhibit 658 and 658T received in

  5    evidence.)

  6                    MR. MINDLIN:    Second page, please.

  7                    (The above-referred to exhibit was published.)

  8    BY MR. MINDLIN:

  9    Q       Generally speaking, what type of document is this?

 10    A       This is a screen shot of a cell phone.

 11    Q       Okay.    And can you read what it says next to 24 hours?

 12    A       $56,253.

 13    Q       Have you reviewed update emails that the defendant

 14    received regarding the status of servers by centbycent.com?

 15    A       Yes.

 16                    MR. MINDLIN:    The Government offers 1687.

 17                    MR. MARGULIS-OHNUMA:      One moment, Your Honor, sorry.

 18    16 --

 19                    MR. MINDLIN:    1687.

 20                    MR. MARGULIS-OHNUMA:      No objection.

 21                    THE COURT:    Admitted.

 22                    (Government's Exhibit 1687 received in evidence.)

 23                    MR. MINDLIN:    Mr. Carter, I will need you to zoom

 24    quite a bit on this one.

 25                    (The above-referred to exhibit was published.)


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  1                 MR. MINDLIN:    Yeah, even more.          More.   Okay.

  2    BY MR. MINDLIN:

  3    Q     Are you able to read who this email is from?

  4    A     Yes.

  5    Q     Who is it from?

  6    A     CBC Monitoring adw0rd.yandex.ru@gmail.com.

  7    Q     And who is it to?

  8    A     It's to mathete.com@gmail.com.

  9    Q     What does it say below that?

 10    A     It says Cent By Cent servers.

 11    Q     Can you read the first two numbers below there?

 12    A     So it says, total 2083 and active 2083.

 13                 MR. MINDLIN:    The Government now offers 1660 and

 14    1660E.

 15                 MR. MARGULIS-OHNUMA:      No objection.

 16                 THE COURT:    Admitted.

 17                 (Government's Exhibit 1660 and 1660E received in

 18    evidence.)

 19                 MR. MINDLIN:    Can we show the jury?

 20                 (The above-referred to exhibit was published.)

 21                 MR. MINDLIN:    Looking at the bottom of the page, can

 22    we zoom in on that?

 23    BY MR. MINDLIN:

 24    Q     Generally speaking, what does that text indicate to you?

 25    A     It indicates that this was provided by Apple and it is


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  1    associated with ibetters@icloud.com and specifically it's an

  2    image from that account's iCloud photo library.

  3    Q     And what is the associated name for this contact?

  4    A     adw0rd.yandex.ru@gmail.com.

  5    Q     And what is the associated name of the contact?

  6    A     CBC Monitoring.

  7    Q     Is that the same name on the email we just looked at?

  8    A     It is.

  9                  MR. MINDLIN:    The Government offers 1621.

 10                  MR. MARGULIS-OHNUMA:      No objection.

 11                  THE COURT:    Admitted.

 12                  (Government's Exhibit 1621 received in evidence.)

 13                  MR. MINDLIN:    Can we show that to the jury, please?

 14                  (The above-referred to exhibit was published.)

 15                  MR. MINDLIN:    Mr. Carter, if you can just flip

 16    through these images slowly.          Can you zoom in on this final

 17    one -- it's the picture of the iPad -- enough so that we can

 18    see the screen?      Thank you.     As well as the data to the right,

 19    in fact.    Yeah, that's fine.        We'll move over if we need to.

 20    BY MR. MINDLIN:

 21    Q     Do you see any data on this iPad relating to Boulder

 22    Video?

 23    A     I do.

 24    Q     Can you indicate where that is?

 25    A     It's at the very top of the table.


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  1    Q     What does it say?

  2    A     It says Boulder Video $2 and -- dollar sign, 2.5, and

  3    then there's some additional information.

  4    Q     And looking on the right, can you look -- can you read

  5    that email?

  6    A     Got you.    Please wait for my approval.         I am uploading

  7    new demands.

  8    Q     Who is that email from on this iPad?

  9    A     It's from Abhilash Venkatesh.

 10                MR. MINDLIN:     The Government now offers 1622.

 11                MR. MARGULIS-OHNUMA:       No objection.

 12                THE COURT:     Admitted.

 13                (Government's Exhibit 1622 received in evidence.)

 14                MR. MINDLIN:     Can we show the jury?

 15                (The above-referred to exhibit was published.)

 16                MR. MINDLIN:     Can you page down, please, Mr. Carter,

 17    as you did with the last one?

 18                The Government now offers 1678 and 1678T and TE.

 19                MR. MARGULIS-OHNUMA:       One moment.

 20                (Pause.)

 21                MR. MARGULIS-OHNUMA:       1678, right?

 22                That's without objection, Your Honor.

 23                THE COURT:     Admitted.

 24                (Government's Exhibit 1678 and 1678T and TE received

 25    in evidence.)


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  1                 MR. MINDLIN:    Can we show the jury?

  2                 (The above-referred to exhibit was published.)

  3    BY MR. MINDLIN:

  4    Q     Who are the parties to this email -- this chat?

  5    A     So on the left is the defendant, i-betters, Aleksandr;

  6    and on the right is popkov-igor, Igor Popkov.

  7    Q     Looking down to 8:48, you see the fourth row or so there,

  8    I will read for Mr. Popkov, and you can read the left side for

  9    the defendant.

 10                 Listen, what kind of profit on my investments will

 11    you be earning?

 12    A     Thirty percent a month minimum, but I'm being over

 13    protective.     I will set 50 percent as yours in the profit

 14    system.    Currently, we manage to make plus 100 percent, but

 15    I'm afraid to put an evil eye on it.            I haven't seen less than

 16    30, i.e. 60 total.      You can delay for a couple of weeks, if

 17    you wish.    We'll keep running it because risks are always

 18    there.    Something will crash, something will fall off, but I'm

 19    ready to risk already.       I'm sick and tired of waiting for life

 20    to happen.    Next week I'll be installing a lot of hardware.

 21                 MR. MINDLIN:    There's a number of questions,

 22    Mr. Carter on the next cell, and then the next page has the

 23    answers.    Is it possible to bring those up in the same window?

 24                 Thank you.

 25    Q     Looking on the left-hand side, can you please read


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  1    Mr. Popkov's first question?

  2    A     How does it work?

  3    Q     And then looking on right, can you read the defendant's

  4    answer?

  5    A     One, two.    We have search output from a bunch of

  6    advertisers who buy bot traffic, traffic that scours the

  7    sites.    Each advertiser has different price for such traffic.

  8    Today some buy 1,000 for .5 bucks.           Tomorrow it's cheaper.

  9    The price fluctuates, but each click by each bot costs money

 10    from .0001 cent to.002 cents.         Right now we already made 50K

 11    clicks per hour, wink emoji, doing it from the server,

 12    changing IPs in the process.

 13    Q     And then looking at the fourth question, can you read

 14    Mr. Popkov's fourth question?

 15    A     What are the investment odds?          For example, I deposit

 16    $1,000 and buy, quote, one set, end quote, of hardware, which

 17    brings approximately 1,000 per month.            Thirty percent of this

 18    amount is yours.

 19    Q     And what does the defendant respond under Number 4 on

 20    right?

 21    A     We take a thousand, spend it to buy 1,000 proxies and

 22    four servers.     This bundle gives us a 2,000 per month profit.

 23    Out of it, we keep 1,000 for the next month to buy proxies and

 24    servers again and split a thousand, but in the end, it may not

 25    be 2,000, could be 1600, and could be 2,000.


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  2    BY MR. MINDLIN: (Continuing)

  3    Q       And then look at the upper right, it you read the

  4    defendant's final question, Mr. So move?

  5    A       This entire project will be expanded.

  6    Q       What is the response?

  7    A       You bet.   It will be expanded.        I'm losing my sleep

  8    thinking about getting 1,000 servers and just clicking and

  9    clicking.

 10    Q       We earlier read an exchange from Hax Hax in connection

 11    with Crazy 4 Media.        Have you read any chats between the

 12    defendant and Hax Hax?

 13    A       I have.

 14                 MR. MINDLIN:     The Government offers 659R.

 15                 MR. MARGULIS-OHNUMA:      I'm not sure I have 659R.

 16                 MR. MINDLIN:     It is in USAFX, but the defense can

 17    review it.    It has been revised in response to the defense

 18    request.

 19                 Mr. Carter, if you could keep scrolling to the

 20    redacted area.     There.    Just stop there, Mr. Carter.

 21                 MR. MARGULIS-OHNUMA:      Otherwise that's identical to

 22    659E?

 23                 MR. MINDLIN:     Otherwise it's the same text as what's

 24    in 659E.

 25                 MR. MARGULIS-OHNUMA:      I'm sorry, that's totally



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  1    different, 659E.

  2                 MR. MINDLIN:    It says 659R.

  3                 MR. MARGULIS-OHNUMA:      Can you e-mail it to me and we

  4    will review it?

  5                 MR. MINDLIN:    Sure.    We can send it and move on.

  6                 One moment, Your Honor.

  7    Q     Have you reviewed documents related to a hotel

  8    reservation in Monaco?

  9    A     I have.

 10                 MR. MINDLIN:    The Government at this point moves in

 11    Government Exhibits 662 and 662T.

 12                 MR. MARGULIS-OHNUMA:      Objection.

 13                 THE COURT:    Did you say objection?        Or no objection?

 14                 MR. MARGULIS-OHNUMA:      Yeah, there is an objection,

 15    relevance, prejudice, 403.

 16                 THE COURT:    Overruled.

 17                 MR. MINDLIN:    Can we show this to the jury, please.

 18                 THE COURT:    It is admitted.

 19                 (Government Exhibits 662 and 662T received in

 20    evidence.)

 21                 (Exhibit published.)

 22    Q     Agent DeCapua, can you describe this document, please?

 23    A     This is reservation confirmation for a hotel.

 24    Q     What is the hotel?

 25    A     It is the Hotel Metropole.



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  1    Q     Where is that?

  2    A     It's in Monte Carlo.

  3    Q     Where is Monte Carlo?

  4    A     Monte Carlo is -- it's a city that is bordering the

  5    northern Mediterranean Sea.

  6    Q     And what is the price of this hotel reservation?

  7                MR. MARGULIS-OHNUMA:       Objection.

  8                THE COURT:     Overruled.

  9    A     It is 2,060 Euro.

 10    Q     Can I direct your attention to Government Exhibit--

 11                MR. MINDLIN:     The Government moves in at this time

 12    Government Exhibit 663 and 663E.

 13                MR. MARGULIS-OHNUMA:       663?

 14                MR. MINDLIN:     663, 663E, as well as 664 and 664E.

 15                MR. MARGULIS-OHNUMA:       What are the E versions?

 16                MR. MINDLIN:     They just have the stamps on the top

 17    and bottom.

 18                MR. MARGULIS-OHNUMA:       We are looking at the E?

 19                MR. MINDLIN:     You are looking at the E's.

 20                MR. MARGULIS-OHNUMA:       Objection.

 21                Relevance.

 22                THE COURT:     Overruled.

 23                (Government Exhibits 663, 663E, 664, 664E received

 24    in evidence.)

 25    Q     Looking first at 663E, please.



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  1                  MR. MINDLIN:   Can we show this to the jury.

  2                  (Exhibit published.)

  3    Q     Generally speaking, what does this image show?

  4    A     It's the inside of what appears to be a private jet.

  5                  MR. MINDLIN:   And then can we see 664E, please.

  6                  Before we go on, if we can blowup the red text at

  7    the bottom, please.

  8    Q     What does that text indicate to you?

  9    A     It indicates that this image was provided by Apple and

 10    that it is associated with the ibetters@icloud.com account and

 11    it is from his iCloud photo library.

 12    Q     Looking at the top, if you could read the date there.

 13                  MR. MINDLIN:   Mr. Carter, if you can zoom in for us.

 14    A     It is 11/4/2016.

 15    Q     Okay.    Let's get rid of those.          Generally speaking, what

 16    does this image show?

 17                  MR. MARGULIS-OHNUMA:     Objection.

 18                  THE COURT:   Is this going to be a business trip?

 19                  MR. MINDLIN:   Yes.    659R explains.

 20                  THE COURT:   Yes.   Okay.    Then overruled.

 21    A     Generally this shows the interior of a private jet facing

 22    the cockpit and there is an image showing a map with the

 23    current location of the jet and its destination.

 24    Q     What is the destination?

 25    A     It is Nice.



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  1    Q     And where is Nice?

  2    A     It's in France.

  3    Q     Where is it relative to Monte Carlo?

  4    A     It's the closest international airport to Monte Carlo.

  5    Q     You said this is a November photograph; correct?

  6                  MR. MARGULIS-OHNUMA:     Objection.

  7                  MR. MINDLIN:   I'm sorry, withdrawn.

  8    Q     The date that you read at the top was November 4, 2016;

  9    correct?

 10    A     Yeah.    Again, I'm not 100 percent certain about -- it's

 11    11/4/2016.

 12                  MR. MINDLIN:   Understood.

 13                  The Government offers Government Exhibit 661.

 14                  MR. MARGULIS-OHNUMA:     Same objection, Your Honor.

 15                  THE COURT:   Overruled.

 16                  (Government Exhibit 661 received in evidence.)

 17                  MR. MINDLIN:   Can we show the jury, please.

 18                  (Exhibit published.)

 19    Q     Generally speaking, what type of document is this?

 20    A     This is an invoice.

 21    Q     What is it an invoice for?

 22    A     It's for the rental of a jet, a Cessna Citation.

 23    Q     And what are the two locations that the jet is going

 24    between?

 25    A     It is from Nice, France to Varna, Bulgaria.



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  1    Q     What is the date range listed?

  2    A     15/8/2016 to 15/8/2016.

  3    Q     To be clear, is that August 2016?

  4    A     Yes.   That is August.

  5    Q     There is no 15th month.        Clarity, right?

  6                 What is the total invoice amount listed?

  7    A     It's 10,300 Euro.

  8    Q     What is the entity to which this invoice is being

  9    addressed?

 10    A     Impex alliance L.P.

 11                 MR. MINDLIN:    The Government offers Government

 12    Exhibit 665, 665T, and 665TE.

 13                 MR. MARGULIS-OHNUMA:      One moment.

 14                 No objection.

 15                 THE COURT:    Admitted.

 16                 (Government Exhibits 665, 665T, and 665TE received

 17    in evidence.)

 18                 MR. MINDLIN:    Can we zoom in, please.

 19    Q     Who are the participants in this chat?

 20    A     On the left is the defendant, ibetters, Aleksandr, and on

 21    the right is Victor.       VertaMedia, Victor Bezer.

 22                 MR. MINDLIN:    And can you go down a bit, please, Mr.

 23    Carter.

 24    Q     If you could read the defendant's last row there.

 25    A     Where and how much?



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  1    Q     How does Mr. Bezer respond?

  2    A     Couple of minutes.

  3    Q     And then what does he say after that?

  4    A     185,954.50 individual.         90,000 Epese.    87,995.45 Impex.

  5    195,450.55 Impex.      123,460.48 Impex.

  6    Q     Is Impex the same entity that the jet invoice was billed

  7    to in a prior document?

  8    A     Yes.

  9                 MR. MINDLIN:    Your Honor, the Government has only

 10    one more document for this witness, which was 619, so perhaps

 11    it makes more sense for the parties to discuss it.

 12                 THE COURT:    Take a minute.      Hopefully this

 13    discussion will go quickly.          If the jury wants to stand and

 14    stretch in place, please do so, but we are going to press on

 15    until four o'clock.

 16                 MR. MARGULIS-OHNUMA:       Your Honor, can we have a

 17    sidebar?

 18                 THE COURT:    Sure.

 19                 (Continued on next page.)

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  1                   THE COURT:   So the exhibit that ends in E is

  2    admitted.

  3                   MR. MINDLIN:   659R.

  4                   THE COURT:   659R.    Thank you.    Subject to the

  5    discussion at sidebar.

  6                   (Government's Exhibit 659R received in evidence.)

  7                   MR. MINDLIN:   Can we please show the jury 659R.

  8                   (Exhibit published.)

  9                   MR. MINDLIN:   Zoom in a little bit, Mr. Carter.

 10    Q      Agent DeCapua, who are the two individuals in this chat?

 11    What are the two names at the top of the chat?

 12    A      On the left is Aleksandr ZH, Mediamethane, the defendant.

 13    And on the right is viamaxoy, Hax Hax.

 14    Q      Please read for the defendant and I will read for Hax

 15    Hax.

 16                   I want to meet you some day.

 17    A      Great.

 18    Q      Think we have a lot of potential.

 19    A      Let's be friends.      With a guy like you and your contacts,

 20    database, I'll change my Ferrari every week in case of full

 21    hush tray.

 22    Q      Ha, ha.    Smile.    Let's make a nice car every week or two.

 23    A      We do super car every day now.          Let's do two.

 24    Q      Yeah.    When can we meet.

 25    A      When you want?



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  1    Q     Things sometimes better face to face and drink to drink?

  2    A     What about Monaco in November?

  3    Q     Sure.    Can do.

  4                  MR. MINDLIN:   Mr. Carter, if you move to page 2.           Up

  5    a little bit.

  6    Q     Okay.    Can you please start at 6:06:11.

  7    A     I'm afraid only about alert from spring serve, need more

  8    material.

  9    Q     We will get that over.         What is your ad serving URL?

 10    A     We use our own.      No URL.

 11    Q     And IP or?

 12    A     Not sure, and then there is a sad emoji.

 13                  Why you ask?

 14    Q     Just digging some data, no worries, all should be good,

 15    but I know a lot more tomorrow.

 16    A     I don't worry, just want to know the reason to help you

 17    straight.

 18    Q     Cool.    How many others like me you work with?

 19    A     Four.

 20    Q     Can I ask whom?      I know so many people in the business.

 21    A     VertaMedia and a few private solutions.

 22    Q     I have a few other companies, we can work through there

 23    as well if interested in spreading the traffic a bit,

 24    emoticon?

 25    A     Sure.    As more as you can drive and guarantee payments.



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  1    Q     And it's Q4, so it's not the rates are great and will

  2    only be better.

  3    A     We found the way how to get access to all IPs in the

  4    world.    We test technology now and it show us fill, 40, 50

  5    percent.

  6    Q     Wow, great.

  7    A     It is amazing.

  8    Q     Do you have Adium Telegram?

  9                  Let me stop you for a moment.

 10                  Are you familiar with Adium?

 11    A     I am.

 12    Q     What is Adium?

 13    A     It's a Jabber client.       It is something you download on

 14    your computer if you want to communicate via Jabber.

 15    Q     Go on, please.

 16    A     Install telegram, please.

 17    Q     I do have.     As said, been in the game for years.

 18    A     Justalex777.

 19    Q     That's also why I like to meet.           And Adium?   You have

 20    Adium?

 21    A     You meet right person.         We all of guys around that

 22    scheme.    No one pass white ops, smile emoji, and Moat, smile

 23    emoji.    We did.    Smile emoji.     Use Telegram, hate Adium.

 24    Q     I'll add you on my other com tomorrow.

 25    A     Justalex777 telegram.       Okay.



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  1    Q     That's one now is my clean, and there is a correction on

  2    the next row.     Clean com, LOL.

  3    A     Okay.    Smile emoji.

  4    Q     Are you generally familiar with the meaning of the term

  5    clean with respect to a communications channel?

  6                  MR. MARGULIS-OHNUMA:     Objection.

  7                  THE COURT:   Overruled.

  8    A     Yes.

  9    Q     What is a clean communications channel?

 10    A     It means a communications channel that they discuss

 11    non-elicit topics on.       It's one that's directly tied to the

 12    person's true identity.

 13    Q     Keep going, please.

 14                  I'm sorry.   You can read 6:31:24?

 15    A     Okay.    Smile emoji.

 16    Q     Hmm.    Can't add you.

 17    A     I'm clean.     Smile emoji.     We, quote, buy, end quote, this

 18    traffic.     And then there is a Skype phone number.

 19                  Add me by phone number.

 20    Q     Done.    Created a secret chat, BTW.        How long you been

 21    working with VertaMedia?

 22                  And you can stop there and we will surf down to page

 23    -- to the bottom of page 4.

 24                  Can you read at 8 o'clock and 38 seconds?

 25    A     I see your requests and spread very evenly.            E.g., you



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  1    have nearly same amount of requests per site.             Possible to

  2    make a bit different there?

  3    Q     Was that Hax Hax or the defendant?

  4    A     That was Hax Hax.

  5    Q     What did the defendant respond?

  6    A     Didn't understand about sites.

  7    Q     Second your Geo is 100 percent US, not 99.5 or so, but

  8    100 percent US.      Normally they will be like 99.3 percent US

  9    and they reset spread over the world.

 10    A     Hmm.   No this moment.      You need give us more fresh top

 11    fill referees.     We need make 99.3.

 12    Q     What I mean on the sites is that EG site 1 25K requests,

 13    site 2 25K requests, site 3 25K requests.            I know it's how you

 14    do your settings, but from a buyer side, it looks fraud, as

 15    well you know what I mean.

 16                 MR. MINDLIN:    And Mr. Carter, you can now go down to

 17    page 6.

 18    Q     Please start at 2:12:24, a little further down.

 19                 Hey there.    You around.     Okay.   I have been kicking

 20    a lot in your data and I've had people and fraud tools, et

 21    cetera, et cetera.      You are good.      But any how, in fraud logix

 22    they have a score from 1 to 5, whereby 5 is extreme fraud and

 23    1 is low risk.

 24    A     I think we fixed spring.

 25    Q     You came out on two which is moderate and states between



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  1    26 to 39 percent fraud.       They say it's bot traffic.         So anyway

  2    we can get this lowered a bit.         Okay.    Okay.    Cool.

  3    A       I didn't understand no thing.       Where we got 26 to 39

  4    percent fraud?       Let's do zero.    Not a problem.

  5                    Give me please the page with fraud logix script on

  6    it.

  7    Q       Let's go down to 2:44:13.

  8                    What does the defendant write there?

  9    A       Thanks.

 10    Q       Welcome.

 11    A       Okay, how fast we have to do this fix?

 12    Q       The faster the better.

 13    A       Cause I do not think it's a very popular thing, fraud

 14    logix, I mean.

 15    Q       Buyers also look at these numbers, and we don't want them

 16    to have to excuse not to pay, it's pretty decent and pretty

 17    used.    One of the first ones.       By looks Moat look okay in AOL.

 18    A       Sure.    Make this task higher for technical.

 19    Q       Cool.

 20    A       All be fixed this week.

 21    Q       Perfect.    And please before the better.        Please be aware

 22    that they say it's based on bot if you can use that for

 23    something.

 24    A       Actually we first time see fraud logix.

 25                    How fast you can deliver reports of FL?



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  1    Q     Daily.

  2    A     We see first time, but if we are 26 to 39 percent bots

  3    only, God save the queen.        That soft is sucks.

  4                  MR. MINDLIN:    Let's go to page 9, please.

  5    Q     I'll read from the top, fraudlogix.com.

  6    A     I thought it is your tool.

  7    Q     No, no.    It's a company like Moat and DV, et cetera.

  8    They check for bot, spyware, phishing, malware, et cetera, et

  9    cetera.

 10                  For now its good but let's try get lower just to

 11    make all good and clear.        By lower, I can take a lot more

 12    traffic, open a lot more Geos, et cetera, et cetera.

 13    A     Need time.     One week.

 14    Q     Okay.    Okay.    But please keep up some traffic.

 15                  Also fraud tool looks at spikes and et cetera.

 16    A     If we have chance to get refund for this traffic better

 17    to low and fix fraud.        Can you get report by sub ID?

 18    Q     No one have said that there will not be non-payments,

 19    maybe there will come some complaints.           I'm just trying to

 20    foresee them.

 21                  MR. MINDLIN:    Let's go down the page, Mr. Carter, to

 22    excerpt three.

 23    Q     You can start reading?

 24    A     What about 5th November in Monaco?

 25    Q     Hey, yeah.     That sounds like a good idea.         That would



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  1    work for me.

  2    A     If so, I book jet.

  3    Q     Nice.

  4    A     Because Varna is perfect place only until you fly

  5    anywhere.

  6    Q     Ha, ha.    Yeah, not a big city.         So, yeah, two days there

  7    or something?

  8    A     Yes, and in winter, no usual summer flights.

  9    Q     Next excerpt?

 10    A     Hotel Metropole, Monte Carlo, I'll be there.

 11    Q     Okay.    Okay.    I book there as well.

 12                  So we are 100 percent sure we meet there?

 13    A     I just paid 2,000 Euro for the room.

 14    Q     Cool, I book now.

 15    A     I took big room to have the place to talk.

 16                  MR. MINDLIN:   One moment, Your Honor.

 17    Q     Agent DeCapua, did you analyze e-mail search warrant

 18    returns on the Google drive, Government Exhibit physical

 19    exhibit 1700?

 20    A     I did.

 21    Q     And did you look at the dates of the e-mails in various

 22    e-mail accounts?

 23    A     I did.

 24    Q     Were some of those preserved e-mail accounts?

 25    A     They were.



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  1    Q     Can you remind the jury what preserved means with regard

  2    to an e-mail account?

  3    A     Generally --

  4    Q     Withdrawn, actually.       I'll come back to that.

  5                 Did you take notes?

  6    A     I did.

  7    Q     Do you know as you sit here what the earliest e-mail was

  8    in these accounts at the time Google provided them to the

  9    Government or with your notes?

 10    A     I don't.    If I had my notes, I would be able to refresh

 11    my memory.

 12                 MR. MINDLIN:    At this time if we could refresh the

 13    witness with 3500-JD-5 with Government Exhibit, it may also be

 14    filed as JC.

 15                 MR. MARGULIS-OHNUMA:      I'm not sure if I have that.

 16    Give me one more moment.

 17                 I have this.

 18    Q     Did you review a Google search warrant return -- I'm

 19    sorry.   Can you see those now?

 20    A     I can.

 21    Q     Did you review a Google search warrant return for

 22    ibetters2@gmail.com?

 23    A     I did.

 24    Q     What was the earliest e-mail in that account at the time

 25    that Google produced it?



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  1    A     It was December 24, 2016.

  2                MR. MINDLIN:     No further questions.

  3                THE COURT:     Do you want to start?

  4                MR. MARGULIS-OHNUMA:       Sure.    We have a hard stop at

  5    4:00, right?

  6                THE COURT:     Yes.   Get the intros out of the way.

  7    CROSS EXAMINATION

  8    BY MR. MARGULIS-OHNUMA:

  9    Q     Good afternoon, Special Agent DeCapua.             How are you

 10    feeling?

 11    A     It's been a long day.

 12    Q     I hear you.

 13                Have you and I ever met before?

 14    A     No.

 15    Q     So, who is in charge of this investigation?

 16    A     On the FBI side or on the prosecutor's side?

 17    Q     On the FBI side.

 18    A     I'm not sure of the FBI agent who's in charge.             I know

 19    the NYPD officer who's sitting with the prosecutors is running

 20    the investigation.

 21    Q     Who did you work with to prepare your testimony today?

 22    A     I worked with the prosecutors.

 23                (Continued on following page.)

 24

 25



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  1    CROSS-EXAMINATION (Continuing)

  2    BY MR. MARGULIS-OHNUMA:

  3    Q     So, we looked -- one moment, please.

  4                 Just generally, we looked at a bunch of chats,

  5    right?

  6    A     Yes.

  7    Q     Now, have you seen those chats before today?

  8    A     I have, yes.

  9    Q     And were these the same versions or were there -- did

 10    they change over time?

 11    A     I think they changed over time because I know there were

 12    some translation issues and other things as they were

 13    preparing them to become a final version.

 14    Q     And the chats, to your understanding, were culled from

 15    various devices and accounts that were relevant in the --

 16    in -- in the investigation, is that correct?

 17    A     Yes.

 18    Q     And were you involved in the process of culling the chats

 19    from those devices?

 20    A     No.

 21    Q     Do you have any way to know whether the chats that you

 22    looked at are complete or not, based on your personal

 23    knowledge?

 24    A     I mean I saw the -- the -- the parts that they showed me.

 25    So I have not seen the body of actual -- in your words, what



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  1    was culled from the devices.

  2    Q     So, when you say the parts that they showed you, who

  3    showed you?

  4    A     The prosecution team.

  5    Q     And who -- who did that include, what individuals?

  6    A     Generally, Mr. Mindlin.

  7    Q     So, you didn't look at any of the underlying chats --

  8    sorry, at any of the underlying -- withdrawn.

  9                  These chats were created from spreadsheets, right,

 10    that were made from the original machines, is that correct?

 11    A     That's correct.

 12    Q     That's your understanding?

 13    A     Yeah.

 14    Q     Did you look at the original spreadsheets?

 15    A     I don't think so.

 16                  MR. MARGULIS-OHNUMA:     I think that's my

 17    introduction, Your Honor, if we can break two minutes early.

 18                  THE COURT:   All right, ladies and gentlemen, we are

 19    going to break a few minutes early today, even relative to the

 20    early break we intended to today.

 21                  Thank you for all your time and attention today.            We

 22    will see you tomorrow morning for a 9:30 start, and I will

 23    want to push through to 5:30 tomorrow to make up for some of

 24    the lost time.

 25                  So, we look forward to seeing you tomorrow.           Have a



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  1    great night.

  2                (Jury exits.)

  3                (In open court - jury not present.)

  4                THE COURT:     All right, so, I think we can let the

  5    witness go, for the day at least.

  6                (Witness steps down and exits the courtroom.)

  7                THE COURT:     And my law clerk is going to come up.

  8    She will have draft jury charges that, in some cases, include

  9    in sequence what the Government has proposed and what the

 10    defense has proposed, so we can sort of look at them side by

 11    side.

 12                These will be a little messy.          We will collect them

 13    from you after we leave today for shredding, but we'll,

 14    hopefully, make some progress in terms of sorting out some of

 15    the many issues with the jury instructions that the parties

 16    have raised.

 17                So, why don't we break for five minutes here and

 18    we'll regroup?

 19                (Judge ERIC KOMITEE exited the courtroom.)

 20                (Defendant exited the courtroom.)

 21                (Recess taken.)

 22                (Judge ERIC KOMITEE entered the courtroom.)

 23                (Defendant entered the courtroom.)

 24                (In open court - jury not present.)

 25                THE COURT:     Should we kick off here?



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  1                        UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK
  2
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  3    UNITED STATES OF AMERICA,      : 18-CR-633 (EK)
                                      :
  4              Plaintiff,           :
                                      : United States Courthouse
  5            -against-              : Brooklyn, New York
                                      :
  6    ALEXSANDR ZHUKOV,              :
                                      : Wednesday, May 19, 2021
  7              Defendant.           : 9:30 a.m.
       - - - - - - - - - - - - - - - -X
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 11               TRANSCRIPT OF CRIMINAL CAUSE FOR JURY TRIAL
                 BEFORE THE HONORABLE ERIK R. KOMITEE AND JURY
 12                      UNITED STATES DISTRICT JUDGE

 13

 14

 15                            A P P E A R A N C E S:

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 20                                       Assistant United States Attorneys

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                                          TESS COHEN, ESQ.
 24                                       OKSANA GLAVATSKA TUNCER, ESQ.

 25



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  1                    A P P E A R A N C E S           (CONTINUED)

  2

  3    Court Reporter:           DAVID R. ROY, RPR
                                 225 Cadman Plaza East
  4                              Brooklyn, New York 11201
                                 drroyofcr@gmail.com
  5

  6    Proceedings recorded by Stenographic machine shorthand,
       transcript produced by Computer-Assisted Transcription.
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  8                      P   R    O   C    E   E   D   I   N   G   S

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 10                (In open court; outside the presence of the jury.)

 11                THE COURT:      So before we get the jury in, I think

 12    my dichotomy yesterday between the two types of fraud and

 13    1343 Wire Fraud Statute may have been based on an outdated

 14    construction of the Wire Fraud Statute, because I'm reading

 15    the new version of Sands which says, "For nearly 80 years

 16    the first sentence of Section 1341, scheme or artifice to

 17    defraud or fronting money or property by means of false or

 18    fraudulent pretenses was viewed as outlining two separate

 19    courses of conduct -- outlawing two separate courses of

 20    conduct.    However, in McNally versus the United States, the

 21    Supreme Court rejected this construction of the statute

 22    holding that the language creates only one offense.             As a

 23    result, it is now well accepted that a scheme to defraud

 24    must include some false statement, representation, or

 25    promise.



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  1                This is the problem with having a ten-year gap on

  2    your résumé between AUSA and return to the District, but I

  3    think that resolves the mystery.

  4                MR. MCCONNELL:     I think that's right, Your Honor.

  5    We also noted a variety of cases that we'll be submitting in

  6    our upcoming filing where some of the statements or

  7    misrepresentations were made by and through electronic

  8    means.    I believe, Your Honor pointed out some of them from

  9    the Ninth Circuit.       We found a few others in some of our

 10    research both in Second Circuit and outside and we'll be

 11    submitting that.      But that's our reading of the law as well.

 12    And the pleading in the indictment articulates several bases

 13    for the false statements or misrepresentations.

 14                THE COURT:     Okay.   Yeah, as a result it is now

 15    well accepted that a scheme to defraud must include some

 16    false statement, representation, or promise.

 17                And Sands goes on to site a bunch of cases.

 18                So, yeah, that brings up the question of whether

 19    false statements to computer are actionable, whether they is

 20    some requirement that they be heard by humans, you know, we

 21    will all, I'm sure, be interested in the outcome of that

 22    research.

 23                All right.     So thank you.

 24                THE COURTROOM DEPUTY:       Judge.

 25                MR. MINDLIN:     Judge, I'm sorry, just a couple of



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  1    housekeeping matters.

  2                THE COURT:     I'm sorry?

  3                MR. MINDLIN:     A couple of housekeeping matters

  4    before we bring the jury in.

  5                THE COURT:     Okay.

  6                MR. MINDLIN:     There's some exhibits that were not

  7    published to the witness yesterday that we would like to

  8    move in.    We don't think it needs to be done in front of the

  9    jury.   Obviously this four-fifths of them are previously

 10    consented to by the defense a couple days ago.            A small

 11    number of them are subject to the defense --

 12                THE COURT:     Okay.

 13                MR. MINDLIN:     And I would like to just move those

 14    in now.

 15                THE COURT:     Any objection?

 16                MR. MARGULIS-OHNUMA:       Well, yeah --

 17                THE COURT:     The request is denied, in that case.

 18                MR. MARGULIS-OHNUMA:       Well --

 19                THE COURT:     I need you -- I came in today again,

 20    having checked my email and seeing that nobody was calling

 21    for any interaction before the jury got here.            I don't want

 22    to have these conversations at 9:33 when the jury is waiting

 23    and ready to come in.       If you want to take up any

 24    housekeeping matters, let my law clerk now and I will be

 25    here earlier than I was today, even, so we can take them up



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  1    without wasting the jury's time.

  2                MR. MINDLIN:     Yes, Your Honor.

  3                THE COURT:     Very important.

  4                MR. MINDLIN:     Thank you.

  5                THE COURT:     Yes, let's bring in the jury.

  6                (Pause in proceedings.)

  7                (Jury enters the courtroom.)

  8                (Jury present.)

  9                THE COURT:     Ladies and gentlemen, good morning.

 10    You may be seated.

 11                Mr. Margulis, you may continue.

 12                MR. MARGULIS-OHNUMA:       Thank you very much,

 13    Your Honor.

 14                THE COURT:     I remind the witness that you are

 15    still under oath.

 16    J O E L     D E C A P U A,

 17          called as a witness, having been previously duly

 18          sworn, was examined and testified as follows:

 19    CROSS-EXAMINATION (CONTINUED)

 20    BY MR. MARGULIS-OHNUMA:

 21    Q     Good morning, Mr. DeCapua.        How are you today?

 22    A     Good morning.     I'm okay.

 23    Q     Did you talk to anyone about your testimony overnight

 24    during the break?

 25    A     I didn't.



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  1    Q     Okay.    I think where we left off yesterday, I had asked

  2    you if you had looked at the original spreadsheets and you

  3    said, I don't think so; is that right?

  4    A     That's correct.

  5    Q     And you're a senior cybercrime investigator in the FBI;

  6    is that correct?

  7    A     Yes.

  8    Q     So you're familiar with how extractions of electronic

  9    devices work?

 10    A     I am.

 11    Q     Okay.

 12                  MR. MARGULIS-OHNUMA:     Could we put up just, for

 13    the witness, please, Defense Exhibit U-0?

 14    Q     And just -- I'm not going to be offering it, but is

 15    that an example of the kind of spreadsheet that is created

 16    in the extraction process?

 17    A     So it really varies by what type of software you're

 18    using to do an extraction.        For Skype in particular, I

 19    believe it's a SQL-like database that you pull off disks,

 20    and so it depends of how you want to transfer that specific

 21    database, the Skype chats into a form for someone to read

 22    like an Excel Spreadsheet.

 23    Q     So before -- and just to remind the jury, so what we're

 24    talking about is evidence gathered by the FBI and then

 25    analyzed; is that right?



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  1    A     Yes.

  2    Q     Things like computers, cell phones, other electronic

  3    devices, right?

  4    A     Yes.

  5    Q     Okay.

  6                  And so what you're saying is before you get a

  7    spreadsheet, there's another step that you have to take to

  8    pull the information off of the device, right?

  9    A     That's correct.

 10    Q     So when you take that other step, you pull all of the

 11    information off the device or all available information off

 12    the device; isn't that correct?

 13    A     So it -- it really depends.

 14    Q     Let me put it another way.        In that first step of

 15    bringing the information off the device, you don't make

 16    subjective choices about what's relevant or irrelevant, you

 17    just take all the data, right?

 18    A     Not necessarily, no.

 19    Q     Okay.    Tell me what I got wrong about that.

 20    A     So when it comes digital forensics, usually 99 percent

 21    of the stuff that's relevant is located on like 5 percent of

 22    what's on the computer.       So in this day and age you have

 23    computers with multiple terabyte hard drives, so you pick

 24    the things that are relevant that are most likely to have

 25    the evidence that you're looking for.



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  1    Q     So, for example, in this case you now write that the

  2    investigators took the Skype chats off of my client's

  3    computer, right?

  4    A     To be honest, I don't know.

  5    Q     You didn't have anything do with that in this case?

  6    A     No.

  7    Q     But let's say it would be typical to take all the Skype

  8    chats and put them in a spreadsheet and then use that

  9    spreadsheet to analyze them; is that fair to say?

 10    A     Yes.

 11    Q     Okay.    So now going back to Defense Exhibit U-O, is

 12    this the kind of spreadsheet that could be created that way?

 13    A     Yes.

 14    Q     Have you ever seen this particular spreadsheet before?

 15                  MR. MARGULIS-OHNUMA:     And if you could scroll over

 16    so the witness can see the whole exhibit.           It is an Excel

 17    Spreadsheet.

 18    Q     And I would -- I would call your attention --

 19                  MR. MARGULIS-OHNUMA:     Actually if we could also

 20    show the witness and the jury Government's Exhibit 620 in

 21    evidence.

 22    Q     And maybe that will help you refresh your recollection

 23    if you'd ever seen the spreadsheet?

 24    A     I don't recall seeing it, no.

 25    Q     Okay.    But Government's Exhibit 620 is one of the ones



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  1    you testified about, right?

  2    A      Yes.

  3                   MR. MARGULIS-OHNUMA:    If we could go back to just

  4    for the witness, Defendant's Exhibit U-0?

  5                   And scroll all the way to the left,

  6    Mr. Termonfils.

  7                   Thank you very much.

  8    Q      So there is -- the software creates something called a

  9    record number, right?

 10    A      I -- I have seen the spreadsheet, there is a column

 11    that says, Record.

 12    Q      Is that -- is that typical for when these extractions

 13    are done?

 14    A      I don't know.    It really depends on the software.

 15    Q      Okay.    But when you're looking at chats, it's important

 16    to track that you have every available chat; is that fair to

 17    say?

 18    A      Yes.

 19    Q      And at least in some of the software that's done by

 20    giving each statement in the chat its own record number; is

 21    that fair to say?

 22    A      Yes.

 23    Q      But if we can look back at Government's Exhibit 620

 24    again, there's no record number on that -- on that exhibit,

 25    is there?



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  1    A     I don't see a record number, no.

  2    Q     Do you know as you sit here today whether the original

  3    spreadsheet for that had record numbers?

  4    A     I don't.

  5    Q     Because you never looked at the original spreadsheets,

  6    right?

  7    A     Right.

  8    Q     So you don't know whether there's lines missing from

  9    this exhibit, do you?

 10    A     No.

 11    Q     And just again, the exhibits that you brought in you

 12    had reviewed prior with Mr. Mindlin, but you did not look at

 13    any of the underlying records; is that fair to say?

 14    A     Yes.

 15    Q     And in order to analyze or understand as a law

 16    enforcement -- as an investigator, a chat, you'd want to see

 17    the whole chart, wouldn't you?

 18    A     Yeah.

 19    Q     So we will stick with that exhibit for a minute.

 20                  MR. MARGULIS-OHNUMA:     If we could, Mr. Termonfils,

 21    please, blow up the line at 8:39:35 a.m.           I think that's it.

 22    Q     And could you just read that for us one more time,

 23    please.

 24    A     "The site is not ready, but we know how drive million

 25    traffic there fast, and we know how to get UP and Alexa out



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  1    50,000, also fast."

  2    Q     And when you spelled out U-P, is that not just a word

  3    "up"?   I'm sorry as an experienced cybercrime investigator,

  4    does the acronym UP mean something to you?

  5    A     Nothing comes to mind.

  6    Q     Okay.    But Alexa is a -- I don't know, a software or

  7    protocol that you're familiar with, right?

  8    A     Yeah, it's just a ranking list.

  9    Q     Okay.    We're not -- just to be clear, we're not talking

 10    about the speaker you talk to at home, right?

 11    A     No.

 12    Q     So what do you mean it's a ranking list, what is that?

 13    A     Well, it's list of the most popular websites.

 14    Q     And most popular is measured in Alexa by how much

 15    traffic goes to those websites, right?

 16    A     So I'm not 100 percent sure how Alexa measures it.             But

 17    assuming it's a ranking of the most popular websites, so I

 18    would assume that it has something to do with how many

 19    people actually go to each one of those sites.

 20    Q     Right.    And Alexa does not distinguish between how many

 21    people go to a site and how many bots go to a site, does it?

 22    A     I have no idea.

 23    Q     So if -- the person that you say my client is talking

 24    to on this --

 25                  MR. MARGULIS-OHNUMA:     Mr. Termonfils, if we could



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  1    just blow up the top, say, third of the exhibit?

  2                  Great.

  3    Q     And it introduces themselves, right?

  4    A     Yes.

  5    Q     Okay.    And do they say what -- what company they're

  6    from?

  7    A     Yes.

  8    Q     And what company are they from?

  9    A     ^   metome Media Group.

 10    Q     All right.       And what is ^   Metome Media Group, do you

 11    know?

 12    A     I don't know.

 13    Q     Is this is first ad fraud investigation you're worked

 14    on?

 15    A     Yes.

 16    Q     So let's -- I don't have the exact time.           But go to

 17    Page 2.      The statement that starts from, "we have or own

 18    solution."

 19                  MR. MARGULIS-OHNUMA:     Yeah, right in the middle,

 20    you got it.      Thank you, Mr. Termonfils.

 21    Q     Could you read that into the record, please.

 22    A     We have our own solution which allow us cross all known

 23    checkers and filters.        It is not the bot from injections, it

 24    is clever server bot which can do absolutely anything, watch

 25    video, click prerolls, show IAS track score, plus 700 tetra,



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  1    TOS, any PD, anything, but no sales, sure.            It is the reason

  2    why we cannot run prerolls long term.

  3    Q      So are you familiar with the concept of a bot from

  4    injections in -- in reference to Internet traffic?

  5    A      Vaguely.

  6    Q      Well, are you familiar with the concept of a server

  7    bot?

  8    A      Yes.

  9    Q      Okay.   So those are two different things, right?

 10    A      Correct.

 11    Q      And a bot from injections means you are hacking into --

 12    using malice software to hack into someone else's computer

 13    in order to use that computer to create false advertising

 14    impressions; is that right?

 15    A      So based on the chat, I'm guessing injections, it means

 16    injecting it onto either, you know, cross-site scripting

 17    vulnerability into a Browser or using some other way to get

 18    functionality to run code on someone else's computer.

 19    Q      But just to be clear, he's saying the products he's

 20    selling is not that, right?

 21    A      Yes.

 22    Q      He's saying it's a server bot, right?

 23    A      Yes.

 24    Q      Okay.   And a server bot does not involve breaking into

 25    anybody's computer; is that correct?



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  1    A     Correct.

  2    Q     Okay.

  3                  MR. MARGULIS-OHNUMA:     Okay.   If you would take

  4    that one down, Mr. Termonfils, and put up

  5    Government's Exhibit 610 in evidence -- oh, I'm sorry,

  6    610-T.

  7    Q     So just a couple questions about this.

  8                  MR. MARGULIS-OHNUMA:     Could you scroll down just

  9    to refresh everyone's recollection about what's on the

 10    bottom of the page there.

 11    Q     So there was -- I think you told us on your direct that

 12    there was information on the bottom of the page of these

 13    exhibits Mr. Mindlin showed you, right?

 14    A     That's correct.

 15    Q     So in this one, 610-T, that information indicates to

 16    you where the exhibit came from, right?

 17    A     Yes.

 18    Q     And so in this case where did it come from based on

 19    that?

 20    A     I came from Apple and specifically it was in the notes

 21    of associated with ibetters at an iCloud account.

 22    Q     And you don't -- withdrawn.

 23                  How did this red lettering got onto this exhibit,

 24    do you know?

 25    A     I don't know.



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  1    Q     So you don't have any personal knowledge that this came

  2    from the Apple account, right?

  3    A     No -- like, I didn't create the exhibit.

  4    Q     So that's just based on what one of your colleagues

  5    told you, right?

  6    A     Correct.

  7    Q     At the same time you have no reason to doubt it, right?

  8    A     That's correct.

  9    Q     Your colleagues are very careful people, right?

 10    A     Yes.

 11    Q     And so -- and then same with the legend on top in red,

 12    which I think everyone can see, it provides a date; is that

 13    correct?

 14    A     Yes.

 15    Q     How did that date get there?

 16    A     I don't know.

 17    Q     Is that date derivable or viewable in the long string

 18    from the bottom in any way?

 19                  MR. MARGULIS-OHNUMA:     Oh, I'm sorry, could we

 20    leave it up.

 21    A     I'm just looking carefully because sometimes you can

 22    encode a date stamp into a file path.          I don't see anything

 23    that obviously looks like a date stamp to me.

 24    Q     Okay.    So you have no way to know whether that -- from

 25    your personal knowledge whether that date at the top is



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  1    accurate or not, right?

  2    A     No.

  3    Q     And then -- so the exhibit it says -- itself says, tool

  4    preparation for SEO, what is SEO to a cybercrime

  5    investigator?

  6    A     It's search engine optimization.

  7    Q     And what is search engine optimization?

  8    A     So generally it's when you change something about you

  9    website because you want it to show up earlier in a Google

 10    or Bing search results, so you optimize it for the search

 11    engine crawlers.

 12    Q     And those search engine results are based on

 13    complicated secret algorithms that Google and other search

 14    engines have, right?

 15    A     Yes.

 16    Q     And part of what goes into how -- how -- how high a

 17    search engine ranks is how much traffic a page gets; isn't

 18    that right?

 19    A     Yes.

 20    Q     So -- and how much traffic a page gets is -- is visible

 21    to Google and other search engines, right?

 22    A     Yeah, to an extent.

 23    Q     Okay.    But they don't know if the traffic going --

 24    withdrawn.

 25                  The search engine algorithms can't distinguish



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  1    between bot traffic going to a page and human traffic going

  2    to a page, can they?

  3    A     I don't know.

  4    Q     Because that's not your area of expertise, right?

  5    A     No.

  6                 MR. MARGULIS-OHNUMA:      If we could go,

  7    Mr. Termonfils, to Government's Exhibit 621-TE.            I think TE

  8    will be easier to read.

  9    Q     So this was one of the exhibits that you testified

 10    about yesterday, Mr. DeCapua; is that right?

 11    A     Yes.

 12    Q     And there's reference to an operation called the FUGA,

 13    right?

 14    A     Yes.

 15    Q     And I think you told us that that has a GA in it

 16    indicating that the GA refers to Google Analytics, right?

 17                 MR. MINDLIN:     Objection.

 18                 THE COURT:     Sustained.

 19                 MR. MARGULIS-OHNUMA:      Did -- I'm sorry.

 20    Q     Well, do you know what the GA stands for?

 21    A     In context here I'm assuming Google Analytics.

 22    Q     And so do you have any idea what this operation called

 23    FUGA is?     Actually, let me back up for a second.          I'm sorry.

 24    Withdrawn.

 25                 What is Google Analytics, please.



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  1    A     Google Analytics is a service offered by Google for

  2    people that have websites where they can see the type of

  3    traffic, what the -- the type of traffic to their website

  4    and also what people who come to their website are doing on

  5    the site, how they're referred there and what links they are

  6    clicking and so forth.

  7    Q     So Google, the big company, has visibility into all of

  8    that, right?

  9                THE COURT:      Sustained.

 10                MR. MARGULIS-OHNUMA:       To form?

 11                THE COURT:      Form and I think beyond the scope of

 12    the direct.      But --

 13                MR. MARGULIS-OHNUMA:       There was an explanation of

 14    Google Analytics on direct.

 15                THE COURT:      Rephrase the question.

 16                MR. MARGULIS-OHNUMA:       Yeah.

 17                THE COURT:      We'll see where this goes.

 18    Q     So Google is a -- in order to operate Google Analytics,

 19    Google is able to see when people go on to various websites;

 20    is that fair to say?

 21    A     So some websites.

 22    Q     To websites that contain the Google Analytics code in

 23    them, right?

 24    A     Correct.

 25    Q     And the vast majority of websites have that code; is



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  1    that fair to say?

  2    A     I don't know.

  3    Q     And does the Google Analytics algorithm distinguish

  4    between human traffic and bot traffic in making those

  5    analyses?

  6                THE COURT:     Sustained.    Asked and answered.

  7                MR. MARGULIS-OHNUMA:       That was about Alexa,

  8    Your Honor.

  9                THE COURT:     But I thought you asked about Google

 10    analytic as well just moments ago?

 11                MR. MARGULIS-OHNUMA:       I didn't ask about the

 12    distinction between bot traffic and human traffic in Google

 13    Analytics.

 14                THE COURT:     Just give me a second.

 15                MR. MARGULIS-OHNUMA:       While the Judge is looking

 16    at it, could we go to Government's Exhibit 622-E in

 17    evidence?

 18                No, I'm sorry.     That's a mistake.

 19                THE COURT:     You asked, okay, and this is in the

 20    context of Google Analytics and search engine optimization.

 21    Oh, the search engine can't distinguish between bot traffic

 22    going to a page and human traffic going to a page, and you

 23    were talking about Google search engine and Bing search

 24    engine.

 25                MR. MARGULIS-OHNUMA:       Well, that's a different



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  1    produce from Google Analytics.

  2                 THE COURT:     Well, it's one company, but, okay, I

  3    will allow it.

  4                 MR. MARGULIS-OHNUMA:      I'll make that foundation.

  5    Q     So Google Analytics is a totally -- not totally, but is

  6    a separate software protocol from the Google search engine,

  7    right?

  8    A     Yes.

  9    Q     So with respect to Google Analytics and -- back up a

 10    second.

 11                 Does Google Analytics -- Google Analytics sees

 12    traffic on pages that have the code on it, you just said,

 13    right?

 14    A     Yes.

 15    Q     So are they -- I'm sorry, not they.

 16                 Is Google Analytics able to distinguish bot

 17    traffic from human traffic in doing that analysis?

 18    A     I don't know.

 19    Q     So we now have up 622-E.

 20                 MR. MARGULIS-OHNUMA:      Could you just scroll down?

 21    Q     Could you please just read into the record for us the

 22    line at 11:41:08:00 p.m. and that is -- hang on.

 23                 MR. MARGULIS-OHNUMA:      I'm sorry, if we could go to

 24    the top of the exhibit and just remind us who the two people

 25    are here.



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  1    A     So the person on the left is ibetters, the defendant,

  2    and the person on the right is Victor Ahumada.

  3    Q     From ad.media.com, right?

  4    A     That's correct.

  5    Q     So if we could scroll down to that Line 11:41:08 p.m.

  6    What does Alexander say?

  7    A     We fucked Google Analytics so a lot that we then have

  8    the name of that model FUGA, fuck you Google Analytics.

  9    Q     So the GA in FUGA does refer to Google Analytics; is

 10    that fair to say?

 11    A     Yes.

 12                 MR. MARGULIS-OHNUMA:      If we could, Mr. Termonfils,

 13    bring up Government's Exhibit 1683-TE which is in evidence.

 14                 THE COURT:     I'm sorry what number.

 15                 MR. MARGULIS-OHNUMA:      1683-TE.

 16    Q     So in the middle of the page there -- actually

 17    withdrawn.

 18                 Let's start with the top and see who's talking

 19    there?

 20    A     It's a conversation between the defendant, ibetters

 21    Aleksandr; and victor.vertamedia, Victor Bezer.

 22    Q     And are you familiar with the company called

 23    VertaMedia?

 24    A     Outside of these chats, no.

 25    Q     How about a company called Adtelligent?



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  1    A     No.

  2    Q     So in the middle of the page, Mr. Bezer, says, I know

  3    that 100 K went to, all caps, EPESE.

  4                  Do you see that?

  5    A     I do.

  6    Q     And you told us yesterday what EP -- I don't know how

  7    to pronounce it EPESE is.         What is it?

  8    A     It's a money transmittal service.

  9    Q     Now where is it based?

 10    A     I don't know.

 11    Q     And -- how did you learn that it is a money transmittal

 12    service?

 13    A     It's popular with -- with Russian hackers.

 14    Q     But it opens -- it opens -- I'm sorry.          It operates

 15    openly and legally, correct?

 16    A     I don't know.

 17    Q     So during your testimony yesterday, you told us

 18    generally what spoofing means, right?

 19    A     Yes.

 20    Q     Do you know the Russian word for spoofing?

 21    A     No.

 22    Q     Is it possible -- well, tell us again what spoofing

 23    means.

 24    A     So there's different context when it comes to

 25    cybersecurity.      But in general it's when someone is faking



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  1    something.

  2    Q     Okay.    So, for example, sometimes bots will spoof the

  3    websites that they're claiming to be on, right?

  4    A     (No audible response.)

  5    Q     Did I not phrase it correctly?

  6                  Can you give us an example of spoofing, please.

  7    A     So one popular one is email spoofing where someone will

  8    send you an email but it will be one letter off of a real

  9    person and you see it and you think it's the real thing and

 10    so you respond to it and really it's just someone imitating

 11    them.

 12    Q     Yeah, but if you look carefully in that situation you

 13    can see that it's not really coming from the person you

 14    thought it was coming from, right?

 15    A     So that depends.

 16    Q     What about IP addresses, just to remind the jury, what

 17    are IP addresses used for on the Internet?

 18    A     IP addresses are basically like a -- well, it's an

 19    address on the Internet.       It's how computers communicate on

 20    the Internet and distinguish each computer from one another.

 21    Q     Is it fair to say it's how they identify each other

 22    sort of like a telephone number?

 23    A     Yes.

 24    Q     Is it possible to spoof IP addresses?

 25    A     So it depends.



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  1    Q     What does it depend on?

  2    A     Well, if the IP address is being used for network

  3    communication, if you spoof an IP address when you're doing

  4    that network communication, the response is going to go to

  5    the spoofed address, it's not going to go to your own

  6    address.

  7    Q     But in other context it is possible to spoof an IP

  8    address?

  9    A     I'm trying to think of good examples.

 10    Q     Well, let's back up for a second.

 11                 You are familiar with services known as VPNs?

 12    A     Yes.

 13    Q     What does that stand for?

 14    A     Virtual private network.

 15    Q     And what is a VPN?

 16    A     So a VPN is really just a network.          It's a network.

 17    Q     It's a way to change your IP address, isn't it?

 18    A     So those are a particular type of VPN, a VPN

 19    anonymizer.

 20    Q     That's a way to spoof your IP address, right?

 21    A     No.

 22    Q     Why not?

 23    A     So with a VPN, you're actually just connecting to

 24    another computer and then you're having that computer do

 25    your Internet browsing for you.         And then that computer just



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  1    passes on your browsing.          So really you are not too deep in

  2    point to the website, it will not see your true IP address,

  3    it will see you IP address of the intermediary computer but

  4    I wouldn't say that is spoofing an IP address.

  5    Q     It's way to hide you IP address, right?

  6    A     You hide it from the in point that you're browsing to.

  7    Q     Sort of like turning off caller ID when you make a

  8    phone call, right?

  9    A     I don't know.

 10                  THE COURT:     Sustained.

 11                  MR. MARGULIS-OHNUMA:      Could we go, please, to

 12    Government's Exhibit 1619 in evidence?            Actually, let's go

 13    to -- 16 -- I'm sorry, 1619-T which is the translation of

 14    the same thing.

 15    Q     So this was one of the exhibits you testified about

 16    yesterday; is that right?

 17    A     Yes.

 18    Q     And is that a chat with someone else at VertaMedia?

 19    A     Yes.

 20    Q     And who -- whose phone is this from?

 21    A     I don't know.

 22                  So it's from the defendant's phone.

 23    Q     And how do you know that?

 24    A     Just within the context of the chat.

 25    Q     Okay.    And how did that date get to the top there?



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  1    A     I don't know.

  2                  MR. MARGULIS-OHNUMA:      And if you could scroll

  3    down, Mr. Termonfils, thank you, to the bottom or -- or is

  4    that the bottom?

  5                  If you could blow up the small red lettering.

  6    Q     Do you know where the red lettering came from?

  7    A     No.

  8    Q     Okay.    And but does that -- withdrawn.

  9                  Would you agree with me this is actually a

 10    screenshot from the defendant's phone?

 11    A     Yes, yeah, it's a photograph recovered from iCloud

 12    account, the ibetters.

 13    Q     Now you just know that from the legend at the bottom,

 14    right?

 15    A     Yes.

 16    Q     Okay.

 17                  MR. MARGULIS-OHNUMA:      If we could put up

 18    Mr. Termonfils, please, Government's Exhibit 614-E.             Start

 19    just with the header and then we'll go to Page 3.

 20                  MR. TERMONFILS:    614.

 21                  MR. MARGULIS-OHNUMA:      614-E.

 22    Q     So would you agree with me that's a conversation

 23    between ibetters Aleksandr account and IPV6 Leasing, LLC; is

 24    that right?

 25    A     IPV4 Leasing, LLC.



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  1    Q     Now, again, this is another one where you've never seen

  2    the underlying chats that this was derived from; is that

  3    right?

  4    A     That's correct.

  5                  MR. MARGULIS-OHNUMA:     So let's go to the third

  6    page and blow up -- I'm sorry, keep going down a little bit.

  7                  Can you stop right there?

  8                  And can you blow up from 9:31:14 a.m. to

  9    9:31:24 a.m.?

 10    Q     So in what we're looking at, generally these times

 11    are -- withdrawn.

 12                  Generally these exhibits go chronologically; is

 13    that right?

 14    A     Yeah, generally.

 15    Q     Okay.    But in this exhibit, the -- the times of the two

 16    rows in the middle seem to be reversed, right?

 17    A     Yeah, I do see that.

 18    Q     Do you know how those got reversed?

 19    A     No.

 20    Q     But would you agree with me that if this were an

 21    accurate representation of the underlying data, the computer

 22    wouldn't -- the times wouldn't be written out like that by

 23    the computer, right?

 24                  I'm sorry, let me withdraw that question.

 25                  The -- when you send a Skype message, the time of



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  1    the message is automatically recorded by the computer,

  2    right?

  3    A     Yes.

  4    Q     And for all intents and purposes, the computer doesn't

  5    make individual mistakes as to the time, right?            And I'm not

  6    talking about if you get the wrong time zone or something.

  7    Generally it's an automated process that's quite reliable,

  8    those times, right?

  9    A     So in my experience sometimes it will be little, you

 10    know, issues that you just have to fix manually.

 11    Q     Did someone fix this manually?

 12    A     So I don't know what caused this.         I don't know if it's

 13    just -- if the time is wrong or if it's out of order.

 14    Q     Okay.   But someone changed what was in the underlying

 15    Skype data, didn't they?

 16    A     I don't think so.

 17    Q     Can you explain how else that would have happened?

 18    A     Well, it looks like either the -- the time stamp is

 19    wrong or it's just out of order by just a few seconds.

 20    Q     But how could that come about unless someone manually

 21    changed it, like you just explained?

 22    A     So -- so -- when you are -- when -- so -- so someone

 23    would have to manually fix it.         Not manually change it to

 24    make it wrong.

 25    Q     But why would Skype write the -- and when I say "write"



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                                  Official Court Reporter
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  1    I mean in code in the computer's data these time stamps out

  2    of order.    Is there any reason Skype would do that?

  3    A      So when you construct these things you're going from a

  4    disk that you take a forensic image on and you're extracting

  5    the data from that in a particular way.           And then you're

  6    extracting the underlying database, which it's stored in,

  7    which I believe is MySQL.        And then from that you are

  8    transporting the MySQL database which is in a very, you

  9    know, certain format into a way that humans can read it.

 10    And then from there, say, it's maybe a big Excel spreadsheet

 11    or a comma separated value form, and then you would transfer

 12    it into something like this so it's very readable and, you

 13    know, color -- there's colors that distinguish the chats

 14    and.    So in that process there's opportunities for things

 15    to -- to be wrong by a few seconds.          And you have to go

 16    through it and manually fix them.         So the computers are what

 17    make it incorrect and then someone has to manually go

 18    through and make sure that if there are instances where

 19    something is off by the few seconds, just make sure it's in

 20    the correct order and you investigate why is this off by a

 21    few seconds.

 22    Q      Now there can also be errors with attribution, right?

 23    Something can be attributed to one person talking when it's

 24    actually the other person talking, right, that happens, too?

 25    A      That could happen.



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  1    Q     Okay.    And -- withdrawn.

  2                  MR. MARGULIS-OHNUMA:     Let's go to

  3    Government's Exhibit 682 in evidence.          Well, let's just

  4    remind the jury what that is.

  5    Q     That's an extraction from the Linked-In data from one

  6    of the devices; is that right?

  7    A     Yes.

  8    Q     And just remind us again what Linked-In is?

  9    A     Linked-In is a social media site where -- it's for

 10    professionals to basically put their entire résumé on the

 11    social media site and then communicate and drive business,

 12    et cetera.

 13    Q     Kind of like Facebook but business oriented not social,

 14    right?

 15    A     Yes.

 16    Q     And Linked-In has a messaging function, right?

 17    A     Yes.

 18    Q     So you can use your Linked-In account to go and message

 19    someone you might like do business with, right?

 20    A     Yes.

 21                  MR. MARGULIS-OHNUMA:     So if we could go to Page 4

 22    there's a message with a person named Mark Binazeski.

 23                  I'm sorry, if you could go up one message, I

 24    think.    It's pretty small type.       So let's focus on the top

 25    of that box.



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  1    Q     Sir, do you know whose Linked-In account this was

  2    extracted from?

  3    A     If you can go back to the beginning of the document it

  4    might say.

  5    Q     All right.

  6    A     So this Linked-In account was extracted from the phone

  7    of Aleksandr Zhukov.

  8    Q     That was the phone that was seized from him when he was

  9    arrested in Bulgaria?

 10    A     I'm not a hundred percent sure.

 11    Q     You don't know?

 12    A     That's what this document appears to be.

 13    Q     Okay.    You don't know where the phone came from?

 14    A     No.

 15                  MR. MARGULIS-OHNUMA:     I'm sorry, if we could go

 16    back to Page 4.

 17    Q     Just looking at the whole thing, I don't mean to strain

 18    your eyes, but that is a message first to and then a

 19    response from a person named Mark Binazeski; is that right?

 20    A     Yes.

 21                  (Continued on the next page.)

 22

 23

 24

 25



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  1    (Continuing)

  2    Q     And who is Mark Binazeski, do you know?

  3    A     I don't know.

  4    Q     Fair to say from this, though, that he is in sales at a

  5    company called Rhythm One, right?

  6    A     Yes.

  7    Q     Are you familiar with the company Rhythm One?

  8    A     No.

  9    Q     And could you just read to us -- I don't want you to read

 10    the whole thing, but -- so, he's -- Mr. Zhukov starts off by

 11    saying:     Hi Mark.

 12                  Is that right?

 13    A     Yes.

 14    Q     And then could you please read the line just below that

 15    into the record?

 16    A     I know that previously you bought a lot of LQ traffic for

 17    Blinkx.com.

 18    Q     Stop you right there.

 19                  Do you know what LQ traffic is?

 20    A     No.

 21    Q     Okay.

 22                  Because this is your first ad fraud case, right?

 23    A     Correct.

 24    Q     Okay.

 25                  And going down a little bit --



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  1                  MR. MARGULIS-OHNUMA:     No, sorry, sorry, keep it on

  2    the screen, three lines down from there I'll just read it in:

  3                  We can run 20 to 200 millions prerolls with 10 to 20

  4    MLN unique IPs -- all caps -- DAILY.

  5                  Do you see that?

  6    A     I do.

  7    Q     What's a preroll?

  8    A     It's an advertisement that's -- it's what you watch for

  9    video plays.

 10    Q     And how long do you have to watch it for to monetize it,

 11    do you know?

 12    A     I don't know.

 13    Q     Okay.

 14                  Would you agree with me that 20 to 200 millions

 15    prerolls is a lot?

 16    A     Yes.

 17    Q     Okay.

 18                  And in network parlance, do you know what it means

 19    to say with 10 to 20 million unique IPs, how someone in the

 20    industry would understand that?

 21    A     Well, just on the face of it, I would assume it means 10

 22    to 20 million unique IP addresses.

 23    Q     So, suggesting that the prerolls are coming from unique

 24    IP addresses, right?

 25    A     The people viewing the prerolls are coming from unique IP



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  1    addresses.

  2    Q     Where does it say people there?

  3                 It does not, right?

  4                 MR. MINDLIN:    Objection.

  5                 THE COURT:   Sustained.

  6                 And not to the last question, but to the question

  7    about what all this means.

  8                 MR. MARGULIS-OHNUMA:      Okay.

  9    Q     Does it say people anywhere there?

 10    A     It does not say people anywhere there.

 11    Q     And in fact, after that, you showed us a whole chat with

 12    Mark Binazeski, right?       Government's Exhibit 1692.

 13                 MR. MARGULIS-OHNUMA:      Sorry, I'll get to that in a

 14    second, sorry.     Withdrawn.

 15    Q     So, it goes on to say:       All scheme is legal no malware or

 16    spyware used there, right?

 17    A     Yes.

 18    Q     What's malware?

 19    A     Malware is a program that does some malicious process on

 20    someone's computer.

 21    Q     And what is spyware?

 22    A     Spyware is generally the same thing as malware, however

 23    it's oftentimes used to spy on someone's activity.

 24    Q     All right.

 25                 MR. MARGULIS-OHNUMA:      So, let's go to Government's



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  1    Exhibit 1692 in evidence.

  2                  (Exhibit published to jury.)

  3    Q     So, that -- I think you read the whole thing on your

  4    direct but that, would you agree with me, is the chat that

  5    followed the LinkedIn conversation that Mr. Zhukov had with

  6    Mark Binazeski, is that true?

  7    A     Yes.

  8    Q     Okay.

  9                  Did Mark Binazeski ever tell Mr. Zhukov that the

 10    traffic was human traffic?

 11                  THE COURT:   I am sorry; did who tell who?

 12    Q     In this chat that you read into the record, did

 13    Mr. Zhukov ever tell Mark Binazeski that the traffic he was

 14    offering to sell him was human?

 15    A     I, I don't recall.          I'd have to re-read the chat.

 16    Q     Go ahead and read it and let us know.

 17    A     Okay.

 18                  Was this the entirety of the chat?

 19    Q     Well, I mean, this is Government's Exhibit 1692, which

 20    you testified about.

 21                  MR. MINDLIN:    Your Honor.

 22                  THE COURT:   Yes.

 23                  MR. MINDLIN:    We object to the witness being asked

 24    to characterize the chat.

 25                  MR. MARGULIS-OHNUMA:       I'm not asking for a



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  1    characterization.      He read the chat in on direct.         I'm asking

  2    him if certain words were there.

  3                THE COURT:    Certain words in a certain order?

  4                MR. MARGULIS-OHNUMA:       No.   I'm just asking him if

  5    Mr. Binazeski ever -- I'm sorry, if Mr. Zhukov ever told

  6    Mr. Binazeski that the traffic was human.           He read it in and I

  7    can have him read it in again, but I think this will be

  8    quicker.

  9                THE COURT:    Yes, there are like five different

 10    statements, I think, about where this traffic is coming from

 11    and I think you are asking him to characterize his

 12    understanding of those five different statements.

 13                If you want to have him re-read them that is fine.

 14                MR. MARGULIS-OHNUMA:       I'm asking him to let us know

 15    if there's anything in there that's a claim that the traffic

 16    is human.

 17                THE COURT:    I understand, but doesn't that question

 18    involve -- or require, I should say -- an understanding of

 19    what the phrase "we are publishers" mean, for example.              So, it

 20    is a compound question.

 21                If you want to ask him whether particular words were

 22    spoken in a particular order, that is fine.

 23                MR. MARGULIS-OHNUMA:       That's.

 24                THE COURT:    But if you are going to characterize

 25    this, then the objection is sustained.



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  1                 MR. MARGULIS-OHNUMA:       Okay.

  2    BY MR. MARGULIS-OHNUMA:

  3    Q       So, does the word human appear anywhere in that chat?

  4    A       In what I'm looking at right now, I don't see the word

  5    human.

  6    Q       Does the word real appear anywhere in that chat?

  7    A       I don't see the word real either.

  8    Q       Does the word people or persons appear anywhere in that

  9    chat?

 10                 MR. MARGULIS-OHNUMA:       That's my last one.

 11                 MR. MINDLIN:    For the record, the witness is only

 12    being shown one page of this document.

 13                 MR. MARGULIS-OHNUMA:       Let's scroll down.

 14    A       I don't see the world real in the first two pages.

 15    Q       Are there any other pages?

 16                 So we're looking at the third page now and my

 17    questions are, first:       Does the word human, real or people or

 18    person; do any of those words appear anywhere in this chat?

 19    A       So, I don't see them in the first three pages of this

 20    chat.

 21                 MR. MARGULIS-OHNUMA:       I'm sorry, are there more

 22    pages?    I think four is the last one.

 23    Q       So, same question:       Do you see the word human, the word

 24    real, the word people or the word persons anywhere in the

 25    whole chat now that you're looking at all four pages?



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  1                THE COURT:    You are asking if the word human is

  2    included?

  3                MR. MARGULIS-OHNUMA:       Yes.

  4    A     So, I do see the word human on the record 4457.

  5                MR. MARGULIS-OHNUMA:       Could we blow that up, please.

  6    Q     Could you read that into the record, please.

  7    A     Mark, you have all filters to see is it human or is it

  8    bot and your partners use the same instrument.            I offer you

  9    free test, test traffic, see scores and then take decision.

 10    Believe me, you bough million of my impressions already throw

 11    small middle and big ad networks.

 12                MR. MARGULIS-OHNUMA:       Okay, you can take that down.

 13    Q     So, other than that, it doesn't -- the words human,

 14    people, person or real don't appear in that chat, do they?

 15    A     I didn't see any.

 16    Q     So, at some point you went through and created a colorful

 17    chart that summarizes all of the many extractions and search

 18    warrant returns in this case; is that right?

 19                MR. MARGULIS-OHNUMA:       We could put just for the

 20    witness, it's not in evidence, Government's Exhibit 801, if

 21    that will help refresh your recollection.

 22    A     I didn't create this document, but I did go through and

 23    confirm that those, that the sources and the email addresses

 24    and the recovery email addresses all correspond to the

 25    Government Exhibits.



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  1    Q     So, how many different --

  2                  MR. MARGULIS-OHNUMA:     Withdrawn.

  3    Q     How many different search warrant returns for e-mails

  4    were brought in -- were gathered in this case?

  5    A     I don't know.

  6    Q     That's not clear from the chart.

  7                  MR. MARGULIS-OHNUMA:     Let me back up.

  8    Q     What was your source material for this, the chart?

  9    A     It was government's exhibits.

 10    Q     So, you don't know whether that was a subset of the whole

 11    investigation or whether it was everything either way, do you?

 12    A     Correct.

 13    Q     Okay.

 14                  MR. MARGULIS-OHNUMA:     One moment, Your Honor.

 15                  (Pause in the proceedings.)

 16                  MR. MARGULIS-OHNUMA:     Nothing further.

 17                  Thank you very much, Mr. DeCapua.

 18                  THE COURT:   Any redirect?

 19                  MR. MINDLIN:    One moment, please, Your Honor.

 20                  (Pause in the proceedings.)

 21    REDIRECT EXAMINATION

 22    BY MR. MINDLIN:

 23    Q     Did you review, sir, government's exhibits for the

 24    purpose of identifying which accounts belonged to different

 25    people?



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  1    A     Yes.

  2                 MR. MINDLIN:    The Government moves in Exhibits 1672,

  3    1672-T, 1673 and 1673-T, and 651-E.

  4                 THE COURT:   Do you want to just say those again one

  5    at a time and we will see if we have an objection to each one.

  6                 MR. MINDLIN:    1672-T, which should be shown to

  7    the --

  8                 MR. MARGULIS-OHNUMA:      We do have an objection to

  9    that one.

 10                 MR. MINDLIN:    To the witness.

 11                 THE COURT:   I'm sorry, Mr. Margulis-Ohnuma, I didn't

 12    hear you.

 13                 MR. MARGULIS-OHNUMA:      1672 and 1672-T we do object

 14    to.

 15                 MR. MINDLIN:    Can you show the T version, please.

 16                 THE COURT:   Okay.

 17                 So, which single one we are talking about, 1672-T

 18    right now?

 19                 MR. MARGULIS-OHNUMA:      Yes.

 20                 THE COURT:   Mr. Margulis-Ohnuma, you are saying you

 21    do object to the admission of this document?

 22                 MR. MARGULIS-OHNUMA:      We do.   Generally, on 401

 23    grounds and with respect to the last two lines on Rule 403

 24    grounds.

 25                 THE COURT:   The first --



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  1                MR. MARGULIS-OHNUMA:       First two rows.

  2                THE COURT:    The first two rows or last two rows?

  3                MR. MARGULIS-OHNUMA:       No, I'm sorry.

  4                We object to the last two rows on Rule 403 grounds.

  5    If they want to put in just the first two rows, then we have

  6    no objection.     But just to the first two rows.

  7                MR. MINDLIN:     The Government is fine with that.

  8                THE COURT:    Okay.

  9                MR. McCONNELL:      We will redact it.

 10                THE COURT:    So, subject to that concession; am I

 11    correct to understand that there is no objection?

 12                MR. MARGULIS-OHNUMA:       Correct.

 13                THE COURT:    All right.

 14                It is admitted subject to that concession.

 15                (Government's Exhibit 1672-T received in evidence.)

 16                MR. MINDLIN:     Mr. Termonfils, if you could then show

 17    to Counsel 1673-T.      Again, the first four rows are the basis

 18    for relevance.

 19                MR. MARGULIS-OHNUMA:       No objection to this one.

 20                THE COURT:    Admitted.

 21                (Government's Exhibit 1673-T received in evidence.)

 22                MR. MINDLIN:     Finally, the Government moves in 651-E

 23    which is simply an annotated version, previously foundation

 24    laid for 651, which is already in evidence.

 25                Correction, I'm sorry, different basis.



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  1                THE COURT:    I'm sorry, I did not hear the direction.

  2                MR. MINDLIN:     This is not an annotated version, it's

  3    an E version of the previously admitted chat.

  4                MR. MARGULIS-OHNUMA:       We are just checking,

  5    Your Honor.

  6                THE COURT:    For everybody's benefit again, you are

  7    using the letter E to designate excerpted?

  8                MR. MINDLIN:     We are using the letter E in a couple

  9    different ways.     One, is to designate versions of notes and

 10    images which are annotated with the final ad and the date.

 11    With reference to chats they generally designate chats that

 12    are in the side-by-side format with one party on one side and

 13    one party on the other.

 14                THE COURT:    In other words, the letter E does not

 15    stand for anything; not any one word that we can all affix to

 16    it to.

 17                MR. MARGULIS-OHNUMA:       There is no objection to

 18    Government's Exhibit 651-E.

 19                THE COURT:    It is admitted.

 20                (Government's Exhibit 651-E received in evidence.)

 21    Q     Mr. DeCapua, did you also review a number of account

 22    records for providers like Google and Skype?

 23    A     I did.

 24                MR. MINDLIN:     The Government moves into evidence the

 25    following Exhibits:      803-A.



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  1                MR. MARGULIS-OHNUMA:       No objection.

  2                MR. MINDLIN:     803-B as in boy.

  3                MR. MARGULIS-OHNUMA:       No objection.

  4                MR. MINDLIN:     810-E.

  5                MR. MARGULIS-OHNUMA:       No objection.

  6                MR. MINDLIN:     805-A.

  7                MR. MARGULIS-OHNUMA:       No objection.

  8                MR. MINDLIN:     809-C.

  9                MR. MARGULIS-OHNUMA:       No objection.

 10                MR. MINDLIN:     809-G.

 11                MR. MARGULIS-OHNUMA:       No objection.

 12                MR. MINDLIN:     814-A.

 13                MR. MARGULIS-OHNUMA:       No objection.

 14                MR. MINDLIN:     816.

 15                MR. MARGULIS-OHNUMA:       Can you just scroll down,

 16    please.

 17                No objection.

 18                MR. MINDLIN:     809-E.

 19                MR. MARGULIS-OHNUMA:       No objection.

 20                MR. MINDLIN:     809-D as in Daniel.

 21                MR. MARGULIS-OHNUMA:       No objection.

 22                MR. MINDLIN:     And 815-A.

 23                MR. MARGULIS-OHNUMA:       No objection.

 24                THE COURT:    They are admitted.

 25                (Government's Exhibits 803-A, 803-B, 810-E, 805-A,



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  1    809-C, 809-G, 814-A, 816, 809-E, 809-D and 815-A received in

  2    evidence.)

  3    Q     Agent DeCapua, you just told Counsel that you had checked

  4    a table attributing various accounts and who they belong to

  5    based on certain Government's Exhibits; is that right?

  6    A     Yes.

  7                 MR. MINDLIN:    Can we have 801 for the witness only,

  8    please.

  9    Q     Is this that table?

 10    A     It is.

 11                 MR. MINDLIN:    The Government moves Exhibit 801 into

 12    evidence.

 13                 MR. MARGULIS-OHNUMA:      No objection.

 14                 THE COURT:   Admitted.

 15                 (Government's Exhibit 801 received in evidence.)

 16                 MR. MINDLIN:    Can we publish this to the jury,

 17    please.

 18                 (Exhibit published to jury.)

 19    Q     Returning to Exhibit 801, now that the jury can see it.

 20                 Is this the table that you just talked about that

 21    explains certain accounts and who they belong to based on

 22    certain Government's Exhibits?

 23    A     It is.

 24    Q     Which column are the exhibits in?

 25    A     The exhibits are in the far right column labeled:



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  1    Government's Exhibit Containing Data.

  2    Q     And the column that says "source," what information does

  3    that reflect?

  4    A     It reflects where the Government's Exhibit was originally

  5    derived from.

  6    Q     So, for example, if you go about six lines down, do you

  7    see where it says LinkedIn?

  8    A     Yes.

  9    Q     Can you generally explain how the information in that row

 10    relates to the underlying record?

 11    A     So, in general, one of the things that we do in an

 12    investigation is we gather records from various companies.

 13    And so, we would issue legal process to a company like

 14    LinkedIn or we would recover LinkedIn records from someone's

 15    device and those records would be -- have information that

 16    reflects who owns certain email addresses and who controls

 17    certain communication accounts.

 18                 And that is put into a spreadsheet like this to kind

 19    of map out why we know that a certain account or an email

 20    address belonged to a certain person.

 21                 MR. MINDLIN:    Nothing further.

 22                 THE COURT:   Any re-cross?

 23                 MR. MARGULIS-OHNUMA:      No, Your Honor, thank you.

 24                 THE COURT:   All right.

 25                 Mr. DeCapua, you are excused and may step down.



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